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                  5 Los Angeles, CA 90067-3120
                    Telephone: (310) 312-2000
                  6 Facsimile: (310) 312-3100
                  7 Attorneys for Defendant
                    Fabletics, Inc.
                  8
                  9                        UNITED STATES DISTRICT COURT
                 10                       CENTRAL DISTRICT OF CALIFORNIA
                 11                                WESTERN DIVISION
                 12 DENNIS BATEMAN, CHRISTIAN                   CASE NO. 2:25-cv-02200 SVW (AJRx)
                    BURES, MEGAN CARTER, JOHN
                 13 FORGAS, LANCE GOBLE, DANIEL                 The Honorable Stephen V. Wilson
                    GOLEZ, ELIZABETH GOSEIN-
                 14 VASQUEZ, THOMAS HAMILTON,                   DECLARATION OF MATT FOJUT
                    KELLI LANGTON, JESSICA SIAS,                IN SUPPORT OF DEFENDANT
                 15 and MAX REINISCH, individually and          FABLETICS, INC.’S NOTICE OF
                    on behalf of all others similarly           MOTION AND MOTION TO
                 16 situated;,                                  COMPEL ARBITRATION
                 17               Plaintiffs,                   [Notice of Motion and Motion;
                                                                Declaration of Bradley J. Mullins, and
                 18       v.                                    [Proposed] Order Filed Concurrently
                                                                Herewith]
                 19 FABLETICS, INC.,
                                                                Date:            June 23, 2025
                 20               Defendant.                    Time:            1:30 p.m.
                                                                Location:        Courtroom 10A
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    Mitchell     28
  Silberberg &
   Knupp LLP
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                               DECLARATION OF MATT FOJUT ISO MOTION TO COMPEL ARBITRATION
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                  1         I, MATT FOJUT, declare as follows:
                  2         1.      The facts testified hereto are based on my personal knowledge (unless
                  3 otherwise stated) and, if called as a witness, I could and would testify competently
                  4 thereto under oath. I make this declaration in support of Defendant Fabletics,
                  5 Inc.’s (“Fabletics”) Motion to Compel Arbitration in the above-captioned matter.
                  6         2.      I am currently employed as the General Counsel for Fabletics, Inc.. In
                  7 that role, I am knowledgeable of customer-facing aspects of Fabletics’ business,
                  8 and I have comprehensive knowledge of Fabletics’ business model and operating
                  9 systems. I have been employed by Fabletics, Inc. since 2010.
                 10         3.      In my position as General Counsel, I have access to and personal
                 11 knowledge of the matters and information set forth in this declaration. The data
                 12 from which the information set forth in this declaration was determined is
                 13 maintained in the regular course of Fabletics’ business.
                 14         4.      Fabletics is an active lifestyle brand that primarily sells men’s and
                 15 women’s active wear, including sportswear, footwear, and accessories. Fabletics
                 16 has an e-commerce store located at www.fabletics.com, and also operates more
                 17 than 100 retail stores in 35 states across the United States.
                 18         5.      Fabletics offers a VIP Membership Program. Consumers do not need
                 19 to join the VIP Membership Program to purchase products from Fabletics – either
                 20 online or at its retail locations. However, joining the VIP Membership Program
                 21 entitles members to multiple benefits, including: (i) 20-50% discounts off of its
                 22 retail prices; (ii) a monthly membership credit that can be exchanged for one item,
                 23 a two-piece outfit, or a multi-piece bundle (a “Promotional Membership Credit”);
                 24 (iii) free shipping; and (iv) early access to exclusive products. There is a monthly
                 25 fee associated with the VIP Membership Program, but VIP Members can skip a
                 26 month (or months) if they do not want to pay the fee. For example, Fabletics’
                 27 records reflect that one of the named Plaintiffs, Kelli Langton, utilized this skip a
    Mitchell     28 month feature at least 27 times while a VIP Member. VIP Members can skip a
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                  1 month or cancel on-line, and Fabletics also provides 24/7 customer service (by
                  2 phone or chat) to facilitate such requests. Members who skip the month do not get
                  3 all VIP Membership benefits that month, but also are not required to pay the
                  4 monthly membership fee. Many members use this function on a regular basis. In
                  5 addition, unused membership credits expire after twelve months, but members are
                  6 notified before expiration, and, historically, Fabletics has reactivated expired
                  7 credits upon request.
                  8         6.      According to my review of Fabletics’ business records, Plaintiffs first
                  9 created VIP accounts with Fabletics between, at earliest, October 27, 2019 and, at
                 10 latest, January 24, 2024. Based on a reasonable review of Fabletics’ records,
                 11 Fabletics has been unable to locate any record of Plaintiff Dennis Bateman ever
                 12 creating a VIP account with Fabletics, but Plaintiffs allege that Mr. Bateman
                 13 created a VIP account with Fabletics in or about March 2023.
                 14         7.      Since at least 2015, all consumers who purchase any product (either
                 15 online or at a retail location) and want the VIP Membership Program discount have
                 16 to actively accept the Terms and Conditions of the VIP Membership Program (the
                 17 “Terms”) in order to complete their purchase. Directly below the “Review Order”
                 18 page was the statement: “I accept the terms of the Fabletics VIP Membership
                 19 Program.” Attached hereto as Exhibit A is a true and correct copy of the checkout
                 20 flow a customer would see when purchasing a product. This checkout flow has not
                 21 substantively changed between 2019 and the present.
                 22         8.      As illustrated in Exhibit A, the checkout flow is designed so that the
                 23 words “Fabletics VIP Membership Program” appears in blue and is hyperlinked to
                 24 the Fabletics Terms in effect at all relevant times. If and when the customer clicks
                 25 on any of the blue words, the Terms are displayed on a new page and readily
                 26 reviewed via scrolling or printing out the Terms.
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                  1         9.      While the Fabletics Terms have been slightly modified over time, the
                  2 arbitration provision contained in the Fabletics Terms has remained largely the
                  3 same.
                  4         10.     Attached hereto as Exhibit B is a true and correct copy of the text of
                  5 the 2019 Fabletics Terms.
                  6         11.     Attached hereto as Exhibit C is a true and correct copy of the text of
                  7 the 2020 Fabletics Terms.
                  8         12.     Attached hereto as Exhibit D is a true and correct copy of the text of
                  9 the 2021 Fabletics Terms.
                 10         13.     Attached hereto as Exhibit E is a true and correct copy of the text of
                 11 the 2022 Fabletics Terms.
                 12         14.     Attached hereto as Exhibit F is a true and correct copy of the text of
                 13 the 2023 Fabletics Terms.
                 14         15.     Attached hereto as Exhibit G is a true and correct copy of the text of
                 15 the 2024 Fabletics Terms.
                 16         16.     Other than Exhibits B though G, no other versions of the Fabletics
                 17 Terms’ arbitration provision were in effect between 2019 and 2024.
                 18         17.     While a customer need not become a VIP member to purchase
                 19 products from Fabletics, if they want the discount and other benefits of VIP
                 20 members, they are required to accept the Fabletics Terms then in effect. Failure to
                 21 accept the terms of the VIP Membership Program would result in an error page,
                 22 instructing the consumer that they must accept the Fabletics Terms to proceed.
                 23 Attached hereto as Exhibit H is a true and correct copy of the error page that
                 24 would appear if a customer clicked the box to join Fabletics’ VIP Membership
                 25 Program but failed to accept the terms of the VIP Membership Program before
                 26 checking out.
                 27         18.     Before joining the VIP Membership Program and agreeing to its
    Mitchell     28 Terms, Plaintiffs were free to scroll through the Terms at their leisure, and to seek
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                  1 the input of an attorney or trusted advisor if they so chose. They were equally free
                  2 not to continue with joining the VIP Membership Program, which, as stated above,
                  3 was not required in order to purchase a product. If they elected to proceed,
                  4 however, Plaintiffs had to manifest their consent to the Terms by checking the box
                  5 “I accept.”
                  6         19.     Because Plaintiffs each created VIP accounts between 2019, at
                  7 earliest, and 2024, at latest, each necessarily accepted the Fabletics Terms in effect
                  8 at the time of account creation, all of which are reflected in Exhibits B though G
                  9 and all of which contain a mandatory arbitration provision.
                 10         20.     The alternative dispute resolution provisions in the Terms afford
                 11 customers the opportunity to opt out of the arbitration provision if they so desire.
                 12 Instructions are included in the same paragraph specifying the right to opt out. Opt
                 13 out requests are business records of the company, and maintained in the ordinary
                 14 course of business. I have reviewed Fabletics opt out files; no opt out request was
                 15 ever received from any of the Plaintiffs.
                 16         21.     Fabletics’ business is conducted throughout the United States; it is
                 17 directly involved in interstate commerce. Fabletics engages in a multistate
                 18 business, as it has more than 100 retail stores across 35 states, and online
                 19 customers in every state. Attached hereto as Exhibit I is a screenshot from
                 20 Fabletics’ website showing its retail store locations.
                 21         22.     Fabletics’ website operates over the internet. Users not only sign-up
                 22 for a VIP account online, but they also shop online. Transactions conducted via
                 23 the Fabletics website involve instrumentalities of interstate commerce including
                 24 the Internet.
                 25         I declare under penalty of perjury under the laws of the State of California
                 26 that the foregoing is true and correct.
                 27                          19 2025, at ________________,
                            Executed on May ___,           El Segundo      California.
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                  1                                  ___________________________________
                                                                Matt Fojut
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                        EXHIBIT A




                                     7
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      FLW Checkout Flow




                                     8
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First Time Visitor Homepage




                                                       9
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First Time Visitor Homepage for FLW




                                                        10
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                                                     ID #:112




Bottom of First Time Visitor Homepage for FLW




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Style Quiz




                                                   12
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Registration Page




                                                          13
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Post-Registration Page




                                                        14
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Product Grid




                                                     15
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PDP




                                            16
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PDP (Cont.)




                                                    17
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Add to Cart




                                                    18
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Page before Shopping Cart




                                                       19
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Shopping Cart




                                                      20
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Shipping Page




                                                      21
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Billing Page




                                                     22
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Final Checkout Page




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                        EXHIBIT B




                                      24
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 FABLETICS TERMS OF SERVICE, USE AND PURCHASE
 Welcome to Fabletics and FL2! This website located at www.fabletics.com (this "Site") is owned and
 operated by Fabletics, LLC, a subsidiary of Just Fabulous, Inc. (the “Company”) and JFGC, LLC (“JFGC”
 and, collectively with the Company, “Fabletics”). Fabletics provides website features and other products
 and services to you when you visit, shop or purchase items from this Site, access this Site from your
 mobile devices, or use software provided by Fabletics in connection with any of the foregoing
 (collectively, “Fabletics Services”). Fabletics provides its products and services subject to these Terms of
 Service.

 By using the Fabletics Services, you agree to these conditions. Please read them carefully.

 By accessing or using this Site, mobile application or other Fabletics product or service on any computer,
 mobile phone, tablet, console or other device (collectively, “Device”), you acknowledge and agree that
 you have read, understand and agree to be bound by these Terms of Service and any other applicable
 law, whether or not you are a registered member of Fabletics. You must be at least 18 years old to use
 this Site or Services. Fabletics may change these Terms of Service at any time without notice. When we
 make changes, we will post them here. Your continued use of the Fabletics Services or enrollment as a
 Fabletics VIP Member shall be considered your acceptance to the revised Terms of Service. If you do not
 agree to these Terms of Service, please do not use this Site or any Fabletics Services and immediately
 cancel your Fabletics VIP Membership by calling one of our customer service representatives at 1-844-
 Fabletics (1-844-322-5384).

 ELECTRONIC COMMUNICATIONS
 When you use any Fabletics Service, or send e-mails to us, you are communicating with us electronically.
 You consent to receive communications from us electronically. We will communicate with you by e-mail or
 by posting notices on this Site or through the other Fabletics Services. You agree that all agreements,
 notices, disclosures and other communications that we provide to you electronically satisfy any legal
 requirement that such communications be in writing.

 FABLETICS MEMBERSHIP
 Fabletics provides a monthly membership program that grants you access to style experts and the latest
 athletic wear trends. To get started, simply take our Style Personality Quiz. Next, you must register and
 create a member account through this Site ("Account"). After you have successfully created an Account,
 you will have the option to select your favorite item(s) from the 'My Outfits' section of your Account
 ("Outfits"). There is no registration fee and no obligation to purchase. Our Fabletics style experts will
 continue to determine which athletic wear outfits best match your workouts and style. If you choose to
 create an Account, you agree to provide and maintain true, accurate, current and complete information
 about yourself as prompted by the Fabletics registration form. Registration data and certain other
 information about you are governed by our Privacy Policy.

 VIP MEMBERSHIP PROGRAM
 Fabletics offers members the opportunity to participate in its membership rewards program (the “VIP
 Membership Program”). To become a Fabletics VIP Member, simply purchase any Fabletics or FL2 item
 on this Site or through an applicable Service and you will be automatically enrolled in the Fabletics VIP
 Membership Program (including the monthly, automatic purchase feature). As a Fabletics VIP Member,
 our experts will send you a customized selection of Fabletics or FL2 outfits on the 1st day of every month.
 You will also receive emails, newsletters, special offers and other updates to maximize your shopping
 experience. As a valued Fabletics VIP Member, you will enjoy exclusive VIP Member-only pricing and
 dedicated promotions. You may cancel your Fabletics VIP Membership by calling one of our customer
 service representatives at 1-844-Fabletics (1-844-322-5384).

 HOW VIP MEMBERSHIP WORKS
 Upon enrollment in the VIP Membership Program, you will receive new monthly customized selections of
 merchandise on the first (1st) day of every month.? You must make a purchase or log into your
 account and select the 'Skip the Month' option between the 1st and 5th day of the month. If you do




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 not make a purchase and do not ‘Skip the Month’ your credit card will be charged an automatic
 monthly membership fee of $49.95 for a member credit on the 6th until you cancel. ?You may
 cancel your Fabletics VIP Membership by calling one of our customer service representatives at 1-844-
 Fabletics (1-844-322-5384). Each Fabletics credit will be applied to your Account and can be redeemed
 toward the purchase of Fabletics or FL2 items (totaling $49.95 or higher) during your purchase checkout
 in any future month. You may ‘Skip’ as many months as you like, there is no obligation to buy. Even if you
 decide to ‘Skip’ any month, you may return to your Account at any time to make a purchase. As
 discussed below, any unused membership credits will be automatically converted into an electronic
 Fabletics gift card twelve (12) months following issuance. The electronic gift cards never expire and work
 the same as membership credits, except that they are transferrable and can be used to purchase
 Fabletics or FL2 items of any price.

 You may cancel your Fabletics VIP Membership Account at any time. If you wish to cancel your Account,
 simply call our Fashion Consultants at 1-844-Fabletics (1-844-322-5384) from 9am to 9 pm (EDT), 7 days
 a week. There is no cancellation fee. Please be advised that your Account may only be canceled by the
 registered Fabletics VIP Member or the holder of the valid credit card on file related to your Account.

 VIP MEMBER PERKS - VIP PRICING
 As a Fabletics VIP Member, you will be able to purchase Fabletics and FL2 Outfits starting at $49.95,
 including, but not limited to a pre-determined combination of, tops, sports bras, pants, shorts, athletic
 wear accessories and other items. The site also offers a range of products, including, but not limited to,
 tops, sports bras, shorts and more for less than $49.95. In order to bring you this fabulous pricing, we
 must charge a $4.95 shipping fee for all orders under $49.95, after applicable discounts. For all orders
 $49.95 or over, shipping is always free.

 In addition, the site will occasionally collaborate with premier trendsetting partners to offer specialty items
 at exclusive members-only prices. In order to bring you the most fabulous fashion trends which are not
 offered anywhere else, these exclusive specialty items may be offered at prices above $49.95.

 You will also receive emails, newsletters, special offers and other updates to maximize your shopping
 experience.

 MEMBERSHIP CREDITS AND GIFT CARDS
 Any membership credits issued to you will be automatically converted into electronic gift cards (“JF Gift
 Cards”) if they are unused following the twelve (12) month anniversary of issuance. As described below,
 JF Gift Cards function almost identically to membership credits, and both constitute prepaid promotional
 certificates that are provided to VIP Members in connection with the VIP Membership Program. JF Gift
 Cards can be used by you to purchase identified merchandise at a price below the regular retail price if
 you are a VIP Member at the time of redemption. Non VIP Members can also use JF Gift Cards to
 purchase Fabletics merchandise at the regular retail price. Additionally, JF Gift Cards are freely
 transferrable and can be broken and applied across multiple purchases on this Site or the Fabletics
 Services.

 As of May 1, 2015, JFGC shall be the sole issuer and legal obligor with respect to all gift cards, including
 any membership credits issued prior to such date and converted into gift cards. JFGC is responsible for
 the management and operation of the membership credit conversion and gift card program. A converted
 membership credit or gift card constitutes a contract between you and JFGC. By agreeing to be bound by
 these Terms of Service, you expressly release the Company from any liability with respect to your
 converted membership credits and gift cards. You acknowledge that any such liability is the sole
 responsibility of JFGC.

 Membership credits and gift cards are not refundable or redeemable for cash. Membership credits and
 gift cards can only be used toward purchasing Fabletics or FL2 items on the Site or through the Fabletics
 Services. Membership credits may only be redeemed in one transaction and are non-transferrable.
 Fabletics gift cards may be redeemed in multiple transactions and are transferrable. Once you use the
 Fabletics gift card any remaining value from the gift card will be automatically credited back to your




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 Account under the “store credit” section. You may transfer Fabletics gift cards to family members or
 friends who may want to try Fabletics or FL2.

 Your Account reflects the balance of VIP Membership credits. The Account balance will be adjusted as
 VIP Membership credits are converted to JF Gift Cards. Membership credits and gift cards do not expire.
 However, JFGC expressly reserves the right to impose inactivity or dormancy fees on membership credits
 and gift cards in some or all states, and may begin imposing such fees at any time by providing at least
 thirty (30) days’ advance notice, which notice shall be given by posting revised Terms of Service on this
 Site. The risk of loss and title to such gift cards passes to the purchaser upon JFGC’s electronic
 transmission to the recipient.

 JFCG LIMITATION OF LIABILITY
 JFGC MAKES NO WARRANTIES, EXPRESS OR IMPLIED, WITH RESPECT TO MEMBERSHIP
 CREDITS OR GIFT CARDS INCLUDING, WITHOUT LIMITATION, ANY EXPRESS OR IMPLIED
 WARRANTY OR MERCHANTABILITY OR FITNESS FOR A PARTICULAR PURPOSE. IN THE EVENT
 THAT A MEMBERSHIP CREDIT OR GIFT CARD IS NON-FUNCTIONAL, YOUR SOLE REMEDY, AND
 OUR SOLE LIABILITY, SHALL BE THE REPLACEMENT OF SUCH MEMBERSHIP CREDIT OR GIFT
 CARD. CERTAIN STATE LAWS DO NOT ALLOW LIMITATIONS ON IMPLIED WARRANTIES OR THE
 EXCLUSION OR LIMITATION OR CERTAIN DAMAGES. IF THESE LAWS APPLY TO YOU, SOME OR
 ALL OF THE ABOVE DISCLAIMERS, EXCLUSIONS, OR LIMITATIONS MAY NOT APPLY TO YOU.

 If you have any questions regarding our gift card policies please send all inquiries to JFGC, LLC, 1590
 Rosecrans Avenue, Suite D-337, Manhattan Beach, CA 90266, Attention: Customer Service, or contact
 our representatives at 855-202-3566 or email us at support@jfgiftcard.com.

 SHIPPING
 Shipping and handling charges are based on your subtotal order amount, calculated after applicable
 discounts and before sales tax. Rates are calculated as follows:

 Standard Shipping



                                 48 Contiguous            Alaska, Hawaii,
    Subtotal Amount                                                                      Australia
                                  United States          Puerto Rico, APO

                                                                                        $5.95**
                                                                                   (New VIP Member
                                    FREE                       $9.00
     $49.95 and over                                                                 Courtesy Rate)
                              4-10 Business Days         7-10 Business Days
                                                                                        $9.95**
                                                                                   7-10 Business Days
                                                                                        $5.95**
                                                                                   (New VIP Member
                                $4.95 Flat Rate                $9.00
      Under $49.95                                                                   Courtesy Rate)
                              4-10 Business Days         7-10 Business Days
                                                                                        $9.95**
                                                                                   7-10 Business Days

 Rush Shipping




                                                    27
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                                       48 Contiguous                  Alaska, Hawaii,
     Subtotal Amount                                                                                       Australia
                                        United States                Puerto Rico, APO


                                           $8.95
      $49.95 and over                                                         N/A                             N/A
                                     2-3 Business Days


                                           $8.95
       Under $49.95                                                           N/A                             N/A
                                     2-3 Business Days

 *All delivery times above are based on average in-transit time. Orders shipped to Canada, P.O. Boxes and APOs/FPOs do
 not qualify for Rush Shipping.

 **All orders shipped to Australia will incur a flat rate charge of $9.95 USD except for first time orders placed as a new VIP
 member, which will have a shipping rate charge of $5.95 USD. The shipping charge of $5.95 USD is a one-time courtesy
 rate for the initial order placed as a new VIP member from Australia only. All other subsequent VIP member orders from
 Australia will contain a $9.95 USD flat shipping charge.

 Please note shipments arriving to Alaska, Hawaii, APO locations or Australia may be subject to longer
 transit times (up to 30 days) due to the carrier or location of station. At this time, expedited shipping is not
 available for Alaska, Hawaii, APO locations or Australia. All US orders are shipped FedEx via USPS and
 your order will be delivered by your local postal carrier. All Australia orders will be shipped via DHL.?

 As soon as your order ships, you will be provided with a tracking number via email. You can also find your
 order details and tracking information on the Order History tab within the My Account section.

 RETURNS & EXCHANGES
 Fabletics strives to provide an amazing shopping experience and superior customer service. If for any
 reason you are not content with your order, we gladly accept returns and exchanges for US and Canada
 orders within 30 days from the date of shipment and in new, unused condition with original packaging.
 Exchanges are not available in Australia, and orders can only be returned. Some items purchased
 through special promotions may be final sale, and therefore not eligible for exchanges or returns (please
 refer to promotion disclaimers for the terms of each offer).

 Accessories must be returned with all pieces included and intact, and apparel must also be returned
 unworn, with all tags still attached.

 In the US, Fabletics offers 3 easy return options: (1) return for Fabletics membership or store credit for
 free; (2) exchange for another item for free; (3) return for a refund. Return shipping and handling for non-
 contiguous US territories, including Alaska, Hawaii, Puerto Rico and APOs, is $9.00.

 In Australia, Fabletics offers 2 easy return options: (1) return for Fabletics membership or store credit for
 free; (2) return for a refund. Exchanges are not offered in Australia. If you would like to exchange an item,
 please return the item and place a new order. Please note: new orders are subject to standard shipping
 rates.

 Please note that any membership or store credit used to pay for an order will be returned as store credit
 and will not be eligible for a refund to a credit card. Also, please note reward points associated with the




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 purchase will be deducted from your account if you do choose a refund. Items redeemed through the
 rewards program are not eligible for returns or exchanges.

 Shipping Your Returns/Exchanges

 Returns and exchanges are easy! Just print your free return label and return packing slip by visiting the
 Order History page under My Account.

 To make a return or exchange, please follow these steps:

 • Obtain a Return Merchandise Authorization (RMA) number. You can obtain a RMA number online by
 clicking on the link in the 'My Order History' section in your Account or you can obtain a RMA number by
 calling our Fashion Consultants by dialing our toll free number at 1-844-Fabletics (1-844-322-5384). Our
 Fashion Consultants will email you our pre-paid return shipping label.

 • Send the item back in the original, undamaged box and packaging.

 • Attach the pre-paid return shipping label to your shipment and drop it off at any USPS or FedEx location.

 RISK OF LOSS/TITLE
 The risk of loss and title for products purchased on the Site or through the Fabletics Services passes to
 the purchaser upon our delivery to the carrier. Replacement of products and credits to your account for
 shipped merchandise claimed as not received are subject to our investigation. We will adjust your
 account at our discretion. Fabletics does not take title to returned items until the item arrives at our
 fulfillment center. At our discretion, a refund may be issued without requiring a return. In this situation,
 Fabletics does not take title to the refunded item.

 SALES TAX
 Fabletics is not required by law to collect sales and/or use taxes in all states, nor does it actually collect
 such taxes in all states. However, Fabletics reserves the right to collect sales tax in any other
 jurisdictions if it believes that such collection is required by law.

 For states imposing sales or use taxes, your purchase may be subject to use tax unless it is specifically
 exempt from taxation. Your purchase is not exempt merely because it is made over the Internet or by
 other remote means. Many states require purchasers to file a sales/use tax return at the end of the year
 reporting all of the taxable purchases that were not taxed and to pay tax on those purchases. You may
 have a tax obligation in states where Fabletics does not collect sales tax. Details of how to report these
 taxes may be found at the websites of your respective taxing authorities.


 PAYMENT INFORMATION
 To make purchases through the Fabletics Services or to become a Fabletics VIP you must submit credit
 card information. You represent and warrant to Fabletics that such information is true and that you are
 authorized to use the payment instrument. You will promptly update your Account information with any
 changes (for example, a change in your billing address or credit card expiration date) that may occur. You
 authorize Fabletics to use any updated credit card information submitted by your credit card company
 directly to Fabletics. If you dispute any charges, you must inform Fabletics within thirty (30) days upon
 receipt of Fabletics’ invoice. We reserve the right to change Fabletics prices, fees or the number of
 Member Credits required to purchase items. Your continued use of the Fabletics Services after the price
 change becomes effective constitutes your agreement to pay the changed amount.

 ACCOUNT CONFIDENTIALITY AND ACCESS
 You are solely responsible for maintaining the confidentiality of your Account, all activities occurring under
 your Account and all access to and use of the Fabletics Services by anyone using your Account, whether




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 or not such activities and access are actually authorized by you, including but not limited to all
 communications, transactions and obligations. You agree to accept responsibility for all activities that
 occur under your account and password. Fabletics shall not be liable or responsible for any loss or
 damage arising from any unauthorized use, access or any other breach of security of your Account,
 including but not limited to your member sign-in password and email address. You acknowledge and
 accept that your use of the Fabletics Services is in compliance with these Terms of Service. You further
 acknowledge and accept that Fabletics shall have no obligation to investigate the authorization or source
 of any Account activity, including purchase activity following a proper log-in to this Site or any Services,
 which is defined as a matching and current member sign-in and user password. You shall notify Fabletics
 immediately of any unauthorized access to your Account or any other unauthorized use of any Fabletics
 Services.

 You agree that Fabletics may, without prior notice, immediately terminate, limit your access to or suspend
 your Account based on any of the following: (a) breach or violation of these Terms of Service; (b) upon
 request by law enforcement; (c) unforeseeable technical or security issues or problems; (d) extended
 periods of inactivity; or (e) fraudulent, deceptive or illegal activity, or any other activity which Fabletics
 believes is harmful to its business interests; or (f) for no reason. You agree that any termination, limitation
 of access and/or suspension shall be made in the Fabletics’ sole discretion and that Fabletics shall not be
 liable to you or any third party for the termination, limitation of access and/or suspension of your Account.

 PROHIBITED USES
 Any and all Fabletics Services may be used only for lawful purposes and are available only for your
 personal, noncommercial use, which shall be limited to viewing this Site, purchasing products, providing
 information to Fabletics, and downloading product information for your personal review. You are
 responsible for your own communications, including the transmission, posting, and uploading of
 information and are responsible for the consequences of such communications. Fabletics specifically
 prohibits any use of the Fabletics Service, and requires all users to agree not to use the Fabletics
 Services, for any of the following:

 • Posting any information which is incomplete, false, inaccurate or not your own;

 • Creating multiple accounts for the same user;

 • Accessing data not intended for you or logging on to a Fabletics server or account, which you are not
 authorized to access;

 • Engaging in conduct that would constitute a criminal offense, giving rise to civil liability or otherwise
 violate any city, state, national or international law or regulation that would fail to comply with accepted
 Internet protocol;

 • Communicating, transmitting, or posting material that is copyrighted or otherwise owned by a third party
 unless you are the copyright owner or have the permission of the owner to post it;

 • Communicating, transmitting, or posting material that reveals trade secrets, unless you own them or
 have the permission of the owner;

 • Communicating, transmitting, or posting material that infringes on any other intellectual property, privacy
 or publicity right of another;

 • Communicating, transmitting, or transferring (by any means) information or software derived from the
 site to foreign countries or certain foreign nations in violation of any applicable export control laws;

 • Attempting to interfere in any way with this Site’s network security, or attempting to use this Site’s
 service to gain unauthorized access to any other computer system;

 • Communicating, transmitting, or posting material that is in violation of applicable laws or regulations;




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 • Attempting to probe, scan or test the vulnerability of a system or network or to breach security or
 authentication measures without proper authorization (or succeeding in such an attempt);

 • Attempting to interfere or interfering with the operation of this Site, Fabletics’ provision of services to any
 other visitors to this Site, Fabletics hosting provider or networks, including, without limitation, via means of
 submitting a virus to this Site, overloading, "flooding", "mailbombing" or "crashing" this Site;

 • Forging any TCP/IP packet header or any part of the header information in any e-mail or transmission or
 posting to this Site.

 USER CONTENT
 Any and all content, comments, feedback, suggestions, ideas, concepts, photos, questions or other
 communications (collectively, “User Content”) that you submit or post through any Fabletics Services shall
 be deemed non-confidential and non-proprietary. By submitting or posting any User Content, you grant to
 Fabletics and its affiliates a perpetual, irrevocable, royalty-free, worldwide, sublicensable and transferable
 license to copy, publish, translate, modify, create derivative works from, distribute, reproduce, display, or
 use the User Content in any commercial or non-commercial manner whatsoever. Fabletics will be free to
 use any ideas, concepts, know-how or techniques contained in such User Content for any purpose
 whatsoever, including but not limited to developing, manufacturing and marketing products that
 incorporate or otherwise rely upon such information. Fabletics shall have no obligation to monitor User
 Content, use or display User Content, compensate you for submitting User Content, or respond to any
 User Content. Fabletics retains the right, in its sole discretion and without prior notice, to remove, revise
 or refuse to post any User Content for any reason or no reason.

 By connecting to Fabletics with a third-party service (e.g., Facebook or Twitter), you give us permission to
 access and use your information from that service as permitted by that service, and to store your log-in
 credentials for that service. For more information on the types of information we collect from these third-
 party services, please read our Privacy Policy.

 If you utilize your Facebook account to access and use the social features available through the Fabletics
 Services, you can choose whether or not you wish to share content or information related to your Account
 on Facebook. You agree that Fabletics is not responsible for any content or information related to your
 Account once it is shared and posted on Facebook. If you use the Fabletics Services and its social
 features, you agree to respect other users of the Fabletics Services in your interactions with them.
 Fabletics reserves the right, in its absolute discretion, to disable your account if it believes that you are
 violating any term or condition set forth herein.

 By submitting User Content, you represent and warrant that the User Content does not (i) contain false or
 misleading information, (ii) infringe on the intellectual property rights of any third party, (iii) contain any
 libelous, defamatory, obscene, offensive, threatening or otherwise harassing content, (iv) contain any
 addresses, email addresses, phone numbers or any contact information, or (v) contain computer viruses,
 worms or other harmful files. You are solely responsible for the User Content and you hereby agree to
 indemnify and hold Fabletics and its employees, agents and affiliates harmless from any and all
 damages, claims, expenses, costs or fees arising from or in connection with a breach of any of the
 foregoing representations or your violation of any law or rights of a third party.

 PRODUCT INFORMATION
 Prices, descriptions and availability of products are subject to change without notice. Errors may be
 corrected when discovered, and Fabletics reserves the right to revoke any stated offer in order to correct
 any errors or inaccuracies. Although Fabletics has made every effort to display our products and their
 colors as accurately as possible, the displayed colors of the products depend upon the monitor of the
 user, and Fabletics cannot guarantee that the user’s monitor will accurately portray the actual colors of
 the products. Products displayed may be out-of-stock or discontinued, and prices are subject to change.
 Fabletics is not responsible for typographical errors regarding price or any other matter.




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 PURCHASE CANCELLATIONS
 All orders placed through any Fabletics Services are subject to Fabletics’ acceptance. This means that
 Fabletics may refuse to accept or may cancel any order, whether or not the order has been confirmed, for
 any or no reason, and without liability to you or anyone else. If your credit card has already been charged
 for an order that is later cancelled, Fabletics will issue you a refund.

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 All content, graphics, text, code and software used on or incorporated into this Site and/or any Fabletics
 Service, and the arrangement or integration of all such content, graphics, code and software, are subject
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 UNINTERRUPTED OR ERROR-FREE, THAT ANY DEFECTS WILL BE CORRECTED, OR THAT THE
 SITE OR THE SERVER THAT MAKES THE SITE AVAILABLE ARE FREE OF VIRUSES OR OTHER




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 HARMFUL COMPONENTS, OR AS TO THE INFORMATION, CONTENT, MATERIALS, PRODUCTS OR
 SERVICES INCLUDED ON OR OTHERWISE MADE AVAILABLE TO YOU THROUGH THIS SITE, OR
 ANY OF THE FABLETICS SERVICES, IN TERMS OF THEIR CORRECTNESS, ACCURACY,
 ADEQUACY, USEFULNESS, TIMELINESS, RELIABILITY OR OTHERWISE, UNLESS OTHERWISE
 SPECIFIED IN WRITING.

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 OF, OR THE INABILITY TO USE, THIS SITE OR THE FABLETICS SERVICES OR FROM ANY
 INFORMATION, CONTENT, MATERIALS, PRODUCTS OR SERVICES INCLUDED ON OR
 OTHERWISE MADE AVAILABLE TO YOU THROUGH FABLETICS, INCLUDING, BUT NOT LIMITED
 TO DIRECT, INDIRECT, INCIDENTAL, SPECIAL, PUNITIVE AND CONSEQUENTIAL DAMAGES,
 EVEN IF FABLETICS HAS BEEN ADVISED OF THE POSSIBILITY OF SUCH DAMAGES.

 FABLETICS SHALL NOT BE LIABLE FOR ANY DAMAGES OF ANY KIND ARISING FROM THE USE
 OF THIS SITE OR THE FABLETICS SERVICES ISSUED AGAINST YOU BY THIRD PARTY FINANICAL
 INSTITUTIONS SUCH AS BANKS OR CREDIT CARD COMPANIES. FABLETICS SHALL NOT BE
 LIABLE FOR ANY OVERDRAFT, LATE OR ANY OTHER CHARGES ISSUED AGAINST YOU BY A
 BANK OR CREDIT CARD.

 CERTAIN STATE LAWS MAY NOT ALLOW LIMITATIONS ON IMPLIED WARRANTIES OR THE
 EXCLUSION OR LIMITATION OF CERTAIN DAMAGES. IF THESE LAWS APPLY TO YOU, SOME OR
 ALL OF THE ABOVE DISCLAIMERS, EXCLUSIONS OR LIMITATIONS MAY NOT APPLY TO YOU AND
 YOU MAY HAVE ADDITIONAL RIGHTS.

 IF YOU ARE DISSATISFIED WITH ANY PORTION OF THE FABLETICS SERVICES, OR WITH ANY OF
 THESE TERMS OF SERVICE, YOUR SOLE AND EXCLUSIVE REMEDY IS TO DISCONTINUE USE OF
 THE FABLETICS SERVICES. IF A PRODUCT OFFERED THROUGH THE FABLETICS SERVICES IS
 NOT AS DESCRIBED, YOUR SOLE REMEDY IS TO RETURN IT IN ACCORDANCE WITH THE
 RETURN POLICY SET FORTH IN DETAIL IN THESE TERMS OF SERVICE.

 Fabletics makes no warranties of any kind regarding any third party sites to which you may be directed or
 hyperlinked from the Fabletics Services. Hyperlinks are included solely for your convenience, and
 Fabletics makes no representations or warranties with regard to the accuracy, availability, suitability or
 safety of information provided in such third party sites. Fabletics does not endorse, warrant or guarantee
 any products or services offered or provided by or on behalf of third parties through the Fabletics
 Services.

 INDEMNITY AND RELEASE
 You agree to indemnify and hold Fabletics and its parent, subsidiaries, affiliates, officers, agents and
 employees harmless from any and all liabilities, claims, demands, actions, suits, losses, obligations,
 judgments, proceedings, damages, expenses and costs (including reasonable attorneys' fees), based
 upon, arising from or related to (a) information or content submitted, transmitted or otherwise made
 available on or through the Fabletics Services by you or any other person accessing the Fabletics
 Services using your Account; (b) the use of, or connection to, the Fabletics Services by you or any other
 person accessing this Site using your Account (including negligent or wrongful conduct); or (c) your
 breach or attempted breach of these Terms of Service.

 DISPUTES AND DISPUTE RESOLUTION
 GOVERNING LAW
 Use of the Fabletics Services, membership in the Fabletics VIP Membership Program, any purchases
 made through the Fabletics Services, and any controversy, claim or dispute arising out of or relating in
 any way to your use of the Fabletics Services, your membership in or purchases through the Fabletics
 Services, Fabletics VIP Membership Program and/or your Account, or products purchased through the
 Fabletics Services shall be governed by the laws of your home state of residence without respect to its
 choice (or conflict) of laws rules.




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 Any claim or cause of action you may have with respect to Fabletics or the Fabletics Services must be
 commenced within one (1) year after the claim or cause of action arose.

 CLASS ACTION WAIVER
 Both you and Fabletics waive the right to bring any controversy, claim or dispute arising out of or relating
 in any way to your use of the Fabletics Services, your membership in or purchases through the Fabletics
 VIP Membership Program and/or your Account, or products purchased through the Fabletics Services as
 a class, consolidated, representative, collective, or private attorney general action, or to participate in a
 class, consolidated, representative, collective, or private attorney general action regarding any such claim
 brought by anyone else. (This waiver, and the similar waiver specified for arbitration proceedings, are
 generally referred to herein as "the class action waiver.")

 FORUM SELECTION/JURISDICTION
 Jurisdiction and venue for any dispute shall be in Los Angeles, California. Each party submits to personal
 jurisdiction and venue in that forum for any and all purposes.

 AGREEMENT TO PRE-ARBITRATION NOTIFICATION
 These Terms of Service provide for final, binding arbitration of all disputed claims (discussed immediately
 below). Fabletics and you agree, however, that it would be advantageous to discuss and hopefully
 resolve any disputes before arbitration proceedings or any other proceedings authorized herein are
 initiated. In the event of a dispute, the claimant whether you or Fabletics shall send a letter to the other
 side briefly summarizing the claim and the request for relief. If Fabletics is the claimant, the letter shall be
 sent, via email, to the email account listed in your Account. If you are the claimant, the letter shall be sent
 to Fabletics, LLC, Attn: General Counsel, 800 Apollo Street, El Segundo, California 90245. If the dispute
 is not resolved within 60 days after the letter is sent, the claimant may proceed to initiate arbitration
 proceedings or any other proceedings authorized herein.

 AGREEMENT TO ARBITRATE CLAIMS
 Except to the limited extent noted below, use of the Fabletics Services, membership in the Fabletics VIP
 Membership Program, any purchases made through the Fabletics Services, and any controversy, claim or
 dispute arising out of or relating in any way to your use of the Fabletics Services, your membership in or
 purchases through the Fabletics VIP Membership Program, or products purchased through the Fabletics
 Services shall be resolved by final and binding arbitration between you and Fabletics.

 The arbitration shall take place in Los Angeles County, California in accordance with the Commercial
 Arbitration Rules and the Consumer-Related Disputes Supplementary Procedures of the American
 Arbitration Association. Unless either party or the arbitrator requests a hearing, the parties will submit
 their arguments and evidence to the arbitrator in writing. The arbitrator will make an award based only on
 the documents. This is called a Desk Arbitration. If any party makes a written request for a hearing within
 ten days after the American Arbitration Association acknowledges receipt of a claimant's demand for
 arbitration (or the arbitrator requests a hearing), the parties shall participate in a telephone hearing. In no
 event shall the parties be required to travel to Los Angeles to participate in the arbitration.

 If you decide to commence arbitration, the provider will require to you to pay a filing fee (which currently is
 $125 for claims under $10,000). If your filing fee is more than $125, Fabletics will reimburse you for any
 excess fee promptly after it receives notice of your arbitration. If the arbitrator ultimately rules in your
 favor, Fabletics will also reimburse you for the $125 base filing fee.

 If the arbitrator rules in your favor in any respect on the merits of your claim and issues you an award that
 is greater than the value of Fabletics' last written settlement offer made before an arbitrator was selected
 (or greater than zero if no offer was made), then Fabletics will pay you the amount of the award or $350,
 whichever is greater (in addition to reimbursing you for the base filing fee).

 This arbitration agreement is subject to the Federal Arbitration Act and is enforceable pursuant to its
 terms on a self-executing basis. Either party may seek enforcement of this provision in any court of
 competent jurisdiction.




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 The arbitrator shall determine any and all challenges to the arbitrability of a claim. The arbitral award shall
 be judicially enforceable. Any court of competent jurisdiction may, and upon request shall, enter judgment
 on the arbitral award. Either party may seek confirmation (judgment on the award) and/or enforcement in
 any court of competent jurisdiction.

 Notwithstanding any provision in the Commercial Arbitration Rules and the Consumer-Related Disputes
 Supplementary Procedures to the contrary, and with the exception of Desk Arbitrations, the Federal Rules
 of Evidence shall govern the admissibility of evidence in any arbitral proceeding.

 Both you and Fabletics waive the right to bring any claim covered by this dispute resolution provision as a
 class, consolidated, representative, collective, or private attorney general action, or to participate in a
 class, consolidated, representative, collective, or private attorney general action regarding any claim
 covered by this dispute resolution provision brought by anyone else.

 Notwithstanding any provision in the Commercial Arbitration Rules and the Consumer-Related Disputes
 Supplementary Procedures to the contrary, the arbitrator shall not have the authority or any jurisdiction to
 hear the arbitration as a class, consolidated, representative, or private attorney general action or to
 consolidate, join, or otherwise combine the claims of different persons into one proceeding.

 If a proposed class, consolidated, representative, collective, or private attorney general action arbitration
 is initiated notwithstanding the above prohibition and it is finally determined by the arbitrator (or a court of
 competent jurisdiction) that the waiver specified herein is not enforceable, then the arbitration
 proceedings shall be bifurcated as follows and notwithstanding any provision in the Commercial
 Arbitration Rules and the Consumer-Related Disputes Supplementary Procedures to the contrary: 1. The
 issue of arbitrability shall be determined by the Arbitrator pursuant to the applicable rules and substantive
 law. 2. Assuming the Arbitrator concludes that the arbitration may proceed, said arbitration shall be
 stayed, and the issue of whether to certify any alleged or putative class for a class action (or other
 representative) proceeding shall be presented to and decided by a court of competent jurisdiction. The
 arbitrator shall not have authority or jurisdiction to decide class certification (or any similar representative
 action) issues. The decision to certify or not certify a class action (or to otherwise permit the action to
 proceed on a representative basis) shall be appealable in the judicial proceedings consistent with the
 rules and law governing the appeals of interlocutory decisions or class certification (or similar) rulings
 specifically, if appropriate. 3. Once any issues regarding class certification (and/or similar representative
 requirements) have been finally decided by the court, the arbitrator will have authority to decide the
 substantive claims on an individual or a class (or other representative) basis, as may be determined and
 directed by the court.

 APPEAL RIGHTS
 The arbitrator(s) shall not have the power to commit errors of law or legal reasoning, make clearly
 erroneous factual findings, or abuse his or her discretion, and the award may be vacated or corrected on
 appeal to a court of competent jurisdiction for any such error.

 OPTING-OUT OF DISPUTE RESOLUTION PROCEDURE AND CLASS ACTION WAIVER
 You may elect to opt out (exclude yourself) from the final, binding arbitration procedure and the class
 action waiver specified in these Terms of Service by doing the following: within 15 days of setting up your
 Account, you must send a letter to Fabletics, LLC., c/o Legal Department, 800 Apollo Street, El Segundo,
 California 90245 that specifies (1) your name, (2) your account number or account member name, (3)
 your mailing address, and (4) your request to be excluded from the final, binding arbitration procedure
 and class action waiver specified in these Terms of Service. All other Terms shall continue to apply to
 your Account, including the requirement to participate in pre-dispute mediation. Notwithstanding any
 provision in these Terms of Service to the contrary, we agree that, if Fabletics makes any future change
 to the dispute resolution procedure and class action waiver provisions (other than a change to Fabletics'
 address), you may reject any such change by sending a letter to Fabletics within 15 days of the change to
 the address provided above. By rejecting any future change, you are agreeing that you will arbitrate any
 dispute between us in accordance with the language of this provision. Your letter must be postmarked by




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 the applicable 15-day deadline to be effective. You are not required to send the letter by confirmed mail or
 return receipt requested, but it is recommended that you do so. Your request to be excluded will only be
 effective and enforceable if you can prove that the request was postmarked within the applicable 15-day
 deadline.

 NOTICE FOR CALIFORNIA USERS
 Under California Civil Code sections 1798.83-1798.84, California residents are entitled to ask us for a
 notice describing what categories of personal customer information Fabletics shares with third parties or
 corporate affiliates for those third parties or corporate affiliates' direct marketing purposes. That notice will
 identify the categories of information shared and will include a list of the third parties and affiliates with
 which it was shared, along with their names and addresses. If you are a California resident and would like
 a copy of this notice, please submit a written request to the following address: General Counsel, 800
 Apollo Street, El Segundo, CA, 90245. In your request, please specify that you want a "Your Fabletics
 California Privacy Rights Notice". Please allow 30 days for a response.

 GENERAL INFORMATION
 These Terms of Service constitute the entire agreement between you and Fabletics and govern your use
 of the Fabletics Services, and they supersede any prior agreements between you and Fabletics. You also
 may be subject to additional terms and conditions that are applicable to certain parts of the Fabletics
 Services. Fabletics may terminate this Agreement and deny you access to the Fabletics Services at any
 time, immediately and without notice, if in Fabletics' sole discretion you fail to comply with any provision of
 these Terms of Service.

 You agree that no joint venture, partnership, employment, or agency relationship exists between Fabletics
 and you as a result of this Agreement or your use of the Fabletics Services.

 The failure of Fabletics to exercise or enforce any right or provision of these Terms of Service shall not
 constitute a waiver of such right or provision. The invalidity of any term, condition or provision in these
 Terms of Service shall not affect the enforceability of those portions of the Terms deemed enforceable by
 applicable courts of law.

 You may not assign the Terms or any of your rights or obligations under the Terms without Fabletics'
 express written consent. The Terms inure to the benefit of Fabletics' successors, assigns and licensees.
 The section titles in these Terms of Service are for convenience only and have no legal or contractual
 effect.

 Updated: July 1, 2017




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                        EXHIBIT C




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 FABLETICS TERMS OF SERVICE, USE AND PURCHASE

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 By using the Fabletics Services, you agree to these conditions. Please read them carefully. By
 accessing or using this Site, mobile application or other Fabletics product or service on any computer,
 mobile phone, tablet, console or other device (collectively, “Device”), you acknowledge and agree that
 you have read, understand and agree to be bound by these Terms of Service and any other applicable
 law, whether or not you are a registered member of Fabletics. You must be at least 18 years old to use
 this Site or Services. Fabletics may change these Terms of Service at any time without notice. When we
 make changes, we will post them here. Your continued use of the Fabletics Services or enrollment as a
 Fabletics VIP Member shall be considered your acceptance to the revised Terms of Service. If you do not
 agree to these Terms of Service, please do not use this Site or any Fabletics Services and immediately
 cancel your Fabletics VIP Membership by calling one of our customer service representatives at 1-844-
 Fabletics (1-844-322-5384) or visiting us online to cancel.

 ELECTRONIC COMMUNICATIONS When you use any Fabletics Service, or send e-mails to us, you are
 communicating with us electronically. You consent to receive communications from us electronically. We
 will communicate with you by e-mail or by posting notices on this Site or through the other Fabletics
 Services. You agree that all agreements, notices, disclosures and other communications that we provide
 to you electronically satisfy any legal requirement that such communications be in writing.

 FABLETICS MEMBERSHIP Fabletics provides a monthly membership program that grants you access to
 style experts and the latest athletic wear trends. To get started, simply take our Style Personality Quiz.
 Next, you must register and create a member account through this Site ("Account"). After you have
 successfully created an Account, you will have the option to select your favorite item(s) from the 'My
 Outfits' section of your Account ("Outfits"). There is no registration fee and no obligation to purchase. Our
 Fabletics style experts will continue to determine which athletic wear outfits best match your workouts and
 style. If you choose to create an Account, you agree to provide and maintain true, accurate, current and
 complete information about yourself as prompted by the Fabletics registration form. Registration data and
 certain other information about you are governed by our Privacy Policy.

 VIP MEMBERSHIP PROGRAM Fabletics offers members the opportunity to participate in its membership
 program (the “VIP Membership Program”). To become a Fabletics VIP Member, you must checkout as a
 VIP member when making a Fabletics purchase on this Site or through an applicable Service. As a
 Fabletics VIP Member, our experts will send you a customized selection of Fabletics products on the 1st
 day of every month. You will also receive emails, newsletters, special offers and other updates to
 maximize your shopping experience. As a valued Fabletics VIP Member, you will enjoy exclusive VIP
 Member-only pricing and dedicated promotions. You may cancel your Fabletics VIP Membership by
 calling one of our customer service representatives at 1-844-Fabletics (1-844-322-5384) or by using live
 chat or online cancel options in your Account.

 HOW VIP MEMBERSHIP WORKS Upon enrollment in the VIP Membership Program, you will receive
 new monthly customized selections of merchandise on the first (1st) day of every month. You must log
 into your account and select the 'Skip the Month' option between the 1st and the 5th of each month. If you
 do not ‘Skip the Month’ between the 1st and the 5th of the month your credit card or payment method will
 be charged an automatic monthly membership fee of $49.95 for a member credit on the 6th until you
 cancel. All member credits will expire 12 months after the date of issuance. You may cancel your
 Fabletics VIP Membership by calling one of our customer service representatives at 1-844-Fabletics (1-




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 844-322-5384), or online, using live chat or visiting your Account page. Each Fabletics member credit will
 be applied to your Account and can be redeemed for any individual item or two-piece outfits up to $80.
 These outfits and items may be valued below or above $49.95. You may ‘Skip’ as many months as you
 like, there is no obligation to buy. Even if you decide to ‘Skip’ any month, you may return to your Account
 at any time to make a purchase.

 You may cancel your Fabletics VIP Membership Account at any time. If you wish to cancel your Account,
 simply call our Fashion Consultants at 1-844-Fabletics (1-844-322-5384), 7 days a week. You may also
 cancel your VIP Membership Account online by contacting us via online live chat or visiting your Account
 page. There is no cancellation fee. Any remaining member credits on your Account will expire 12 months
 after the date on which they were issued. You may use any remaining unexpired member credits after
 cancellation for any individual item or two-piece outfits up to $80, but you will no longer have access to
 discounted VIP member only pricing for any items purchased without a member credit. Please be advised
 that your Account may only be canceled by the registered Fabletics VIP Member or the holder of the valid
 credit card or payment method on file related to your Account.

 VIP MEMBER PERKS - VIP PRICING As a Fabletics VIP Member, you will be able to purchase Fabletics
 items and outfits at reduced prices with your payment card or by using VIP member credits In order to
 bring you this fabulous pricing, we must charge a $4.95 shipping fee for all orders under $49.95, after
 applicable discounts. For all orders $49.95 or over, shipping is always free.

 In addition, the site will occasionally collaborate with premier trendsetting partners to offer specialty items
 at exclusive members-only prices. In order to bring you the most fabulous fashion trends which are not
 offered anywhere else, these exclusive specialty items may be offered at prices above $49.95.

 You will also receive emails, newsletters, special offers and other updates to maximize your shopping
 experience.

 With your Fabletics VIP Membership, you may access the Fabletics Fitness App available at the Apple
 App Store. Access to the Fabletics Fitness App is contingent on maintaining an active VIP Membership. If
 you cancel your VIP Membership or your VIP Membership is terminated for any reason, you will no longer
 be able to use the services offered on the Apps.

 MOBILE APPLICATIONS To use or access the Services through the Fabletics Fitness App, you will need
 a supported mobile device with adequate software. Fabletics cannot guarantee the Fabletics Fitness App
 will be compatible with, or available on, your device. It is your responsibility to ensure your mobile
 device’s functionality. Further, your mobile phone company’s normal messaging, data, and other rates
 and fees will still apply and you shall be responsible for any such charges. Please check with your
 Internet or mobile phone provider for information on possible data usage charges.

 By downloading or using the Fabletics Fitness App, you expressly agree we may communicate with you
 regarding transactions you have initiated on the Services or respond to your communications to us
 through the Services by SMS, MMS, text message or other electronic means directed to your device and
 that certain information about your usage of the Fabletics Fitness App may be communicated to us
 automatically from your device. Fabletics will not send you direct marketing messages without your prior
 express consent and you can opt out of receiving any marketing messages at any time. In addition,
 Fabletics may require you to accept updates to the Fabletics Fitness App that you have installed on your
 mobile device. You acknowledge and agree that Fabletics may update the Apps and the Services without
 notification to you.

 Fabletics hereby grants you a limited, personal, non-exclusive, non-transferable, non-sublicensable,
 revocable license to: (1) access and use the Fabletics Services and related content; (2) access and use
 the software and the Fabletics Fitness App downloaded directly from a legitimate marketplace solely for
 your personal use for lawful purposes. With respect to any open source code or software that may be
 incorporated in the Fabletics Fitness App, your license shall be subject to such open source or third-party
 license, if any, authorizing use of such code.




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 APP STORE The following terms apply to the third-party platform from which you accessed or
 downloaded the Fabletics Fitness App, e.g., the Apple App Store (“App Store”). You acknowledge that
 this Agreement is between you and Fabletics and not with the App Store. Fabletics, not the App Store, is
 solely responsible for the Services, the content thereof, maintenance, support services, and warranty
 therefor, and addressing any claims relating thereto.

 NOT MEDICAL ADVICE You expressly acknowledge and agree that Fabletics is not providing medical
 advice via the Services. All content provided through the Services, whether provided by Fabletics or third
 parties including from any personal trainers, shall not be used as a substitute for professional medical
 consultation, advice, diagnosis or treatment from a physician or other healthcare professional. You should
 consult with your physician or other healthcare professional before engaging in any physical activity,
 exercise program or making any dietary changes. If you have any concerns or questions about your
 health, you should always consult with a physician or other healthcare professional.

 To the extent permitted by applicable law, Fabletics is not responsible for any health problems, injuries or
 damages that may result from your use of, or inability to use, the Fabletics Services, which includes but is
 not limited to, any training programs, activities, dietary recommendations, consultations, products, events
 or other information you learn through the Fabletics Services. Do not ignore or delay in obtaining
 professional medical advice or treatment because of information accessed through the Site, the Fabletics
 Fitness App or Services. If think you are experiencing a medical emergency, stop using the Fabletics
 Service and immediately contact a medical professional or your local emergency services.

 You expressly acknowledge and agree that the exercise activities offered through the Services carry
 certain inherent and significant risks of property damage, bodily injury, or death. If you engage in any
 exercise programs or physical activity through the Fabletics Services, you agree that you do so at your
 own risk and that you voluntarily assume all known and unknown risks associated with these activities,
 even if caused in whole or part by the action, inaction, or negligence of Fabletics or by the action,
 inaction, or negligence of others. Fabletics assumes no responsibility for any act, omission, activity,
 product or service of any personal trainer featured through the Services. Fabletics does not guarantee
 any results in connection with the Services.

 SHIPPING Shipping and handling charges are based on your subtotal order amount, calculated after
 applicable discounts and before sales tax. Rates are calculated as follows:

 Standard Shipping

                                 48 Contiguous              Alaska, Hawaii,
    Subtotal Amount                                                                       Australia
                                  United States            Puerto Rico, APO
                                                                                           $5.95**

                                                                                     (New VIP Member
                                      FREE                        $9.00
     $49.95 and over                                                                   Courtesy Rate)
                              4-10 Business Days          7-10 Business Days
                                                                                           $9.95**

                                                                                    7-10 Business Days
                                 $4.95 Flat Rate                  $9.00                  $5.95**
      Under $49.95
                              4-10 Business Days          7-10 Business Days         (New VIP Member




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                                                                                                       Courtesy Rate)

                                                                                                            $9.95**

                                                                                                    7-10 Business Days


 Rush Shipping

                                       48 Contiguous                   Alaska, Hawaii,
     Subtotal Amount                                                                                       Australia
                                        United States                 Puerto Rico, APO
                                           $8.95
      $49.95 and over                                                          N/A                            N/A
                                     2-3 Business Days
                                           $8.95
       Under $49.95                                                            N/A                            N/A
                                     2-3 Business Days

 *All delivery times above are based on average in-transit time. Orders shipped to Canada, P.O. Boxes and APOs/FPOs do
 not qualify for Rush Shipping.

 **All orders shipped to Australia will incur a flat rate charge of $9.95 USD except for first time orders placed as a new VIP
 member, which will have a shipping rate charge of $5.95 USD. The shipping charge of $5.95 USD is a one-time courtesy
 rate for the initial order placed as a new VIP member from Australia only. All other subsequent VIP member orders from
 Australia will contain a $9.95 USD flat shipping charge.




 Please note shipments arriving to Alaska, Hawaii, APO locations or Australia may be subject to longer
 transit times (up to 30 days) due to the carrier or location of station. At this time, expedited shipping is not
 available for Alaska, Hawaii, APO locations or Australia. All US orders are shipped FedEx via USPS and
 your order will be delivered by your local postal carrier. All Australia orders will be shipped via DHL.?

 As soon as your order ships, you will be provided with a tracking number via email. You can also find your
 order details and tracking information on the Order History tab within the My Account section.

 RETURNS & EXCHANGES Fabletics strives to provide an amazing shopping experience and superior
 customer service. If for any reason you are not content with your order, we gladly accept returns and
 exchanges for US and Canada orders within 45 days from the date of shipment and in new, unused
 condition with original packaging. Exchanges are not available in Australia, and orders can only be
 returned. Some items purchased through special promotions may be final sale, and therefore not eligible
 for exchanges or returns (please refer to promotion disclaimers for the terms of each offer).

 Accessories must be returned with all pieces included and intact, and apparel must also be returned
 unworn, with all tags still attached.

 In the US, Fabletics offers 3 easy return options: (1) return for Fabletics membership or store credit for
 free; (2) exchange for another item for free; (3) return for a refund. Return shipping and handling for non-
 contiguous US territories, including Alaska, Hawaii, Puerto Rico and APOs, is $9.00.




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 In Australia, Fabletics offers 2 easy return options: (1) return for Fabletics membership or store credit for
 free; (2) return for a refund. Exchanges are not offered in Australia. If you would like to exchange an item,
 please return the item and place a new order. Please note: new orders are subject to standard shipping
 rates.

 Please note that any membership or store credit used to pay for an order will be returned as store credit
 and will not be eligible for a refund to a credit card. Also, please note reward points associated with the
 purchase will be deducted from your account if you do choose a refund. Items redeemed through the
 rewards program are not eligible for returns or exchanges.

 Shipping Your Returns/Exchanges Returns and exchanges are easy! Just print your free return label
 and return packing slip by visiting the Order History page under My Account.

 To make a return or exchange, please follow these steps:

 • Obtain a Return Merchandise Authorization (RMA) number. You can obtain a RMA number online by
 clicking on the link in the 'My Order History' section in your Account or you can obtain a RMA number by
 calling our Fashion Consultants by dialing our toll free number at 1-844-Fabletics (1-844-322-5384). Our
 Fashion Consultants will email you our pre-paid return shipping label.

 • Send the item back in the original, undamaged box and packaging.

 • Attach the pre-paid return shipping label to your shipment and drop it off at any USPS or FedEx location.

 RISK OF LOSS/TITLE The risk of loss and title for products purchased on the Site or through the
 Fabletics Services passes to the purchaser upon our delivery to the carrier. Replacement of products and
 credits to your account for shipped merchandise claimed as not received are subject to our investigation.
 We will adjust your account at our discretion. Fabletics does not take title to returned items until the item
 arrives at our fulfillment center. At our discretion, a refund may be issued without requiring a return. In this
 situation, Fabletics does not take title to the refunded item.

 SALES & USE TAXES Fabletics is not required by law to collect sales and/or use taxes in all states.
 However, Fabletics reserves the right to collect sales tax in any jurisdictions if it believes that such
 collection is required by law. Fabletics also reserves the right to collect fees associated with tariff taxes
 and surcharges.

 For states imposing sales or use taxes, your purchase may be subject to use tax unless it is specifically
 exempt from taxation. Your purchase is not exempt merely because it is made over the Internet or by
 other remote means. Many states require purchasers to file a sales/use tax return at the end of the year
 reporting all of the taxable purchases that were not taxed and to pay tax on those purchases. You may
 have a tax obligation in states where Fabletics does not collect sales tax. Details of how to report these
 taxes may be found at the websites of your respective taxing authorities

 PAYMENT INFORMATION To make purchases through the Fabletics Services or to become a Fabletics
 VIP you must submit credit card information or another valid payment method that is acceptable to
 Fabletics. You represent and warrant to Fabletics that such information is true and that you are
 authorized to use the payment instrument. You will promptly update your Account information with any
 changes (for example, a change in your billing address or credit card expiration date) that may occur. You
 authorize Fabletics to use any updated credit card information submitted by your credit card company
 directly to Fabletics. If you dispute any charges, you must inform Fabletics within thirty (30) days upon
 receipt of Fabletics’ invoice. We reserve the right to change Fabletics prices, fees or the number of
 Member Credits required to purchase items. Your continued use of the Fabletics Services after the price
 change becomes effective constitutes your agreement to pay the changed amount.

 ACCOUNT CONFIDENTIALITY AND ACCESS You are solely responsible for maintaining the




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 confidentiality of your Account, all activities occurring under your Account and all access to and use of the
 Fabletics Services by anyone using your Account, whether or not such activities and access are actually
 authorized by you, including but not limited to all communications, transactions and obligations. You
 agree to accept responsibility for all activities that occur under your account and password. Fabletics shall
 not be liable or responsible for any loss or damage arising from any unauthorized use, access or any
 other breach of security of your Account, including but not limited to your member sign-in password and
 email address. You acknowledge and accept that your use of the Fabletics Services is in compliance with
 these Terms of Service. You further acknowledge and accept that Fabletics shall have no obligation to
 investigate the authorization or source of any Account activity, including purchase activity following a
 proper log-in to this Site or any Services, which is defined as a matching and current member sign-in and
 user password. You shall notify Fabletics immediately of any unauthorized access to your Account or any
 other unauthorized use of any Fabletics Services.

 You agree that Fabletics may, without prior notice, immediately terminate, limit your access to or suspend
 your Account based on any of the following: (a) breach or violation of these Terms of Service; (b) upon
 request by law enforcement; (c) unforeseeable technical or security issues or problems; (d) extended
 periods of inactivity; or (e) fraudulent, deceptive or illegal activity, or any other activity which Fabletics
 believes is harmful to its business interests; or (f) for no reason. You agree that any termination, limitation
 of access and/or suspension shall be made in the Fabletics’ sole discretion and that Fabletics shall not be
 liable to you or any third party for the termination, limitation of access and/or suspension of your Account.

 PROHIBITED USES Any and all Fabletics Services may be used only for lawful purposes and are
 available only for your personal, noncommercial use, which shall be limited to viewing this Site, using the
 Apps, purchasing products, providing information to Fabletics, and downloading product information for
 your personal review. You shall not use the Services to sell a product or service, increase traffic to your
 own website or a third-party website for commercial reasons or otherwise undertake any endeavor aimed
 at deriving revenue. You are responsible for your own communications, including the transmission,
 posting, and uploading of information and are responsible for the consequences of such communications.
 Fabletics specifically prohibits any use of the Fabletics Service, and requires all users to agree not to use
 the Fabletics Services, for any of the following:

 • Posting any information which is incomplete, false, inaccurate or not your own;

 • Creating multiple accounts for the same user;

 • Accessing data not intended for you or logging on to a Fabletics server or account, which you are not
 authorized to access;

 • Engaging in conduct that would constitute a criminal offense, giving rise to civil liability or otherwise
 violate any city, state, national or international law or regulation that would fail to comply with accepted
 Internet protocol;

 • Communicating, transmitting, or posting material that is copyrighted or otherwise owned by a third party
 unless you are the copyright owner or have the permission of the owner to post it;

 • Communicating, transmitting, or posting material that reveals trade secrets, unless you own them or
 have the permission of the owner;

 • Communicating, transmitting, or posting material that infringes on any other intellectual property, privacy
 or publicity right of another;

 • Communicating, transmitting, or transferring (by any means) information or software derived from the
 site to foreign countries or certain foreign nations in violation of any applicable export control laws;

 • Attempting to interfere in any way with this Site’s or the Apps’ network security, or attempting to use this
 Site’s or the Apps’ service to gain unauthorized access to any other computer system;




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 • Communicating, transmitting, or posting material that is in violation of applicable laws or regulations;

 • Attempting to probe, scan or test the vulnerability of a system or network or to breach security or
 authentication measures without proper authorization (or succeeding in such an attempt);

 • Attempting to interfere or interfering with the operation of this Site, or the Apps, Fabletics’ provision of
 services to any other visitors or users to this Site or the Apps, Fabletics hosting provider or networks,
 including, without limitation, via means of submitting a virus to this Site or the Apps, overloading,
 "flooding", "mailbombing" or "crashing" this Site or the Apps;

 • Forging any TCP/IP packet header or any part of the header information in any e-mail or transmission or
 posting to this Site or the Apps.

 USER CONTENT Any and all content, comments, feedback, advice, suggestions, ideas, concepts,
 photos, questions or other communications (collectively, “User Content”) that you submit or post through
 any Fabletics Services shall be deemed non-confidential and non-proprietary. By submitting or posting
 any User Content, you grant to Fabletics and its affiliates a perpetual, irrevocable, royalty-free, worldwide,
 sublicensable and transferable license to copy, publish, translate, modify, create derivative works from,
 distribute, reproduce, display, or use the User Content in any commercial or non-commercial manner
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 User Content for any purpose whatsoever, including but not limited to developing, manufacturing and
 marketing products that incorporate or otherwise rely upon such information. Fabletics shall have no
 obligation to monitor User Content, use or display User Content, compensate you for submitting User
 Content, or respond to any User Content. You are solely responsible for your use of any User Content
 you post, including the transmission, accuracy and completeness of the User Content. In addition, relying
 on any User Content by other users is at your own risk. To the extent permitted by applicable law, under
 no circumstances will Fabletics be responsible or liable for any loss or damage resulting from your
 reliance on information, advice or other User Content provided by any user of our Services. Fabletics
 retains the right, in its sole discretion and without prior notice, to remove, revise or refuse to post any User
 Content for any reason or no reason.

 By connecting to Fabletics with a third-party service (e.g., Facebook or Twitter), you give us permission to
 access and use your information from that service as permitted by that service, and to store your log-in
 credentials for that service. For more information on the types of information we collect from these third-
 party services, please read our Privacy Policy.

 If you utilize your Facebook account to access and use the social features available through the Fabletics
 Services, you can choose whether or not you wish to share content or information related to your Account
 on Facebook. You agree that Fabletics is not responsible for any content or information related to your
 Account once it is shared and posted on Facebook. If you use the Fabletics Services and its social
 features, you agree to respect other users of the Fabletics Services in your interactions with them.
 Fabletics reserves the right, in its absolute discretion, to disable your account if it believes that you are
 violating any term or condition set forth herein.

 By submitting User Content, you represent and warrant that the User Content does not (i) contain false or
 misleading information, (ii) infringe on the intellectual property rights of any third party, (iii) contain any
 libelous, defamatory, obscene, offensive, threatening or otherwise harassing content, (iv) contain any
 addresses, email addresses, phone numbers or any contact information, or (v) contain computer viruses,
 worms or other harmful files. You are solely responsible for the User Content and you hereby agree to
 indemnify and hold Fabletics and its employees, agents and affiliates harmless from any and all
 damages, claims, expenses, costs or fees arising from or in connection with a breach of any of the
 foregoing representations or your violation of any law or rights of a third party.

 PRODUCT INFORMATION Prices, descriptions and availability of products are subject to change without
 notice. Errors may be corrected when discovered, and Fabletics reserves the right to revoke any stated




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 offer in order to correct any errors or inaccuracies. Although Fabletics has made every effort to display
 our products and their colors as accurately as possible, the displayed colors of the products depend upon
 the monitor of the user, and Fabletics cannot guarantee that the user’s monitor will accurately portray the
 actual colors of the products. Products displayed may be out-of-stock or discontinued, and prices are
 subject to change. Fabletics is not responsible for typographical errors regarding price or any other
 matter.

 PURCHASE CANCELLATIONS All orders placed through any Fabletics Services are subject to
 Fabletics’ acceptance. This means that Fabletics may refuse to accept or may cancel any order, whether
 or not the order has been confirmed, for any or no reason, and without liability to you or anyone else. If
 your credit card or payment method has already been charged for an order that is later cancelled,
 Fabletics will issue you a refund.

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 ALL OF THE ABOVE DISCLAIMERS, EXCLUSIONS OR LIMITATIONS MAY NOT APPLY TO YOU AND
 YOU MAY HAVE ADDITIONAL RIGHTS.

 IF YOU ARE DISSATISFIED WITH ANY PORTION OF THE FABLETICS SERVICES, OR WITH ANY OF
 THESE TERMS OF SERVICE, YOUR SOLE AND EXCLUSIVE REMEDY IS TO DISCONTINUE USE OF
 THE FABLETICS SERVICES. IF A PRODUCT OFFERED THROUGH THE FABLETICS SERVICES IS
 NOT AS DESCRIBED, YOUR SOLE REMEDY IS TO RETURN IT IN ACCORDANCE WITH THE
 RETURN POLICY SET FORTH IN DETAIL IN THESE TERMS OF SERVICE.

 Fabletics makes no warranties of any kind regarding any third party sites to which you may be directed or
 hyperlinked from the Fabletics Services. Hyperlinks are included solely for your convenience, and
 Fabletics makes no representations or warranties with regard to the accuracy, availability, suitability or
 safety of information provided in such third party sites. Fabletics does not endorse, warrant or guarantee
 any products or services offered or provided by or on behalf of third parties through the Fabletics
 Services.

 INDEMNITY AND RELEASE You agree to indemnify and hold Fabletics and its parent, subsidiaries,
 affiliates, officers, agents and employees harmless from any and all liabilities, claims, demands, actions,
 suits, losses, obligations, judgments, proceedings, damages, expenses and costs (including reasonable
 attorneys' fees), based upon, arising from or related to (a) information or content submitted, transmitted or
 otherwise made available on or through the Fabletics Services by you or any other person accessing the
 Fabletics Services using your Account; (b) the use of, or connection to, the Fabletics Services by you or
 any other person accessing this Site or the Apps using your Account (including negligent or wrongful
 conduct); including any exercise activities provided by personal trainers or interaction with any users of




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 the Service or (c) your breach or attempted breach of these Terms of Service.

 DISPUTES AND DISPUTE RESOLUTION GOVERNING LAW Use of the Fabletics Services,
 membership in the Fabletics VIP Membership Program, any purchases made through the Fabletics
 Services, and any controversy, claim or dispute arising out of or relating in any way to your use of the
 Fabletics Services, your membership in or purchases through the Fabletics Services, Fabletics VIP
 Membership Program and/or your Account, or products purchased through the Fabletics Services shall
 be governed by the laws of your home state of residence without respect to its choice (or conflict) of laws
 rules.

 Any claim or cause of action you may have with respect to Fabletics or the Fabletics Services must be
 commenced within one (1) year after the claim or cause of action arose.

 CLASS ACTION WAIVER Both you and Fabletics waive the right to bring any controversy, claim or
 dispute arising out of or relating in any way to your use of the Fabletics Services, your membership in or
 purchases through the Fabletics VIP Membership Program and/or your Account, or products purchased
 through the Fabletics Services as a class, consolidated, representative, collective, or private attorney
 general action, or to participate in a class, consolidated, representative, collective, or private attorney
 general action regarding any such claim brought by anyone else. (This waiver, and the similar waiver
 specified for arbitration proceedings, are generally referred to herein as "the class action waiver.")

 FORUM SELECTION/JURISDICTION Jurisdiction and venue for any dispute shall be in Los Angeles,
 California. Each party submits to personal jurisdiction and venue in that forum for any and all purposes.

 AGREEMENT TO PRE-ARBITRATION NOTIFICATION These Terms of Service provide for final, binding
 arbitration of all disputed claims (discussed immediately below). Fabletics and you agree, however, that it
 would be advantageous to discuss and hopefully resolve any disputes before arbitration proceedings or
 any other proceedings authorized herein are initiated. In the event of a dispute, the claimant whether you
 or Fabletics shall send a letter to the other side briefly summarizing the claim and the request for relief. If
 Fabletics is the claimant, the letter shall be sent, via email, to the email account listed in your Account. If
 you are the claimant, the letter shall be sent to Fabletics, LLC, Attn: General Counsel, 800 Apollo Street,
 El Segundo, California 90245. If the dispute is not resolved within 60 days after the letter is sent, the
 claimant may proceed to initiate arbitration proceedings or any other proceedings authorized herein.

 AGREEMENT TO ARBITRATE CLAIMS Except to the limited extent noted below, use of the Fabletics
 Services, membership in the Fabletics VIP Membership Program, any purchases made through the
 Fabletics Services, and any controversy, claim or dispute arising out of or relating in any way to your use
 of the Fabletics Services, your membership in or purchases through the Fabletics VIP Membership
 Program, or products purchased through the Fabletics Services shall be resolved by final and binding
 arbitration between you and Fabletics.

 The arbitration shall take place in Los Angeles County, California in accordance with the Commercial
 Arbitration Rules and the Consumer-Related Disputes Supplementary Procedures of the American
 Arbitration Association. Unless either party or the arbitrator requests a hearing, the parties will submit
 their arguments and evidence to the arbitrator in writing. The arbitrator will make an award based only on
 the documents. This is called a Desk Arbitration. If any party makes a written request for a hearing within
 ten days after the American Arbitration Association acknowledges receipt of a claimant's demand for
 arbitration (or the arbitrator requests a hearing), the parties shall participate in a telephone hearing. In no
 event shall the parties be required to travel to Los Angeles to participate in the arbitration.

 If you decide to commence arbitration, the provider will require to you to pay a filing fee (which currently is
 $125 for claims under $10,000). If your filing fee is more than $125, Fabletics will reimburse you for any
 excess fee promptly after it receives notice of your arbitration. If the arbitrator ultimately rules in your
 favor, Fabletics will also reimburse you for the $125 base filing fee.

 If the arbitrator rules in your favor in any respect on the merits of your claim and issues you an award that




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 is greater than the value of Fabletics' last written settlement offer made before an arbitrator was selected
 (or greater than zero if no offer was made), then Fabletics will pay you the amount of the award or $350,
 whichever is greater (in addition to reimbursing you for the base filing fee).

 This arbitration agreement is subject to the Federal Arbitration Act and is enforceable pursuant to its
 terms on a self-executing basis. Either party may seek enforcement of this provision in any court of
 competent jurisdiction.

 The arbitrator shall determine any and all challenges to the arbitrability of a claim. The arbitral award shall
 be judicially enforceable. Any court of competent jurisdiction may, and upon request shall, enter judgment
 on the arbitral award. Either party may seek confirmation (judgment on the award) and/or enforcement in
 any court of competent jurisdiction.

 Notwithstanding any provision in the Commercial Arbitration Rules and the Consumer-Related Disputes
 Supplementary Procedures to the contrary, and with the exception of Desk Arbitrations, the Federal Rules
 of Evidence shall govern the admissibility of evidence in any arbitral proceeding.

 Both you and Fabletics waive the right to bring any claim covered by this dispute resolution provision as a
 class, consolidated, representative, collective, or private attorney general action, or to participate in a
 class, consolidated, representative, collective, or private attorney general action regarding any claim
 covered by this dispute resolution provision brought by anyone else.

 Notwithstanding any provision in the Commercial Arbitration Rules and the Consumer-Related Disputes
 Supplementary Procedures to the contrary, the arbitrator shall not have the authority or any jurisdiction to
 hear the arbitration as a class, consolidated, representative, or private attorney general action or to
 consolidate, join, or otherwise combine the claims of different persons into one proceeding.

 If a proposed class, consolidated, representative, collective, or private attorney general action arbitration
 is initiated notwithstanding the above prohibition and it is finally determined by the arbitrator (or a court of
 competent jurisdiction) that the waiver specified herein is not enforceable, then the arbitration
 proceedings shall be bifurcated as follows and notwithstanding any provision in the Commercial
 Arbitration Rules and the Consumer-Related Disputes Supplementary Procedures to the contrary: 1. The
 issue of arbitrability shall be determined by the Arbitrator pursuant to the applicable rules and substantive
 law. 2. Assuming the Arbitrator concludes that the arbitration may proceed, said arbitration shall be
 stayed, and the issue of whether to certify any alleged or putative class for a class action (or other
 representative) proceeding shall be presented to and decided by a court of competent jurisdiction. The
 arbitrator shall not have authority or jurisdiction to decide class certification (or any similar representative
 action) issues. The decision to certify or not certify a class action (or to otherwise permit the action to
 proceed on a representative basis) shall be appealable in the judicial proceedings consistent with the
 rules and law governing the appeals of interlocutory decisions or class certification (or similar) rulings
 specifically, if appropriate. 3. Once any issues regarding class certification (and/or similar representative
 requirements) have been finally decided by the court, the arbitrator will have authority to decide the
 substantive claims on an individual or a class (or other representative) basis, as may be determined and
 directed by the court.

 APPEAL RIGHTS The arbitrator(s) shall not have the power to commit errors of law or legal reasoning,
 make clearly erroneous factual findings, or abuse his or her discretion, and the award may be vacated or
 corrected on appeal to a court of competent jurisdiction for any such error.

 OPTING-OUT OF DISPUTE RESOLUTION PROCEDURE AND CLASS ACTION WAIVER You may
 elect to opt out (exclude yourself) from the final, binding arbitration procedure and the class action waiver
 specified in these Terms of Service by doing the following: within 15 days of setting up your Account, you
 must send a letter to Fabletics, LLC., c/o Legal Department, 800 Apollo Street, El Segundo, California
 90245 that specifies (1) your name, (2) your account number or account member name, (3) your mailing
 address, and (4) your request to be excluded from the final, binding arbitration procedure and class action
 waiver specified in these Terms of Service. All other Terms shall continue to apply to your Account,




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 including the requirement to participate in pre-dispute mediation. Notwithstanding any provision in these
 Terms of Service to the contrary, we agree that, if Fabletics makes any future change to the dispute
 resolution procedure and class action waiver provisions (other than a change to Fabletics' address), you
 may reject any such change by sending a letter to Fabletics within 15 days of the change to the address
 provided above. By rejecting any future change, you are agreeing that you will arbitrate any dispute
 between us in accordance with the language of this provision. Your letter must be postmarked by the
 applicable 15-day deadline to be effective. You are not required to send the letter by confirmed mail or
 return receipt requested, but it is recommended that you do so. Your request to be excluded will only be
 effective and enforceable if you can prove that the request was postmarked within the applicable 15-day
 deadline.

 NOTICE FOR CALIFORNIA USERS Under California Civil Code sections 1798.83-1798.84, California
 residents are entitled to ask us for a notice describing what categories of personal customer information
 Fabletics shares with third parties or corporate affiliates for those third parties or corporate affiliates' direct
 marketing purposes. That notice will identify the categories of information shared and will include a list of
 the third parties and affiliates with which it was shared, along with their names and addresses. If you are
 a California resident and would like a copy of this notice, please submit a written request to the following
 address: General Counsel, 800 Apollo Street, El Segundo, CA, 90245. In your request, please specify
 that you want a "Your Fabletics California Privacy Rights Notice". Please allow 30 days for a response.

 GENERAL INFORMATION These Terms of Service constitute the entire agreement between you and
 Fabletics and govern your use of the Fabletics Services, and they supersede any prior agreements
 between you and Fabletics. You also may be subject to additional terms and conditions that are
 applicable to certain parts of the Fabletics Services. Fabletics may terminate this Agreement and deny
 you access to the Fabletics Services at any time, immediately and without notice, if in Fabletics' sole
 discretion you fail to comply with any provision of these Terms of Service.

 You agree that no joint venture, partnership, employment, or agency relationship exists between Fabletics
 and you as a result of this Agreement or your use of the Fabletics Services.

 The failure of Fabletics to exercise or enforce any right or provision of these Terms of Service shall not
 constitute a waiver of such right or provision. The invalidity of any term, condition or provision in these
 Terms of Service shall not affect the enforceability of those portions of the Terms deemed enforceable by
 applicable courts of law.

 You may not assign the Terms or any of your rights or obligations under the Terms without Fabletics'
 express written consent. The Terms inure to the benefit of Fabletics' successors, assigns and licensees.
 The section titles in these Terms of Service are for convenience only and have no legal or contractual
 effect.

 Updated: December 1, 2020




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                        EXHIBIT D




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 FABLETICS TERMS OF SERVICE, USE AND PURCHASE

 Welcome to Fabletics! This website located at www.fabletics.com (this "Site") is owned and operated by
 Fabletics, LLC, a subsidiary of Fabletics, Inc. (the “Company”) (collectively with the Company,
 “Fabletics”). Fabletics provides website features and other products and services to you when you visit,
 shop or purchase items from this Site, access this Site from your mobile devices, or use software
 provided by Fabletics in connection with any of the foregoing (collectively, “Fabletics Services”). Fabletics
 provides its products and services subject to these Terms of Service.

 By using the Fabletics Services, you agree to these conditions. Please read them carefully. These
 Terms of Service include a mutual arbitration agreement, class action waiver, and limitations on
 liability.

 By accessing or using this Site, mobile application or other Fabletics product or service on any computer,
 mobile phone, tablet, console or other device (collectively, “Device”), you acknowledge and agree that
 you have read, understand and agree to be bound by these Terms of Service and any other applicable
 law, whether or not you are a registered member of Fabletics. You must be at least 18 years old to use
 this Site or Services. Fabletics may change these Terms of Service at any time without notice. When we
 make changes, we will post them here. Your continued use of the Fabletics Services or enrollment as a
 Fabletics VIP Member shall be considered your acceptance to the revised Terms of Service. If you do not
 agree to these Terms of Service, please do not use this Site or any Fabletics Services and immediately
 cancel your Fabletics VIP Membership by calling one of our customer service representatives at 1-844-
 Fabletics (1-844-322-5384) or visiting us online to cancel.

 ELECTRONIC COMMUNICATIONS

 When you use any Fabletics Service, or send e-mails to us, you are communicating with us electronically.
 You consent to receive communications from us electronically. We will communicate with you by e-mail or
 by posting notices on this Site or through the other Fabletics Services. You agree that all agreements,
 notices, disclosures and other communications that we provide to you electronically satisfy any legal
 requirement that such communications be in writing.

 SMS MESSAGING

 When you provide your phone number and opt-in to Fabletics’ text message marketing program (the
 “Messaging Service”), you agree to receive recurring automated promotional and personalized marketing
 text (e.g., SMS and MMS) messages (e.g., cart reminders) from Fabletics, including text messages that
 may be sent using an automatic telephone dialing system, to the mobile telephone number you provided
 when signing up or any other number that you designate. Consent to receive automated marketing text
 messages is not a condition of any purchase. Reply HELP for help and STOP to cancel. Message & Data
 rates may apply.

 Message frequency will vary. Fabletics reserves the right to alter the frequency of messages sent at any
 time, so as to increase or decrease the total number of sent messages. Fabletics also reserves the right
 to change the short code or phone number from which messages are sent and we will notify you when we
 do so.

 Not all mobile devices or handsets may be supported and our messages may not be deliverable in all
 areas. Fabletics, its service providers and the mobile carriers supported by the program are not liable for
 delayed or undelivered messages.

 We are able to deliver messages to the following mobile phone carriers: Major carriers: AT&T, Verizon
 Wireless, Sprint, T-Mobile, MetroPCS, U.S. Cellular, Alltel, Boost Mobile, Nextel, and Virgin Mobile.
 Minorcarriers: 1stPoint Communications, Aerialink, Alaska Communications Systems (ACS), Appalachian
 Wireless (EKN), Arctic Slope Telephone Cooperative Association, ATNI (Commnet/Choice Wireless),




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 Bandwidth (Republic Wireless), Bell Mobility, Bluegrass Cellular, BreakAway Wireless, BrightlinkIP,
 Cambridge Telephone Company, Carolina West Wireless, Cellcom, Cellone Nation, Cellular One of East
 Central IL (ECIT), Cellular One of Northeast Arizona, Cellular One of Northeast Pennsylvania, Chariton
 Valley, Cincinnati Bell Wireless, Claro (Puerto Rico), Cooper Valley, Coral Wireless (Mobi PCS), Cordova
 Wireless, COX, Cricket Wireless, Cross, C-Spire, Custer Tel, Digital Communications Consulting
 (DCC/OTZ Telecommunications), Duet, Element Mobile (Flat Wireless), Enflick (TextNow), Epic Touch
 (Elkhart Telephone), Fido Mobile, Fizz Mobile, Freedom Mobile, GCI, Golden State, Google Voice, GTA,
 Hawkeye (Chat Mobility), Hawkeye (NW Missouri), Illinois Valley Cellular, Indigo Wireless, Inland
 Cellular,Inteliquent (Layered/Onvoy/UNREAL/FreedomPop), iWireless (Iowa Wireless), James Valley,
 Keystone Wireless (Immix Wireless/PC Man), Mosaic (Consolidated or CTC Telecom), MTPCS, NE
 Colorado, Nemont CDMA (Sagebrush Cellular), Nemont UMTS, Nex-Tech Wireless, NTelos, Nucla-
 Naturita Tel, Open Mobile (Puerto Rico), Orange, Panhandle Communications, Peerless Networks, Pine
 Cellular, Pinger (Textfree), Pioneer, Plateau (Texas RSA 3 Ltd), Plivo, PTCI (Panhandle Telephone
 Coop.), PTI Pacifica (IT&E), Revol, RINA, Rogers Wireless, Sasktel, Simmetry (TMP Corporation),
 Shelcomm, Silver Star Communications, Snake River PCS (Eagle Tel), SouthernLINC, Standing Rock,
 Strata Networks, Telnyx, Telus Mobiity, TextMe, Thumb Cellular, Triangle Wireless, Trilogy, Truphone,
 TSG Global (Flextalk), Tychron, Union Wireless, United Wireless, Viaero Wireless, Videotron Mobile,
 Viva, Viya, Washington RSA No. 8, West Central (WCC or 5 Star Wireless), and Zipwhip.

 Text the keyword STOP, END, CANCEL, UNSUBSCRIBE or QUIT to our shortcode to cancel. After
 texting STOP, END, CANCEL, UNSUBSCRIBE or QUIT to our shortcode you will receive one additional
 message confirming that your request has been processed. You acknowledge that our text message
 platform may not recognize and respond to unsubscribe requests that do not include the STOP, END,
 CANCEL, UNSUBSCRIBE or QUIT keyword commands and agree that Fabletics and its service
 providers will have no liability for failing to honor such requests. If you unsubscribe from one of our text
 message programs, you may continue to receive text messages from Fabletics through any other
 programs you have joined until you separately unsubscribe from those programs. Text the keyword HELP
 to our shortcode to return customer care contact information. If you are experiencing any problems with
 the Messaging Service, you may call us at 1-844-322-5384 or contact us through live chat available 9am -
 9pm (EST), 7 days a week.

 FABLETICS MEMBERSHIP

 Fabletics provides a monthly membership program that provides you access to the latest athletic wear
 trends and many other perks. To get started, simply take our Lifestyle Quiz. Next, you must register and
 create a member account through this Site ("Account"). After you have successfully created an Account,
 you will have the option to select your favorite item(s) from the 'My Outfits' section of your Account
 ("Outfits"). There is no registration fee and no obligation to purchase. Our Fabletics style experts will
 continue to determine which athletic wear outfits best match your workouts and style. If you choose to
 create an Account, you agree to provide and maintain true, accurate, current and complete information
 about yourself as prompted by the Fabletics registration form. Registration data and certain other
 information about you are governed by our Privacy Policy.

 VIP MEMBERSHIP PROGRAM
 Fabletics offers members the opportunity to participate in its monthly membership program (the “VIP
 Membership Program”). To become a Fabletics VIP Member, you must checkout as a VIP member when
 making a Fabletics purchase on this Site or through an applicable Service. As a Fabletics VIP Member,
 our experts will send you a customized selection of Fabletics products on the 1st day of every month. You
 will also receive emails, newsletters, special offers and other updates to maximize your shopping
 experience. As a valued Fabletics VIP Member, you will enjoy numerous perks and benefits such as
 exclusive VIP Member-only pricing, dedicated promotions, access to the Fabletics FIT app, free shipping
 on orders over $49.95, free returns and exchanges within 45 days and access to VIP events and parties.
 You may cancel your Fabletics VIP Membership by calling one of our customer service representatives at
 1-844-Fabletics (1-844-322-5384) or by using live chat or online cancel options in your Account.

 HOW VIP MEMBERSHIP WORKS




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 Upon enrollment in the VIP Membership Program, you will receive new monthly customized selections of
 merchandise on the first (1st) day of every month. You must log into your account and select the 'Skip the
 Month' option between the 1st and the 5th of each month. If you do not ‘Skip the Month’ between the 1st
 and the 5th of the month your credit card or payment method will be charged an automatic monthly
 membership fee of $49.95 on the 6th (until you cancel) for enhanced monthly benefits, including a
 promotional member credit. All promotional member credits will expire 12 months after the date of
 issuance. Promotional membership credits are non-transferable and cannot be redeemed for cash or
 store credit. You may cancel your Fabletics VIP Membership by calling one of our customer service
 representatives at 1-844-Fabletics (1-844-322-5384), or online, using live chat or visiting your Account
 page.

 Each Fabletics promotional member credit will be applied to your Account and can be redeemed for any
 individual item or two-piece outfits up to $80. These outfits and items may be valued below or above
 $49.95. You may ‘Skip’ as many months as you like, there is no obligation to buy. Even if you decide to
 ‘Skip’ any month, you may return to your Account at any time to make a purchase. If you ‘Skip’ any
 month, you will not have access to certain exclusive benefits for the remainder of that month, including
 access to select styles, promotions and product pricing.

 You may cancel your Fabletics VIP Membership Account at any time. If you wish to cancel your Account,
 simply call our Fashion Consultants at 1-844-Fabletics (1-844-322-5384), 7 days a week. You may also
 cancel your VIP Membership Account online by contacting us via online live chat or visiting your Account
 page. There is no cancellation fee. Any remaining promotional member credits on your Account will
 expire 12 months after the date on which they were issued. You may use any remaining unexpired
 promotional member credits after cancellation for any individual item or two-piece outfits up to $80, but
 you will no longer have access to discounted VIP member only pricing for any items purchased without a
 promotional member credit. Please be advised that your Account may only be canceled by the registered
 Fabletics VIP Member or the holder of the valid credit card or payment method on file related to your
 Account.

 VIP MEMBER PERKS - VIP PRICING

 As a Fabletics VIP Member, you have access to perks such as 20 to 50% off retail pricing on almost all
 items, free shipping on orders over $49.95, access to the Fabletics FIT app (a $14.95 monthly value), free
 returns and exchanges within 45 days, access to VIP events and parties, a free magazine subscription
 with purchase over $60, and loyalty points on all orders.

 The monthly $49.95 membership fee charge also unlocks additional membership perks and benefits. The
 membership charge grants you access to an exclusive section of the Fabletics website with exclusive
 product offerings, a special dedicated customer service line and support, special promotions and sales,
 and a promotional credit that can be redeemed for any individual item or outfit up to $80. Free shipping
 also applies to any purchases made with promotional credits. Additional membership benefits related to
 the monthly membership charge coming soon!

 You will also receive emails, newsletters, special offers and other updates to maximize your shopping
 experience.

 MOBILE APPLICATIONS

 With your Fabletics VIP Membership, you may access the Fabletics Fitness App available at the Apple
 App Store. Access to the Fabletics Fitness App is contingent on maintaining an active VIP Membership. If
 you cancel your VIP Membership or your VIP Membership is terminated for any reason, you will no longer
 be able to use the services offered on the Apps. To use or access the Services through the Fabletics
 Fitness App, you will need a supported mobile device with adequate software. Fabletics cannot guarantee
 the Fabletics Fitness App will be compatible with, or available on, your device. It is your responsibility to
 ensure your mobile device’s functionality. Further, your mobile phone company’s normal messaging,




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 data, and other rates and fees will still apply and you shall be responsible for any such charges. Please
 check with your Internet or mobile phone provider for information on possible data usage charges.

 By downloading or using the Fabletics Fitness App, you expressly agree we may communicate with you
 regarding transactions you have initiated on the Services or respond to your communications to us
 through the Services by SMS, MMS, text message or other electronic means directed to your device and
 that certain information about your usage of the Fabletics Fitness App may be communicated to us
 automatically from your device. Fabletics will not send you direct marketing messages without your prior
 express consent and you can opt out of receiving any marketing messages at any time. In addition,
 Fabletics may require you to accept updates to the Fabletics Fitness App that you have installed on your
 mobile device. You acknowledge and agree that Fabletics may update the Apps and the Services without
 notification to you.

 Fabletics hereby grants you a limited, personal, non-exclusive, non-transferable, non-sublicensable,
 revocable license to: (1) access and use the Fabletics Services and related content; (2) access and use
 the software and the Fabletics Fitness App downloaded directly from a legitimate marketplace solely for
 your personal use for lawful purposes. With respect to any open source code or software that may be
 incorporated in the Fabletics Fitness App, your license shall be subject to such open source or third-party
 license, if any, authorizing use of such code.

 APP STORE

 The following terms apply to the third-party platform from which you accessed or downloaded the
 Fabletics Fitness App, e.g., the Apple App Store (“App Store”). You acknowledge that this Agreement is
 between you and Fabletics and not with the App Store. Fabletics, not the App Store, is solely responsible
 for the Services, the content thereof, maintenance, support services, and warranty therefor, and
 addressing any claims relating thereto.

 NOT MEDICAL ADVICE

 You expressly acknowledge and agree that Fabletics is not providing medical advice via the Services. All
 content provided through the Services, whether provided by Fabletics or third parties including from any
 personal trainers, shall not be used as a substitute for professional medical consultation, advice,
 diagnosis or treatment from a physician or other healthcare professional. You should consult with your
 physician or other healthcare professional before engaging in any physical activity, exercise program or
 making any dietary changes. If you have any concerns or questions about your health, you should always
 consult with a physician or other healthcare professional.

 To the extent permitted by applicable law, Fabletics is not responsible for any health problems, injuries or
 damages that may result from your use of, or inability to use, the Fabletics Services, which includes but is
 not limited to, any training programs, activities, dietary recommendations, consultations, products, events
 or other information you learn through the Fabletics Services. Do not ignore or delay in obtaining
 professional medical advice or treatment because of information accessed through the Site, the Fabletics
 Fitness App or Services. If think you are experiencing a medical emergency, stop using the Fabletics
 Service and immediately contact a medical professional or your local emergency services.

 You expressly acknowledge and agree that the exercise activities offered through the Services carry
 certain inherent and significant risks of property damage, bodily injury, or death. If you engage in any
 exercise programs or physical activity through the Fabletics Services, you agree that you do so at your
 own risk and that you voluntarily assume all known and unknown risks associated with these activities,
 even if caused in whole or part by the action, inaction, or negligence of Fabletics or by the action,
 inaction, or negligence of others. Fabletics assumes no responsibility for any act, omission, activity,
 product or service of any personal trainer featured through the Services. Fabletics does not guarantee
 any results in connection with the Services.




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 RISK OF LOSS/TITLE

 The risk of loss and title for products purchased on the Site or through the Fabletics Services passes to
 the purchaser upon our delivery to the carrier. Replacement of products and credits to your account for
 shipped merchandise claimed as not received are subject to our investigation. We will adjust your
 account at our discretion. Fabletics does not take title to returned items until the item arrives at our
 fulfillment center. At our discretion, a refund may be issued without requiring a return. In this situation,
 Fabletics does not take title to the refunded item. Certain products may be shipped from Mexico, and for
 such goods consumers consent to and authorize G-Broker, Inc., as the US customs broker and G-Broker,
 Inc., shall act as the consumers agent to transact business with U.S. Customs and Border Protection
 agency to clear merchandise and account for applicable duties and taxes.

 SALES & USE TAXES

 Fabletics is not required by law to collect sales and/or use taxes in all states. However, Fabletics reserves
 the right to collect sales tax in any jurisdictions if it believes that such collection is required by law.
 Fabletics also reserves the right to collect fees associated with tariff taxes and surcharges.

 For states imposing sales or use taxes, your purchase may be subject to use tax unless it is specifically
 exempt from taxation. Your purchase is not exempt merely because it is made over the Internet or by
 other remote means. Many states require purchasers to file a sales/use tax return at the end of the year
 reporting all of the taxable purchases that were not taxed and to pay tax on those purchases. You may
 have a tax obligation in states where Fabletics does not collect sales tax. Details of how to report these
 taxes may be found at the websites of your respective taxing authorities.

 PAYMENT INFORMATION

 To make purchases through the Fabletics Services or to become a Fabletics VIP you must submit credit
 card information or another valid payment method that is acceptable to Fabletics. You represent and
 warrant to Fabletics that such information is true and that you are authorized to use the payment
 instrument. You will promptly update your Account information with any changes (for example, a change
 in your billing address or credit card expiration date) that may occur. You authorize Fabletics to use any
 updated credit card information submitted by your credit card company directly to Fabletics. If you dispute
 any charges, you must inform Fabletics within thirty (30) days upon receipt of Fabletics’ invoice. We
 reserve the right to change Fabletics prices, fees or the number of Member Credits required to purchase
 items. Your continued use of the Fabletics Services after the price change becomes effective constitutes
 your agreement to pay the changed amount.

 ACCOUNT CONFIDENTIALITY AND ACCESS

 You are solely responsible for maintaining the confidentiality of your Account, all activities occurring under
 your Account and all access to and use of the Fabletics Services by anyone using your Account, whether
 or not such activities and access are actually authorized by you, including but not limited to all
 communications, transactions and obligations. You agree to accept responsibility for all activities that
 occur under your account and password. Fabletics shall not be liable or responsible for any loss or
 damage arising from any unauthorized use, access or any other breach of security of your Account,
 including but not limited to your member sign-in password and email address. You acknowledge and
 accept that your use of the Fabletics Services is in compliance with these Terms of Service. You further
 acknowledge and accept that Fabletics shall have no obligation to investigate the authorization or source
 of any Account activity, including purchase activity following a proper log-in to this Site or any Services,
 which is defined as a matching and current member sign-in and user password. You shall notify Fabletics
 immediately of any unauthorized access to your Account or any other unauthorized use of any Fabletics
 Services.

 You agree that Fabletics may, without prior notice, immediately terminate, limit your access to or suspend
 your Account based on any of the following: (a) breach or violation of these Terms of Service; (b) upon




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 request by law enforcement; (c) unforeseeable technical or security issues or problems; (d) extended
 periods of inactivity; or (e) fraudulent, deceptive or illegal activity, or any other activity which Fabletics
 believes is harmful to its business interests; or (f) for no reason. You agree that any termination, limitation
 of access and/or suspension shall be made in the Fabletics’ sole discretion and that Fabletics shall not be
 liable to you or any third party for the termination, limitation of access and/or suspension of your Account.

 PROHIBITED USES

 Any and all Fabletics Services may be used only for lawful purposes and are available only for your
 personal, noncommercial use, which shall be limited to viewing this Site, using the Apps, purchasing
 products, providing information to Fabletics, and downloading product information for your personal
 review. You shall not use the Services to sell a product or service, increase traffic to your own website or
 a third-party website for commercial reasons or otherwise undertake any endeavor aimed at deriving
 revenue. You are responsible for your own communications, including the transmission, posting, and
 uploading of information and are responsible for the consequences of such communications. Fabletics
 specifically prohibits any use of the Fabletics Service, and requires all users to agree not to use the
 Fabletics Services, for any of the following:

 • Posting any information which is incomplete, false, inaccurate or not your own;

 • Creating multiple accounts for the same user;

 • Accessing data not intended for you or logging on to a Fabletics server or account, which you are not
 authorized to access;

 • Engaging in conduct that would constitute a criminal offense, giving rise to civil liability or otherwise
 violate any city, state, national or international law or regulation that would fail to comply with accepted
 Internet protocol;

 • Communicating, transmitting, or posting material that is copyrighted or otherwise owned by a third party
 unless you are the copyright owner or have the permission of the owner to post it;

 • Communicating, transmitting, or posting material that reveals trade secrets, unless you own them or
 have the permission of the owner;

 • Communicating, transmitting, or posting material that infringes on any other intellectual property, privacy
 or publicity right of another;

 • Communicating, transmitting, or transferring (by any means) information or software derived from the
 site to foreign countries or certain foreign nations in violation of any applicable export control laws;

 • Attempting to interfere in any way with this Site’s or the Apps’ network security, or attempting to use this
 Site’s or the Apps’ service to gain unauthorized access to any other computer system;

 • Communicating, transmitting, or posting material that is in violation of applicable laws or regulations;

 • Attempting to probe, scan or test the vulnerability of a system or network or to breach security or
 authentication measures without proper authorization (or succeeding in such an attempt);

 • Attempting to interfere or interfering with the operation of this Site, or the Apps, Fabletics’ provision of
 services to any other visitors or users to this Site or the Apps, Fabletics hosting provider or networks,
 including, without limitation, via means of submitting a virus to this Site or the Apps, overloading,
 "flooding", "mailbombing" or "crashing" this Site or the Apps;

 • Forging any TCP/IP packet header or any part of the header information in any e-mail or transmission or
 posting to this Site or the Apps.




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 USER CONTENT

 Any and all content, comments, feedback, advice, suggestions, ideas, concepts, photos, questions or
 other communications (collectively, “User Content”) that you submit or post through any Fabletics
 Services shall be deemed non-confidential and non-proprietary. By submitting or posting any User
 Content, you grant to Fabletics and its affiliates a perpetual, irrevocable, royalty-free, worldwide,
 sublicensable and transferable license to copy, publish, translate, modify, create derivative works from,
 distribute, reproduce, display, or use the User Content in any commercial or non-commercial manner
 whatsoever. Fabletics will be free to use any ideas, concepts, know-how or techniques contained in such
 User Content for any purpose whatsoever, including but not limited to developing, manufacturing and
 marketing products that incorporate or otherwise rely upon such information. Fabletics shall have no
 obligation to monitor User Content, use or display User Content, compensate you for submitting User
 Content, or respond to any User Content. You are solely responsible for your use of any User Content
 you post, including the transmission, accuracy and completeness of the User Content. In addition, relying
 on any User Content by other users is at your own risk. To the extent permitted by applicable law, under
 no circumstances will Fabletics be responsible or liable for any loss or damage resulting from your
 reliance on information, advice or other User Content provided by any user of our Services. Fabletics
 retains the right, in its sole discretion and without prior notice, to remove, revise or refuse to post any User
 Content for any reason or no reason.

 By connecting to Fabletics with a third-party service (e.g., Facebook or Twitter), you give us permission to
 access and use your information from that service as permitted by that service, and to store your log-in
 credentials for that service. For more information on the types of information we collect from these third-
 party services, please read our Privacy Policy.

 If you utilize your Facebook account to access and use the social features available through the Fabletics
 Services, you can choose whether or not you wish to share content or information related to your Account
 on Facebook. You agree that Fabletics is not responsible for any content or information related to your
 Account once it is shared and posted on Facebook. If you use the Fabletics Services and its social
 features, you agree to respect other users of the Fabletics Services in your interactions with them.
 Fabletics reserves the right, in its absolute discretion, to disable your account if it believes that you are
 violating any term or condition set forth herein.

 By submitting User Content, you represent and warrant that the User Content does not (i) contain false or
 misleading information, (ii) infringe on the intellectual property rights of any third party, (iii) contain any
 libelous, defamatory, obscene, offensive, threatening or otherwise harassing content, (iv) contain any
 addresses, email addresses, phone numbers or any contact information, or (v) contain computer viruses,
 worms or other harmful files. You are solely responsible for the User Content and you hereby agree to
 indemnify and hold Fabletics and its employees, agents and affiliates harmless from any and all
 damages, claims, expenses, costs or fees arising from or in connection with a breach of any of the
 foregoing representations or your violation of any law or rights of a third party.

 PRODUCT INFORMATION

 Prices, descriptions and availability of products are subject to change without notice. Errors may be
 corrected when discovered, and Fabletics reserves the right to revoke any stated offer in order to correct
 any errors or inaccuracies. Although Fabletics has made every effort to display our products and their
 colors as accurately as possible, the displayed colors of the products depend upon the monitor of the
 user, and Fabletics cannot guarantee that the user’s monitor will accurately portray the actual colors of
 the products. Products displayed may be out-of-stock or discontinued, and prices are subject to change.
 Fabletics is not responsible for typographical errors regarding price or any other matter.

 PURCHASE CANCELLATIONS

 All orders placed through any Fabletics Services are subject to Fabletics’ acceptance. This means that




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 Fabletics may refuse to accept or may cancel any order, whether or not the order has been confirmed, for
 any or no reason, and without liability to you or anyone else. If your credit card or payment method has
 already been charged for an order that is later cancelled, Fabletics will issue you a refund.

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 All content, graphics, text, code and software used on or incorporated into this Site and/or any Fabletics
 Service, and the arrangement or integration of all such content, graphics, code and software, are subject
 to copyrights held by or licensed to Fabletics and all rights thereto are specifically reserved. As between
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 limitation, all site design, text, graphics, interfaces, and the selection and arrangements is protected by
 law including, but not limited to, copyright law.

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 FABLETICS MAKES NO REPRESENTATIONS OR WARRANTIES OF ANY KIND, EXPRESS OR
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 SITE, APPS OR THE SERVER THAT MAKES THE SITE AND APPS AVAILABLE ARE FREE OF




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 VIRUSES OR OTHER HARMFUL COMPONENTS, OR AS TO THE INFORMATION, CONTENT,
 MATERIALS, PRODUCTS OR SERVICES INCLUDED ON OR OTHERWISE MADE AVAILABLE TO
 YOU THROUGH THIS SITE, OR ANY OF THE FABLETICS SERVICES, IN TERMS OF THEIR
 CORRECTNESS, ACCURACY, ADEQUACY, USEFULNESS, TIMELINESS, RELIABILITY OR
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 OTHERWISE MADE AVAILABLE TO YOU THROUGH FABLETICS, INCLUDING, BUT NOT LIMITED
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 INCLUDING WITHOUT LIMITATION FOR ANY LOST PROFITS, DATA, OR USE EVEN IF FABLETICS
 HAS BEEN ADVISED OF THE POSSIBILITY OF SUCH DAMAGES.

 FABLETICS SHALL NOT BE LIABLE FOR ANY DAMAGES OF ANY KIND ARISING FROM THE USE
 OF, OR THE INABILITY TO USE, THIS SITE, THE APPS OR THE FABLETICS SERVICES OR FROM
 ANY INJURIES OR DAMAGES SUSTAINED FROM YOUR PHYSICAL ACTIVITIES, EVEN IF CAUSED
 IN WHOLE OR PART BY THE ACTION, INACTION OR NEGLIGENCE OF FABLETICS OR OTHERS.

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 FINANICAL INSTITUTIONS SUCH AS BANKS OR CREDIT CARD COMPANIES. FABLETICS SHALL
 NOT BE LIABLE FOR ANY OVERDRAFT, LATE OR ANY OTHER CHARGES ISSUED AGAINST YOU
 BY A BANK OR CREDIT CARD.

 CERTAIN STATE LAWS MAY NOT ALLOW LIMITATIONS ON IMPLIED WARRANTIES OR THE
 EXCLUSION OR LIMITATION OF CERTAIN DAMAGES. IF THESE LAWS APPLY TO YOU, SOME OR
 ALL OF THE ABOVE DISCLAIMERS, EXCLUSIONS OR LIMITATIONS MAY NOT APPLY TO YOU AND
 YOU MAY HAVE ADDITIONAL RIGHTS.

 IF YOU ARE DISSATISFIED WITH ANY PORTION OF THE FABLETICS SERVICES, OR WITH ANY OF
 THESE TERMS OF SERVICE, YOUR SOLE AND EXCLUSIVE REMEDY IS TO DISCONTINUE USE OF
 THE FABLETICS SERVICES. IF A PRODUCT OFFERED THROUGH THE FABLETICS SERVICES IS
 NOT AS DESCRIBED, YOUR SOLE REMEDY IS TO RETURN IT IN ACCORDANCE WITH THE
 RETURN POLICY SET FORTH IN DETAIL IN THESE TERMS OF SERVICE.

 Fabletics makes no warranties of any kind regarding any third party sites to which you may be directed or
 hyperlinked from the Fabletics Services. Hyperlinks are included solely for your convenience, and
 Fabletics makes no representations or warranties with regard to the accuracy, availability, suitability or
 safety of information provided in such third party sites. Fabletics does not endorse, warrant or guarantee
 any products or services offered or provided by or on behalf of third parties through the Fabletics
 Services.

 INDEMNITY AND RELEASE

 You agree to indemnify and hold Fabletics and its parent, subsidiaries, affiliates, officers, agents and
 employees harmless from any and all liabilities, claims, demands, actions, suits, losses, obligations,
 judgments, proceedings, damages, expenses and costs (including reasonable attorneys' fees), based
 upon, arising from or related to (a) information or content submitted, transmitted or otherwise made
 available on or through the Fabletics Services by you or any other person accessing the Fabletics
 Services using your Account; (b) the use of, or connection to, the Fabletics Services by you or any other
 person accessing this Site or the Apps using your Account (including negligent or wrongful conduct);
 including any exercise activities provided by personal trainers or interaction with any users of the Service
 or (c) your breach or attempted breach of these Terms of Service.

 DISPUTE RESOLUTION AND MUTUAL ARBITRATION AGREEMENT




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 GOVERNING LAW

 Use of the Fabletics Services, membership in the Fabletics VIP Membership Program, any purchases
 made through the Fabletics Services, and any controversy, claim or dispute arising out of or relating in
 any way to your use of the Fabletics Services, your membership in or purchases through the Fabletics
 Services, Fabletics VIP Membership Program and/or your Account, or products purchased through the
 Fabletics Services (collectively, “Disputes”) shall be governed by the laws of your home state of residence
 without respect to its choice (or conflict) of laws rules.

 All Disputes between Fabletics and you must be commenced within one (1) year after the claim or cause
 of action arose.

 FORUM SELECTION/JURISDICTION

 Jurisdiction and venue for all Disputes shall be in Los Angeles, California. Each party submits to personal
 jurisdiction and venue in that forum for any and all purposes.

 AGREEMENT TO PRE-ARBITRATION NOTIFICATION

 These Terms of Service provide for final, binding arbitration of all Disputes (discussed immediately
 below). Fabletics and you agree, however, that it would be advantageous to discuss and hopefully
 resolve any Disputes before arbitration proceedings or any other proceedings authorized herein are
 initiated. In the event of a Dispute, the claimant whether you or Fabletics shall send a letter to the other
 side briefly summarizing the claim and the request for relief. If Fabletics is the claimant, the letter shall be
 sent, via email, to the email account listed in your Account. If you are the claimant, the letter shall be sent
 to Fabletics, LLC, Attn: General Counsel, 800 Apollo Street, El Segundo, California 90245. The parties
 agree that, before either party demands arbitration against the other, we will personally meet and confer,
 via telephone or videoconference, in a good-faith effort to resolve informally the Dispute. If you are
 represented by counsel, your counsel may participate in the conference, but you shall also fully
 participate in the conference. Engaging in this informal dispute resolution conference is a requirement
 that must be fulfilled before commencing arbitration. If the Dispute is not resolved within 60 days after the
 letter is sent, the claimant may proceed to initiate arbitration proceedings or any other proceedings
 authorized herein. The statute of limitations and any arbitration filing fee deadlines shall be tolled while
 the parties engage in the informal dispute resolution process required by this paragraph.

 AGREEMENT TO ARBITRATE CLAIMS

 Except to the limited extent noted below, all Disputes shall be resolved by final, binding, and bilateral
 arbitration between you and Fabletics.

 The arbitration shall take place in Los Angeles County, California and be administered by ADR Services,
 Inc. and shall be subject to ADR Services’ most current version of its Arbitration Rules, available at
 https://www.adrservices.com/services/arbitration-rules or by calling ADR Services at 310-201-0010. If
 ADR Services is not available to arbitrate, the parties will mutually select an alternative arbitral forum, and
 either Party may invoke 9 U.S.C. § 5 to request that a court appoint an arbitration provider. To the extent
 there is a dispute over which arbitration provider shall administer the arbitration, only a court (and not an
 arbitrator or arbitration administer) may resolve that dispute, and the arbitration shall be stayed pending
 the court’s ruling.

 The arbitration demand must include (1) the name, telephone number, mailing address, username and e-
 mail address of the party seeking arbitration; (2) a statement of the legal claims being asserted and the
 factual bases of those claims; (3) a description of the remedy sought and an accurate, good-faith
 calculation of the amount in controversy, enumerated in United States Dollars (any request for injunctive
 relief or attorneys’ fees shall not count toward the calculation of the amount in controversy unless such
 injunctive relief seeks the payment of money); and (4) the signature of the party seeking arbitration.




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 Counsel for any party bringing an arbitration demand must also provide a certification that, to the best of
 counsel’s knowledge, information, and belief, formed after an inquiry reasonable under the
 circumstances, (1) the demand for arbitration is not being presented for any improper purpose, such as to
 harass, cause unnecessary delay, or needlessly increase the cost of dispute resolution; (2) the claims
 and other legal contentions are warranted by existing law or by a nonfrivolous argument for extending,
 modifying, or reversing existing law or for establishing new law; and (3) the factual contentions have
 evidentiary support, or if specifically so identified, will likely have evidentiary support after a reasonable
 opportunity for further investigation or discovery.

 This arbitration agreement is subject to the Federal Arbitration Act and is enforceable pursuant to its
 terms on a self-executing basis. The parties agree that these Terms of Service evidence transactions
 involving interstate commerce. If for whatever reason the rules and procedures of the FAA cannot apply,
 the state law governing arbitration agreements in the state in which you reside shall apply.

 The arbitrator (and not a court) shall determine any and all challenges to the arbitrability of a claim,
 including disputes about the scope, applicability, enforceability, revocability, or validity of this arbitration
 agreement. However, all disputes related to the enforceability and applicability of the class action waiver
 (see below) shall be resolved by a court and not an arbitrator. In the event that the arbitration agreement
 is found not to apply to you or to a particular Dispute, either as a result of your decision to opt out of the
 agreement to arbitrate, or as a result of a decision by the arbitrator or a court order, you and Fabletics
 agree that that Dispute must be resolved exclusively by a state or federal court located in Los Angeles
 County, California. The parties agree that all related Disputes that can be arbitrated shall be arbitrated
 first, and any non-arbitrable Disputes shall be stayed until the completion of the arbitration.

 Unless either party or the arbitrator requests a hearing, the parties will submit their arguments and
 evidence to the arbitrator in writing. The arbitrator will make an award based only on the documents. This
 is called a Desk Arbitration. If any party makes a written request for a hearing within ten days after ADR
 Services acknowledges receipt of a claimant’s demand for arbitration (or the arbitrator requests a
 hearing), the parties shall participate in a telephone or video hearing. In no event shall the parties be
 required to travel to Los Angeles to participate in the arbitration. The arbitrator is authorized to hear
 motions for summary disposition. Notwithstanding any provision in the ADR Services’ rules to the
 contrary, and with the exception of Desk Arbitrations, the Federal Rules of Evidence shall govern the
 admissibility of evidence in any arbitral proceeding.

 The parties agree that all of the arbitration proceedings, including any discovery, hearings, and rulings,
 shall be confidential to the fullest extent permitted by law.

 The award shall be binding only among the parties and shall have no preclusive effect in any other
 arbitration or other proceeding involving a different party. The arbitrator shall follow the applicable law.
 The arbitrator has the same authority to award relief on an individual basis that a judge in a court of law
 would have.

 If at any time the arbitrator or arbitration administrator fails to enforce the terms of this arbitration
 agreement, either party may seek to enjoin the arbitration proceeding in a court of competent jurisdiction,
 and the arbitration shall automatically be stayed pending the outcome of that proceeding.

 The arbitral award shall be judicially enforceable. Any court of competent jurisdiction may, and upon
 request shall, enter judgment on the arbitral award. Either party may seek confirmation (judgment on the
 award) and/or enforcement in any court of competent jurisdiction. However, in any award issued in an
 arbitration conducted in accordance with this arbitration agreement, the arbitrator shall specify a
 reasonable time within which the final award shall be satisfied, and no party may seek to confirm the
 award until the time specified for satisfaction has expired. If the final award is satisfied during the
 specified time, no party shall seek to confirm the award.

 ARBITRATION FEES AND COSTS




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 The fees that shall apply to arbitrations administered by ADR Services are set forth on ADR Services’
 website, available at https://www.adrservices.com/rate-fee-schedule/. Specifically, the fees set forth in
 ADR Services’ Mass Employment Arbitration Fee Schedule shall apply when twenty (20) or more
 arbitration claims are filed which: (1) involve the same or similar parties; (2) are based on the same or
 similar claims which arise from the same or substantially identical transactions, incidents, or events
 requiring the determination of the same or substantially identical questions of law or fact; and (3) involve
 the same or coordinated counsel for the parties. In all other circumstances, the fees set forth in ADR
 Services’ General Fee Schedule shall apply, except that Fabletics will pay the portion of the initial case
 opening fees (if any) that exceeds the filing fee to file the case in a court of competent jurisdiction
 embracing the location of the arbitration. If the arbitrator finds that you cannot afford to pay ADR
 Services’ filing, administrative, hearing and/or other fees and cannot obtain a waiver of fees from ADR
 Services, Fabletics will pay them for you.

 Unless otherwise prohibited by law or the rules governing the arbitration, all disputes relating to or arising
 out of the payment of arbitration fees shall be decided only by a court of competent jurisdiction and not by
 an arbitrator or administrator, and the arbitration shall be stayed pending the resolution of such disputes
 by a court. Both parties agree not to oppose or interfere with any negotiations or agreements between
 the other party and the arbitration administrator, or individual arbitrator, relating to a party’s portion of the
 fees. The arbitrator, however, may disallow any private agreement between an administrator, on the one
 hand, and the negotiating party, on the other hand, if the arbitrator believes that the private agreement
 undermines his or her neutrality as arbitrator.

 If a party timely serves an offer of judgment under Federal Rule of Civil Procedure 68, and the judgment
 that the other party finally obtains is not more favorable than the unaccepted offer, then the other party
 shall pay the costs, including filing fees, incurred after the offer was made. Further, any finding by an
 arbitrator that a claim or counterclaim was filed for purposes of harassment or is frivolous under the
 standards set out in Federal Rule of Civil Procedure 11 shall entitle the other party to recover their
 attorneys’ fees, costs, and expenses.

 CLASS ACTION WAIVER (herein the “class action waiver”)

 Both you and Fabletics waive the right to bring any Dispute as a class, consolidated, representative,
 collective, or private attorney general action, or to participate in a class, consolidated, representative,
 collective, or private attorney general action regarding any such claim brought by anyone else. Nor shall
 the arbitrator have the authority or any jurisdiction to hear an arbitration as a class, consolidated,
 representative, or private attorney general action or to consolidate, join, or otherwise combine the claims
 of different persons into one proceeding. Consistent with their commitment to arbitrate all Disputes on an
 individualized basis, the parties also waive the right to bring any claims for public injunctive relief. To the
 extent applicable law prevents the parties from waiving a claim for public injunctive relief, all claims for
 public injunctive relief shall be heard by the arbitrator. Nothing in these Terms of Service prevent any
 party from participating in a settlement of a class, consolidated, representative, collective, or private
 attorney general action.

 SEVERABILITY

 Except as otherwise provided herein, if any portion of this arbitration agreement is found to be
 unenforceable or unlawful for any reason, (1) the unenforceable or unlawful provision will be severed from
 this arbitration agreement, (2) the remainder of the arbitration agreement will be given full force and
 effect, and (3) severance of the unenforceable or unlawful provision will have no impact on the remainder
 of the arbitration agreement or the parties’ ability to compel arbitration of any remaining claims on an
 individual basis. In the event that a claim, cause of action or requested remedy is severed pursuant to
 this paragraph, then you and Fabletics agree that the claims, causes of action or requested remedies that
 are not subject to arbitration will be stayed until all arbitrable claims, causes of action and requested
 remedies are resolved by the arbitrator. If there is a final determination that applicable law precludes
 enforcement of the class action waiver as to any claim, cause of action or requested remedy, then that
 claim, cause of action or requested remedy will be severed and may be brought in a court of competent




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 jurisdiction, but the waiver contained in this paragraph shall be enforced in arbitration on an individual
 basis as to all other claims, causes of action or requested remedies to the fullest extent possible.

 OPTING-OUT OF DISPUTE RESOLUTION PROCEDURE AND CLASS ACTION WAIVER

 You may elect to opt out (exclude yourself) from the final, binding arbitration procedure and the class
 action waiver specified in these Terms of Service by doing the following: within 15 days of setting up your
 Account, you must send a letter to Fabletics, LLC., c/o Legal Department, 800 Apollo Street, El Segundo,
 California 90245 that specifies (1) your name, (2) your account number or account member name, (3)
 your mailing address, and (4) your request to be excluded from the final, binding arbitration procedure
 and class action waiver specified in these Terms of Service. Each opt-out notice may opt out only one
 person; opt-out notices that attempt to opt out multiple people at the same time will be ineffective.

 If you opt out of this arbitration agreement, all other Terms shall continue to apply to your Account,
 including the requirement to participate in pre-dispute mediation. Opting out of this arbitration agreement
 has no effect on any previous, other, or future arbitration agreements that you may have with us.
 Notwithstanding any provision in these Terms of Service to the contrary, we agree that, if Fabletics makes
 any future change to the dispute resolution procedure and class action waiver provisions (other than a
 change to Fabletics' address), you may reject any such change by sending a letter to Fabletics within 15
 days of the change to the address provided above. By rejecting any future change, you are agreeing that
 you will arbitrate any Dispute between us in accordance with the language of this provision. Your letter
 must be postmarked by the applicable 15-day deadline to be effective. You are not required to send the
 letter by confirmed mail or return receipt requested, but it is recommended that you do so. Your request to
 be excluded will only be effective and enforceable if you can prove that the request was postmarked
 within the applicable 15-day deadline.

 NOTICE FOR CALIFORNIA USERS

 Under California Civil Code sections 1798.83-1798.84, California residents are entitled to ask us for a
 notice describing what categories of personal customer information Fabletics shares with third parties or
 corporate affiliates for those third parties or corporate affiliates' direct marketing purposes. That notice will
 identify the categories of information shared and will include a list of the third parties and affiliates with
 which it was shared, along with their names and addresses. If you are a California resident and would like
 a copy of this notice, please submit a written request to the following address: General Counsel, 800
 Apollo Street, El Segundo, CA, 90245. In your request, please specify that you want a "Your Fabletics
 California Privacy Rights Notice". Please allow 30 days for a response.

 SHIPPING

 Shipping and handling charges are based on your subtotal order amount, calculated after applicable
 discounts and before sales tax. Rates are calculated as follows:

 Standard Shipping

                                   48 Contiguous               Alaska, Hawaii,
     Subtotal Amount                                                                           Australia
                                    United States             Puerto Rico, APO
                                                                                                $5.95**
                                        FREE                         $9.00
                                                                                          (New VIP Member
      $49.95 and over
                                                                                            Courtesy Rate)
                                6-14 Business Days           7-10 Business Days
                                                                                                $9.95**




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                                                                                        7-10 Business Days

                                                                                               $5.95**

                                                                                         (New VIP Member
                                  $4.95 Flat Rate                   $9.00
                                                                                           Courtesy Rate)
       Under $49.95
                                6-14 Business Days           7-10 Business Days
                                                                                               $9.95**

                                                                                        7-10 Business Days

 Rush Shipping *

                                   48 Contiguous               Alaska, Hawaii,
      Subtotal Amount                                                                         Australia
                                    United States             Puerto Rico, APO
                                       $15.95
      $49.95 and over                                                N/A                         N/A
                                 2-3 Business Days
                                       $15.95
       Under $49.95                                                  N/A                         N/A
                                 2-3 Business Days

 * All delivery times above are based on average in-transit time. Orders shipped to Canada, P.O. Boxes
 and APOs/FPOs do not qualify for Rush Shipping.

 **All orders shipped to Australia will incur a flat rate charge of $9.95 USD except for first time orders
 placed as a new VIP member, which will have a shipping rate charge of $5.95 USD. The shipping charge
 of $5.95 USD is a one-time courtesy rate for the initial order placed as a new VIP member from Australia
 only. All other subsequent VIP member orders from Australia will contain a $9.95 USD flat shipping
 charge.

 Please note shipments arriving to Alaska, Hawaii, APO locations or Australia may be subject to longer
 transit times (up to 90 days) due to the carrier or location of station. At this time, expedited shipping is not
 available for Alaska, Hawaii, APO locations or Australia. All US orders are shipped FedEx via USPS and
 your order will be delivered by your local postal carrier. All Australia orders will be shipped via DHL.

 As soon as your order ships, you will be provided with a tracking number via email. You can also find your
 order details and tracking information on the Order History tab within the My Account section.

 RETURNS & EXCHANGES

 Fabletics strives to provide an amazing shopping experience and superior customer service. If for any
 reason you are not content with your order, we gladly accept returns and exchanges for US and Canada
 orders within 45 days from the date of shipment and in new, unused condition with original packaging.
 Exchanges are not available in Australia, and orders can only be returned. Some items purchased
 through special promotions may be final sale, and therefore not eligible for exchanges or returns (please
 refer to promotion disclaimers for the terms of each offer).

 Accessories must be returned with all pieces included and intact, and apparel must also be returned
 unworn, with all tags still attached.




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 In the US, Fabletics offers 3 easy return options: (1) return for Fabletics membership or store credit for
 free; (2) exchange for another item for free; (3) return for a refund. Return shipping and handling for non-
 contiguous US territories, including Alaska, Hawaii, Puerto Rico and APOs, is $9.00.

 In Australia, Fabletics offers 2 easy return options: (1) return for Fabletics membership or store credit for
 free; (2) return for a refund. Exchanges are not offered in Australia. If you would like to exchange an item,
 please return the item and place a new order. Please note: new orders are subject to standard shipping
 rates.

 Please note that any membership or store credit used to pay for an order will be returned as store credit
 and will not be eligible for a refund to a credit card. Also, please note reward points associated with the
 purchase will be deducted from your account if you do choose a refund. Items redeemed through the
 rewards program are not eligible for returns or exchanges.

 Shipping Your Returns/Exchanges

 Returns and exchanges are easy! Just print your free return label and return packing slip by visiting the
 Order History page under My Account.

 To make a return or exchange, please follow these steps:

 • Obtain a Return Merchandise Authorization (RMA) number. You can obtain a RMA number online by
 clicking on the link in the 'My Order History' section in your Account or you can obtain a RMA number by
 calling our Fashion Consultants by dialing our toll free number at 1-844-Fabletics (1-844-322-5384). Our
 Fashion Consultants will email you our pre-paid return shipping label.

 • Send the item back in the original, undamaged box and packaging.

 • Attach the pre-paid return shipping label to your shipment and drop it off at any USPS or FedEx location.

 GENERAL INFORMATION

 These Terms of Service constitute the entire agreement between you and Fabletics and govern your use
 of the Fabletics Services, and they supersede any prior agreements between you and Fabletics. You also
 may be subject to additional terms and conditions that are applicable to certain parts of the Fabletics
 Services. Fabletics may terminate this Agreement and deny you access to the Fabletics Services at any
 time, immediately and without notice, if in Fabletics' sole discretion you fail to comply with any provision of
 these Terms of Service.

 You agree that no joint venture, partnership, employment, or agency relationship exists between Fabletics
 and you as a result of this Agreement or your use of the Fabletics Services.

 The failure of Fabletics to exercise or enforce any right or provision of these Terms of Service shall not
 constitute a waiver of such right or provision. The invalidity of any term, condition or provision in these
 Terms of Service shall not affect the enforceability of those portions of the Terms deemed enforceable by
 applicable courts of law.

 You may not assign the Terms or any of your rights or obligations under the Terms without Fabletics'
 express written consent. The Terms inure to the benefit of Fabletics' successors, assigns and licensees.
 The section titles in these Terms of Service are for convenience only and have no legal or contractual
 effect.




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                        EXHIBIT E




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 FABLETICS TERMS OF SERVICE, USE AND PURCHASE

 Welcome to Fabletics! This website located at www.fabletics.com (this "Site") is owned and operated by Fabletics,
 LLC, a subsidiary of Fabletics, Inc. (the “Company”) (collectively with the Company, “Fabletics”). Fabletics
 provides website features and other products and services to you when you visit, shop or purchase items from this
 Site, access this Site from your mobile devices, or use software provided by Fabletics in connection with any of the
 foregoing (collectively, “Fabletics Services”). Fabletics provides its products and services subject to these Terms of
 Service.

 By using the Fabletics Services, you agree to these conditions. Please read them carefully. These Terms of
 Service include a mutual arbitration agreement, class action waiver, and limitations on liability.

 By accessing or using this Site, mobile application or other Fabletics product or service on any computer, mobile
 phone, tablet, console or other device (collectively, “Device”), you acknowledge and agree that you have read,
 understand and agree to be bound by these Terms of Service and any other applicable law, whether or not you are a
 registered member of Fabletics. You must be at least 18 years old to use this Site or Services. Fabletics may change
 these Terms of Service at any time without notice. When we make changes, we will post them here. Your continued
 use of the Fabletics Services or enrollment as a Fabletics VIP Member shall be considered your acceptance to the
 revised Terms of Service. If you do not agree to these Terms of Service, please do not use this Site or any Fabletics
 Services and immediately cancel your Fabletics VIP Membership by calling one of our customer service
 representatives at 1-844-Fabletics (1-844-322-5384) or visiting us online to cancel.

 ELECTRONIC COMMUNICATIONS

 When you use any Fabletics Service, or send e-mails to us, you are communicating with us electronically. You
 consent to receive communications from us electronically. We will communicate with you by e-mail or by posting
 notices on this Site or through the other Fabletics Services. You agree that all agreements, notices, disclosures and
 other communications that we provide to you electronically satisfy any legal requirement that such communications
 be in writing.

 SMS MESSAGING

 When you provide your phone number and opt-in to Fabletics’ text message marketing program (the “Messaging
 Service”), you agree to receive recurring automated promotional and personalized marketing text (e.g., SMS and
 MMS) messages (e.g., cart reminders) from Fabletics, including text messages that may be sent using an automatic
 telephone dialing system, to the mobile telephone number you provided when signing up or any other number that
 you designate. Consent to receive automated marketing text messages is not a condition of any purchase. Reply
 HELP for help and STOP to cancel. Message & Data rates may apply.

 Message frequency will vary. Fabletics reserves the right to alter the frequency of messages sent at any time, so as to
 increase or decrease the total number of sent messages. Fabletics also reserves the right to change the short code or
 phone number from which messages are sent and we will notify you when we do so.

 Not all mobile devices or handsets may be supported and our messages may not be deliverable in all areas. Fabletics,
 its service providers and the mobile carriers supported by the program are not liable for delayed or undelivered
 messages.

 We are able to deliver messages to the following mobile phone carriers: Major carriers: AT&T, Verizon Wireless,
 Sprint, T-Mobile, MetroPCS, U.S. Cellular, Alltel, Boost Mobile, Nextel, and Virgin Mobile. Minorcarriers:
 1stPoint Communications, Aerialink, Alaska Communications Systems (ACS), Appalachian Wireless (EKN), Arctic
 Slope Telephone Cooperative Association, ATNI (Commnet/Choice Wireless), Bandwidth (Republic Wireless), Bell
 Mobility, Bluegrass Cellular, BreakAway Wireless, BrightlinkIP, Cambridge Telephone Company, Carolina West
 Wireless, Cellcom, Cellone Nation, Cellular One of East Central IL (ECIT), Cellular One of Northeast Arizona,
 Cellular One of Northeast Pennsylvania, Chariton Valley, Cincinnati Bell Wireless, Claro (Puerto Rico), Cooper




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 Valley, Coral Wireless (Mobi PCS), Cordova Wireless, COX, Cricket Wireless, Cross, C-Spire, Custer Tel, Digital
 Communications Consulting (DCC/OTZ Telecommunications), Duet, Element Mobile (Flat Wireless), Enflick
 (TextNow), Epic Touch (Elkhart Telephone), Fido Mobile, Fizz Mobile, Freedom Mobile, GCI, Golden State,
 Google Voice, GTA, Hawkeye (Chat Mobility), Hawkeye (NW Missouri), Illinois Valley Cellular, Indigo Wireless,
 Inland Cellular,Inteliquent (Layered/Onvoy/UNREAL/FreedomPop), iWireless (Iowa Wireless), James Valley,
 Keystone Wireless (Immix Wireless/PC Man), Mosaic (Consolidated or CTC Telecom), MTPCS, NE Colorado,
 Nemont CDMA (Sagebrush Cellular), Nemont UMTS, Nex-Tech Wireless, NTelos, Nucla-Naturita Tel, Open
 Mobile (Puerto Rico), Orange, Panhandle Communications, Peerless Networks, Pine Cellular, Pinger (Textfree),
 Pioneer, Plateau (Texas RSA 3 Ltd), Plivo, PTCI (Panhandle Telephone Coop.), PTI Pacifica (IT&E), Revol, RINA,
 Rogers Wireless, Sasktel, Simmetry (TMP Corporation), Shelcomm, Silver Star Communications, Snake River PCS
 (Eagle Tel), SouthernLINC, Standing Rock, Strata Networks, Telnyx, Telus Mobiity, TextMe, Thumb Cellular,
 Triangle Wireless, Trilogy, Truphone, TSG Global (Flextalk), Tychron, Union Wireless, United Wireless, Viaero
 Wireless, Videotron Mobile, Viva, Viya, Washington RSA No. 8, West Central (WCC or 5 Star Wireless), and
 Zipwhip.

 Text the keyword STOP, END, CANCEL, UNSUBSCRIBE or QUIT to our shortcode to cancel. After texting
 STOP, END, CANCEL, UNSUBSCRIBE or QUIT to our shortcode you will receive one additional message
 confirming that your request has been processed. You acknowledge that our text message platform may not
 recognize and respond to unsubscribe requests that do not include the STOP, END, CANCEL, UNSUBSCRIBE or
 QUIT keyword commands and agree that Fabletics and its service providers will have no liability for failing to
 honor such requests. If you unsubscribe from one of our text message programs, you may continue to receive text
 messages from Fabletics through any other programs you have joined until you separately unsubscribe from those
 programs.Text the keyword HELP to our shortcode to return customer care contact information. If you are
 experiencing any problems with the Messaging Service, you may call us at 1-844-322-5384 or contact us through
 live chat available 9am - 9pm (EST), 7 days a week.

 FABLETICS MEMBERSHIP

 Fabletics provides a monthly membership program that provides you access to the latest athletic wear trends and
 many other perks. To get started, simply take our Lifestyle Quiz. Next, you must register and create a member
 account through this Site ("Account"). After you have successfully created an Account, you will have the option to
 select your favorite item(s) from the 'My Outfits' section of your Account ("Outfits"). There is no registration fee
 and no obligation to purchase. Our Fabletics style experts will continue to determine which athletic wear outfits best
 match your workouts and style. If you choose to create an Account, you agree to provide and maintain true,
 accurate, current and complete information about yourself as prompted by the Fabletics registration form.
 Registration data and certain other information about you are governed by our Privacy Policy.

 VIP MEMBERSHIP PROGRAM

 Fabletics offers members the opportunity to participate in its monthly membership program (the “VIP Membership
 Program”). To become a Fabletics VIP Member, you must checkout as a VIP member when making a Fabletics
 purchase on this Site or through an applicable Service. As a Fabletics VIP Member, our experts will send you a
 customized selection of Fabletics products on the 1st day of every month. You will also receive emails, newsletters,
 special offers and other updates to maximize your shopping experience. As a valued Fabletics VIP Member, you
 will enjoy numerous perks and benefits such as exclusive VIP Member-only pricing, dedicated promotions, access
 to the Fabletics FIT app, free shipping on orders over $49.95, free returns and exchanges within 90 days and access
 to VIP events and parties. Fabletics VIP Members will also have access to Yitty VIP Membership perks, including
 VIP Member-only pricing on Yitty products. You may cancel your Fabletics VIP Membership by calling one of our
 customer service representatives at 1-844-Fabletics (1-844-322-5384) or by using live chat or online cancel options
 in your Account.

 HOW VIP MEMBERSHIP WORKS

 Upon enrollment in the VIP Membership Program, you will receive new monthly customized selections of
 merchandise on the first (1st) day of every month. You must log into your account and select the 'Skip the Month'
 option between the 1st and the 5th of each month. If you do not ‘Skip the Month’ between the 1st and the 5th of the




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 month your credit card or payment method will be charged an automatic monthly membership fee of $54.95 on the
 6th (until you cancel) for enhanced monthly benefits, including a promotional member credit. All promotional
 member credits will expire 12 months after the date of issuance. Promotional membership credits are non-
 transferable and cannot be redeemed for cash or store credit. You may cancel your Fabletics VIP Membership by
 calling one of our customer service representatives at 1-844-Fabletics (1-844-322-5384), or online, using live chat or
 visiting your Account page.

 Each promotional member credit will be applied to your Account and can be redeemed for any individual item or
 two-piece outfits up to $80 in-store or on the Site, including www.yitty.fabletics.com (the “Yitty Site”). These
 outfits and items may be valued below or above $54.95. You may ‘Skip’ as many months as you like, there is no
 obligation to buy. Even if you decide to ‘Skip’ any month, you may return to your Account at any time to make a
 purchase. If you ‘Skip’ any month, you will not have access to certain exclusive benefits for the remainder of that
 month, including access to select styles, promotions and product pricing.

 You may cancel your Fabletics VIP Membership Account at any time. If you wish to cancel your Account, simply
 call our Fashion Consultants at 1-844-Fabletics (1-844-322-5384), 7 days a week. You may also cancel your VIP
 Membership Account online by contacting us via online live chat or visiting your Account page. There is no
 cancellation fee. Any remaining promotional member credits on your Account will expire 12 months after the date
 on which they were issued. You may use any remaining unexpired promotional member credits after cancellation for
 any individual item or two-piece outfits up to $80 in-store or on the Fabletics or Yitty Sites , but you will no longer
 have access to discounted VIP member only pricing for any items purchased without a promotional member credit.
 Please be advised that your Account may only be canceled by the registered Fabletics VIP Member or the holder of
 the valid credit card or payment method on file related to your Account.

 VIP MEMBER PERKS - VIP PRICING

 As a Fabletics VIP Member, you have access to perks such as 20 to 50% off retail pricing on almost all items, free
 shipping on orders over $49.95, access to the Fabletics FIT app (a $14.95 monthly value), free returns and
 exchanges within 90 days, access to VIP events and parties, a free magazine subscription with purchase over $60,
 and loyalty points on all orders.

 Your Fabletics VIP Membership also includes access to Yitty VIP Membership perks including 20 to 50% off retail
 pricing on almost all Yitty items on www.yitty.fabletics.com, access to exclusive styles and offers, free shipping on
 Yitty orders over $49.95, free returns and exchanges within 90 days, and a free magazine subscription with a Yitty
 purchase over $60.

 The monthly $54.95 membership fee charge also unlocks additional membership perks and benefits. The
 membership charge grants you access to an exclusive section of the Fabletics website with exclusive product
 offerings, a special dedicated customer service line and support, special promotions and sales, and a promotional
 credit that can be redeemed for any individual item or outfit up to $80 in-store or on the Fabletics or Yitty Sites. Free
 shipping also applies to any purchases made with promotional credits. Additional membership benefits related to the
 monthly membership charge coming soon!

 You will also receive emails, newsletters, special offers and other updates to maximize your shopping experience.

 FABLETICS AND YITTY MEMBERSHIPS

 When you enroll in the Fabletics VIP Membership Program, you will also be given access to the VIP Membership
 and related perks on the Yitty Site. For instance, a Fabletics VIP Member will also be able to purchase shapewear on
 the Yitty Site at exclusive VIP Member pricing.

 You may ‘Skip the Month’ through your Account between the 1st and the 5th of each month on either the Fabletics
 or Yitty Site and this will ‘Skip’ your Account for both the Fabletics and Yitty brands for that month. If you do not
 ‘Skip the Month’ between the 1st and the 5th of the month on either Sites your credit card or payment method will
 be charged an automatic monthly membership fee of $54.95 on the 6th (until you cancel) for enhanced monthly




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 benefits, including a promotional member credit. This promotional member credit can be used on either the
 Fabletics or Yitty Site or in-store and can be redeemed for any individual item or two-piece outfits up to $80.
 Promotional member credits will expire 12 months after the date on which they were issued.

 You may cancel your Fabletics VIP Membership Account at any time by calling 1-844-322-5384 (available 24/7),
 contacting us via live chat or visiting your Account page. Please note that canceling your Fabletics VIP Membership
 will also cancel your Yitty VIP Membership and you will no longer have access to Yitty VIP Member perks.

 MOBILE APPLICATIONS

 With your Fabletics VIP Membership, you may access the Fabletics Fitness App available at the Apple App Store.
 Access to the Fabletics Fitness App is contingent on maintaining an active VIP Membership. If you cancel your
 Fabletics or Yitty VIP Membership or your Fabletics or Yitty VIP Membership is terminated for any reason, you
 will no longer be able to use the services offered on the Apps. To use or access the Services through the Fabletics
 Fitness App, you will need a supported mobile device with adequate software. Fabletics cannot guarantee the
 Fabletics Fitness App will be compatible with, or available on, your device. It is your responsibility to ensure your
 mobile device’s functionality. Further, your mobile phone company’s normal messaging, data, and other rates and
 fees will still apply and you shall be responsible for any such charges. Please check with your Internet or mobile
 phone provider for information on possible data usage charges.

 By downloading or using the Fabletics Fitness App, you expressly agree we may communicate with you regarding
 transactions you have initiated on the Services or respond to your communications to us through the Services by
 SMS, MMS, text message or other electronic means directed to your device and that certain information about your
 usage of the Fabletics Fitness App may be communicated to us automatically from your device. Fabletics will not
 send you direct marketing messages without your prior express consent and you can opt out of receiving any
 marketing messages at any time. In addition, Fabletics may require you to accept updates to the Fabletics Fitness
 App that you have installed on your mobile device. You acknowledge and agree that Fabletics may update the Apps
 and the Services without notification to you.

 Fabletics hereby grants you a limited, personal, non-exclusive, non-transferable, non-sublicensable, revocable
 license to: (1) access and use the Fabletics Services and related content; (2) access and use the software and the
 Fabletics Fitness App downloaded directly from a legitimate marketplace solely for your personal use for lawful
 purposes. With respect to any open source code or software that may be incorporated in the Fabletics Fitness App,
 your license shall be subject to such open source or third-party license, if any, authorizing use of such code.

 APP STORE

 The following terms apply to the third-party platform from which you accessed or downloaded the Fabletics Fitness
 App, e.g., the Apple App Store (“App Store”). You acknowledge that this Agreement is between you and Fabletics
 and not with the App Store. Fabletics, not the App Store, is solely responsible for the Services, the content thereof,
 maintenance, support services, and warranty therefor, and addressing any claims relating thereto.

 NOT MEDICAL ADVICE

 You expressly acknowledge and agree that Fabletics is not providing medical advice via the Services. All content
 provided through the Services, whether provided by Fabletics or third parties including from any personal trainers,
 shall not be used as a substitute for professional medical consultation, advice, diagnosis or treatment from a
 physician or other healthcare professional. You should consult with your physician or other healthcare professional
 before engaging in any physical activity, exercise program or making any dietary changes. If you have any concerns
 or questions about your health, you should always consult with a physician or other healthcare professional.

 To the extent permitted by applicable law, Fabletics is not responsible for any health problems, injuries or damages
 that may result from your use of, or inability to use, the Fabletics Services, which includes but is not limited to, any
 training programs, activities, dietary recommendations, consultations, products, events or other information you
 learn through the Fabletics Services. Do not ignore or delay in obtaining professional medical advice or treatment
 because of information accessed through the Site, the Fabletics Fitness App or Services. If think you are




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 experiencing a medical emergency, stop using the Fabletics Service and immediately contact a medical professional
 or your local emergency services.

 You expressly acknowledge and agree that the exercise activities offered through the Services carry certain inherent
 and significant risks of property damage, bodily injury, or death. If you engage in any exercise programs or physical
 activity through the Fabletics Services, you agree that you do so at your own risk and that you voluntarily assume all
 known and unknown risks associated with these activities, even if caused in whole or part by the action, inaction, or
 negligence of Fabletics or by the action, inaction, or negligence of others. Fabletics assumes no responsibility for
 any act, omission, activity, product or service of any personal trainer featured through the Services. Fabletics does
 not guarantee any results in connection with the Services.

 RISK OF LOSS/TITLE

 The risk of loss and title for products purchased on the Site or through the Fabletics Services passes to the purchaser
 upon our delivery to the carrier. Replacement of products and credits to your account for shipped merchandise
 claimed as not received are subject to our investigation. We will adjust your account at our discretion. Fabletics does
 not take title to returned items until the item arrives at our fulfillment center. At our discretion, a refund may be
 issued without requiring a return. In this situation, Fabletics does not take title to the refunded item. Certain products
 may be shipped from Mexico, and for such goods consumers consent to and authorize G-Broker, Inc., as the US
 customs broker and G-Broker, Inc., shall act as the consumers agent to transact business with U.S. Customs and
 Border Protection agency to clear merchandise and account for applicable duties and taxes.

 SALES & USE TAXES

 Fabletics is not required by law to collect sales and/or use taxes in all states. However, Fabletics reserves the right to
 collect sales tax in any jurisdictions if it believes that such collection is required by law. Fabletics also reserves the
 right to collect fees associated with tariff taxes and surcharges.

 For states imposing sales or use taxes, your purchase may be subject to use tax unless it is specifically exempt from
 taxation. Your purchase is not exempt merely because it is made over the Internet or by other remote means. Many
 states require purchasers to file a sales/use tax return at the end of the year reporting all of the taxable purchases that
 were not taxed and to pay tax on those purchases. You may have a tax obligation in states where Fabletics does not
 collect sales tax. Details of how to report these taxes may be found at the websites of your respective taxing
 authorities.

 Effective July 1, 2022, Colorado imposes a non-refundable retail delivery fee of $0.27 on all deliveries by motor
 vehicle to a location in Colorado with at least one item of tangible personal property subject to state sales or use tax.
 Fabletics is liable to collect and remit the fee on each order to be delivered to a Colorado address. The fee applies to
 the entire order regardless of the number of items in an order and how many shipments are needed to deliver the
 items ordered. The retail delivery fee is not refundable on orders that are returned for a credit or refund including
 sales tax.

 PAYMENT INFORMATION

 To make purchases through the Fabletics Services or to become a Fabletics VIP you must submit credit card
 information or another valid payment method that is acceptable to Fabletics. You represent and warrant to Fabletics
 that such information is true and that you are authorized to use the payment instrument. You will promptly update
 your Account information with any changes (for example, a change in your billing address or credit card expiration
 date) that may occur. You authorize Fabletics to use any updated credit card information submitted by your credit
 card company directly to Fabletics and if there is no updated credit card information Fabletics may use additional
 payment methods you have provided as a default payment option. If you dispute any charges, you must inform
 Fabletics within thirty (30) days upon receipt of Fabletics’ invoice. We reserve the right to change Fabletics prices,
 fees or the number of Member Credits required to purchase items. Your continued use of the Fabletics Services after
 the price change becomes effective constitutes your agreement to pay the changed amount.

 ACCOUNT CONFIDENTIALITY AND ACCESS




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 You are solely responsible for maintaining the confidentiality of your Account, all activities occurring under your
 Account and all access to and use of the Fabletics Services by anyone using your Account, whether or not such
 activities and access are actually authorized by you, including but not limited to all communications, transactions
 and obligations. You agree to accept responsibility for all activities that occur under your account and password.
 Fabletics shall not be liable or responsible for any loss or damage arising from any unauthorized use, access or any
 other breach of security of your Account, including but not limited to your member sign-in password and email
 address. You acknowledge and accept that your use of the Fabletics Services is in compliance with these Terms of
 Service. You further acknowledge and accept that Fabletics shall have no obligation to investigate the authorization
 or source of any Account activity, including purchase activity following a proper log-in to this Site or any Services,
 which is defined as a matching and current member sign-in and user password. You shall notify Fabletics
 immediately of any unauthorized access to your Account or any other unauthorized use of any Fabletics Services.

 You agree that Fabletics may, without prior notice, immediately terminate, limit your access to or suspend your
 Account based on any of the following: (a) breach or violation of these Terms of Service; (b) upon request by law
 enforcement; (c) unforeseeable technical or security issues or problems; (d) extended periods of inactivity; or (e)
 fraudulent, deceptive or illegal activity, or any other activity which Fabletics believes is harmful to its business
 interests; or (f) for no reason. You agree that any termination, limitation of access and/or suspension shall be made
 in the Fabletics’ sole discretion and that Fabletics shall not be liable to you or any third party for the termination,
 limitation of access and/or suspension of your Account.

 PROHIBITED USES

 Any and all Fabletics Services may be used only for lawful purposes and are available only for your personal,
 noncommercial use, which shall be limited to viewing this Site, using the Apps, purchasing products, providing
 information to Fabletics, and downloading product information for your personal review. You shall not use the
 Services to sell a product or service, increase traffic to your own website or a third-party website for commercial
 reasons or otherwise undertake any endeavor aimed at deriving revenue. You are responsible for your own
 communications, including the transmission, posting, and uploading of information and are responsible for the
 consequences of such communications. Fabletics specifically prohibits any use of the Fabletics Service, and requires
 all users to agree not to use the Fabletics Services, for any of the following:

 • Posting any information which is incomplete, false, inaccurate or not your own;

 • Creating multiple accounts for the same user;

 • Accessing data not intended for you or logging on to a Fabletics server or account, which you are not authorized to
 access;

 • Engaging in conduct that would constitute a criminal offense, giving rise to civil liability or otherwise violate any
 city, state, national or international law or regulation that would fail to comply with accepted Internet protocol;

 • Communicating, transmitting, or posting material that is copyrighted or otherwise owned by a third party unless
 you are the copyright owner or have the permission of the owner to post it;

 • Communicating, transmitting, or posting material that reveals trade secrets, unless you own them or have the
 permission of the owner;

 • Communicating, transmitting, or posting material that infringes on any other intellectual property, privacy or
 publicity right of another;

 • Communicating, transmitting, or transferring (by any means) information or software derived from the site to
 foreign countries or certain foreign nations in violation of any applicable export control laws;

 • Attempting to interfere in any way with this Site’s or the Apps’ network security, or attempting to use this Site’s or
 the Apps’ service to gain unauthorized access to any other computer system;




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 • Communicating, transmitting, or posting material that is in violation of applicable laws or regulations;

 • Attempting to probe, scan or test the vulnerability of a system or network or to breach security or authentication
 measures without proper authorization (or succeeding in such an attempt);

 • Attempting to interfere or interfering with the operation of this Site, or the Apps, Fabletics’ provision of services to
 any other visitors or users to this Site or the Apps, Fabletics hosting provider or networks, including, without
 limitation, via means of submitting a virus to this Site or the Apps, overloading, "flooding", "mailbombing" or
 "crashing" this Site or the Apps;

 • Forging any TCP/IP packet header or any part of the header information in any e-mail or transmission or posting to
 this Site or the Apps.

 USER CONTENT

 Any and all content, comments, feedback, advice, suggestions, ideas, concepts, photos, questions or other
 communications (collectively, “User Content”) that you submit or post through any Fabletics Services shall be
 deemed non-confidential and non-proprietary. By submitting or posting any User Content, you grant to Fabletics and
 its affiliates a perpetual, irrevocable, royalty-free, worldwide, sublicensable and transferable license to copy,
 publish, translate, modify, create derivative works from, distribute, reproduce, display, or use the User Content in
 any commercial or non-commercial manner whatsoever. Fabletics will be free to use any ideas, concepts, know-how
 or techniques contained in such User Content for any purpose whatsoever, including but not limited to developing,
 manufacturing and marketing products that incorporate or otherwise rely upon such information. Fabletics shall have
 no obligation to monitor User Content, use or display User Content, compensate you for submitting User Content, or
 respond to any User Content. You are solely responsible for your use of any User Content you post, including the
 transmission, accuracy and completeness of the User Content. In addition, relying on any User Content by other
 users is at your own risk. To the extent permitted by applicable law, under no circumstances will Fabletics be
 responsible or liable for any loss or damage resulting from your reliance on information, advice or other User
 Content provided by any user of our Services. Fabletics retains the right, in its sole discretion and without prior
 notice, to remove, revise or refuse to post any User Content for any reason or no reason.

 By connecting to Fabletics with a third-party service (e.g., Facebook or Twitter), you give us permission to access
 and use your information from that service as permitted by that service, and to store your log-in credentials for that
 service. For more information on the types of information we collect from these third-party services, please read
 our Privacy Policy.

 If you utilize your Facebook account to access and use the social features available through the Fabletics Services,
 you can choose whether or not you wish to share content or information related to your Account on Facebook. You
 agree that Fabletics is not responsible for any content or information related to your Account once it is shared and
 posted on Facebook. If you use the Fabletics Services and its social features, you agree to respect other users of the
 Fabletics Services in your interactions with them. Fabletics reserves the right, in its absolute discretion, to disable
 your account if it believes that you are violating any term or condition set forth herein.

 By submitting User Content, you represent and warrant that the User Content does not (i) contain false or misleading
 information, (ii) infringe on the intellectual property rights of any third party, (iii) contain any libelous, defamatory,
 obscene, offensive, threatening or otherwise harassing content, (iv) contain any addresses, email addresses, phone
 numbers or any contact information, or (v) contain computer viruses, worms or other harmful files. You are solely
 responsible for the User Content and you hereby agree to indemnify and hold Fabletics and its employees, agents
 and affiliates harmless from any and all damages, claims, expenses, costs or fees arising from or in connection with
 a breach of any of the foregoing representations or your violation of any law or rights of a third party.

 PRODUCT INFORMATION

 Prices, descriptions and availability of products are subject to change without notice. Errors may be corrected when
 discovered, and Fabletics reserves the right to revoke any stated offer in order to correct any errors or inaccuracies.




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 Although Fabletics has made every effort to display our products and their colors as accurately as possible, the
 displayed colors of the products depend upon the monitor of the user, and Fabletics cannot guarantee that the user’s
 monitor will accurately portray the actual colors of the products. Products displayed may be out-of-stock or
 discontinued, and prices are subject to change. Fabletics is not responsible for typographical errors regarding price
 or any other matter.

 PURCHASE CANCELLATIONS

 All orders placed through any Fabletics Services are subject to Fabletics’ acceptance. This means that Fabletics may
 refuse to accept or may cancel any order, whether or not the order has been confirmed, for any or no reason, and
 without liability to you or anyone else. If your credit card or payment method has already been charged for an order
 that is later cancelled, Fabletics will issue you a refund.

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 MERCHANTABILITY AND FITNESS FOR A PARTICULAR PURPOSE AND NON-INFRINGEMENT.

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 THIS SITE, OR ANY OF THE FABLETICS SERVICES, IN TERMS OF THEIR CORRECTNESS, ACCURACY,
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 FINANICAL INSTITUTIONS SUCH AS BANKS OR CREDIT CARD COMPANIES. FABLETICS SHALL NOT
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 BANK OR CREDIT CARD.

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 EXCLUSION OR LIMITATION OF CERTAIN DAMAGES. IF THESE LAWS APPLY TO YOU, SOME OR
 ALL OF THE ABOVE DISCLAIMERS, EXCLUSIONS OR LIMITATIONS MAY NOT APPLY TO YOU AND
 YOU MAY HAVE ADDITIONAL RIGHTS.

 IF YOU ARE DISSATISFIED WITH ANY PORTION OF THE FABLETICS SERVICES, OR WITH ANY OF
 THESE TERMS OF SERVICE, YOUR SOLE AND EXCLUSIVE REMEDY IS TO DISCONTINUE USE OF
 THE FABLETICS SERVICES. IF A PRODUCT OFFERED THROUGH THE FABLETICS SERVICES IS NOT
 AS DESCRIBED, YOUR SOLE REMEDY IS TO RETURN IT IN ACCORDANCE WITH THE RETURN
 POLICY SET FORTH IN DETAIL IN THESE TERMS OF SERVICE.

 Fabletics makes no warranties of any kind regarding any third party sites to which you may be directed or
 hyperlinked from the Fabletics Services. Hyperlinks are included solely for your convenience, and Fabletics makes
 no representations or warranties with regard to the accuracy, availability, suitability or safety of information
 provided in such third party sites. Fabletics does not endorse, warrant or guarantee any products or services offered
 or provided by or on behalf of third parties through the Fabletics Services.

 INDEMNITY AND RELEASE

 You agree to indemnify and hold Fabletics and its parent, subsidiaries, affiliates, officers, agents and employees
 harmless from any and all liabilities, claims, demands, actions, suits, losses, obligations, judgments, proceedings,
 damages, expenses and costs (including reasonable attorneys' fees), based upon, arising from or related to (a)
 information or content submitted, transmitted or otherwise made available on or through the Fabletics Services by
 you or any other person accessing the Fabletics Services using your Account; (b) the use of, or connection to, the
 Fabletics Services by you or any other person accessing this Site or the Apps using your Account (including




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 negligent or wrongful conduct); including any exercise activities provided by personal trainers or interaction with
 any users of the Service or (c) your breach or attempted breach of these Terms of Service.

 DISPUTE RESOLUTION AND MUTUAL ARBITRATION AGREEMENT

 GOVERNING LAW

 Use of the Fabletics Services, membership in the Fabletics VIP Membership Program, any purchases made through
 the Fabletics Services, and any controversy, claim or dispute arising out of or relating in any way to your use of the
 Fabletics Services, your membership in or purchases through the Fabletics Services, Fabletics VIP Membership
 Program and/or your Account, or products purchased through the Fabletics Services (collectively, “Disputes”) shall
 be governed by the laws of your home state of residence without respect to its choice (or conflict) of laws rules.

 All Disputes between Fabletics and you must be commenced within one (1) year after the claim or cause of action
 arose.

 FORUM SELECTION/JURISDICTION

 Jurisdiction and venue for all Disputes shall be in Los Angeles, California. Each party submits to personal
 jurisdiction and venue in that forum for any and all purposes.

 AGREEMENT TO PRE-ARBITRATION NOTIFICATION

 These Terms of Service provide for final, binding arbitration of all Disputes (discussed immediately below).
 Fabletics and you agree, however, that it would be advantageous to discuss and hopefully resolve any Disputes
 before arbitration proceedings or any other proceedings authorized herein are initiated. In the event of a Dispute, the
 claimant whether you or Fabletics shall send a letter to the other side briefly summarizing the claim and the request
 for relief. If Fabletics is the claimant, the letter shall be sent, via email, to the email account listed in your Account.
 If you are the claimant, the letter shall be sent to Fabletics, LLC, Attn: General Counsel, 800 Apollo Street, El
 Segundo, California 90245. The parties agree that, before either party demands arbitration against the other, we will
 personally meet and confer, via telephone or videoconference, in a good-faith effort to resolve informally the
 Dispute. If you are represented by counsel, your counsel may participate in the conference, but you shall also fully
 participate in the conference. Engaging in this informal dispute resolution conference is a requirement that must be
 fulfilled before commencing arbitration. If the Dispute is not resolved within 60 days after the letter is sent, the
 claimant may proceed to initiate arbitration proceedings or any other proceedings authorized herein. The statute of
 limitations and any arbitration filing fee deadlines shall be tolled while the parties engage in the informal dispute
 resolution process required by this paragraph.

 AGREEMENT TO ARBITRATE CLAIMS

 Except to the limited extent noted below, all Disputes shall be resolved by final, binding, and bilateral arbitration
 between you and Fabletics.

 The arbitration shall take place in Los Angeles County, California and be administered by ADR Services, Inc. and
 shall be subject to ADR Services’ most current version of its Arbitration Rules, available at
 https://www.adrservices.com/services/arbitration-rules or by calling ADR Services at 310-201-0010. If ADR
 Services is not available to arbitrate, the parties will mutually select an alternative arbitral forum, and either Party
 may invoke 9 U.S.C. § 5 to request that a court appoint an arbitration provider. To the extent there is a dispute over
 which arbitration provider shall administer the arbitration, only a court (and not an arbitrator or arbitration
 administer) may resolve that dispute, and the arbitration shall be stayed pending the court’s ruling.

 The arbitration demand must include (1) the name, telephone number, mailing address, username and e-mail address
 of the party seeking arbitration; (2) a statement of the legal claims being asserted and the factual bases of those
 claims; (3) a description of the remedy sought and an accurate, good-faith calculation of the amount in controversy,
 enumerated in United States Dollars (any request for injunctive relief or attorneys’ fees shall not count toward the
 calculation of the amount in controversy unless such injunctive relief seeks the payment of money); and (4) the




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 signature of the party seeking arbitration. Counsel for any party bringing an arbitration demand must also provide a
 certification that, to the best of counsel’s knowledge, information, and belief, formed after an inquiry reasonable
 under the circumstances, (1) the demand for arbitration is not being presented for any improper purpose, such as to
 harass, cause unnecessary delay, or needlessly increase the cost of dispute resolution; (2) the claims and other legal
 contentions are warranted by existing law or by a nonfrivolous argument for extending, modifying, or reversing
 existing law or for establishing new law; and (3) the factual contentions have evidentiary support, or if specifically
 so identified, will likely have evidentiary support after a reasonable opportunity for further investigation or
 discovery.

 This arbitration agreement is subject to the Federal Arbitration Act and is enforceable pursuant to its terms on a self-
 executing basis. The parties agree that these Terms of Service evidence transactions involving interstate commerce.
 If for whatever reason the rules and procedures of the FAA cannot apply, the state law governing arbitration
 agreements in the state in which you reside shall apply.

 The arbitrator (and not a court) shall determine any and all challenges to the arbitrability of a claim, including
 disputes about the scope, applicability, enforceability, revocability, or validity of this arbitration agreement.
 However, all disputes related to the enforceability and applicability of the class action waiver (see below) shall be
 resolved by a court and not an arbitrator. In the event that the arbitration agreement is found not to apply to you or to
 a particular Dispute, either as a result of your decision to opt out of the agreement to arbitrate, or as a result of a
 decision by the arbitrator or a court order, you and Fabletics agree that that Dispute must be resolved exclusively by
 a state or federal court located in Los Angeles County, California. The parties agree that all related Disputes that can
 be arbitrated shall be arbitrated first, and any non-arbitrable Disputes shall be stayed until the completion of the
 arbitration.

 Unless either party or the arbitrator requests a hearing, the parties will submit their arguments and evidence to the
 arbitrator in writing. The arbitrator will make an award based only on the documents. This is called a Desk
 Arbitration. If any party makes a written request for a hearing within ten days after ADR Services acknowledges
 receipt of a claimant’s demand for arbitration (or the arbitrator requests a hearing), the parties shall participate in a
 telephone or video hearing. In no event shall the parties be required to travel to Los Angeles to participate in the
 arbitration. The arbitrator is authorized to hear motions for summary disposition. Notwithstanding any provision in
 the ADR Services’ rules to the contrary, and with the exception of Desk Arbitrations, the Federal Rules of Evidence
 shall govern the admissibility of evidence in any arbitral proceeding.

 The parties agree that all of the arbitration proceedings, including any discovery, hearings, and rulings, shall be
 confidential to the fullest extent permitted by law.

 The award shall be binding only among the parties and shall have no preclusive effect in any other arbitration or
 other proceeding involving a different party. The arbitrator shall follow the applicable law. The arbitrator has the
 same authority to award relief on an individual basis that a judge in a court of law would have.

 If at any time the arbitrator or arbitration administrator fails to enforce the terms of this arbitration agreement, either
 party may seek to enjoin the arbitration proceeding in a court of competent jurisdiction, and the arbitration shall
 automatically be stayed pending the outcome of that proceeding.

 The arbitral award shall be judicially enforceable. Any court of competent jurisdiction may, and upon request shall,
 enter judgment on the arbitral award. Either party may seek confirmation (judgment on the award) and/or
 enforcement in any court of competent jurisdiction. However, in any award issued in an arbitration conducted in
 accordance with this arbitration agreement, the arbitrator shall specify a reasonable time within which the final
 award shall be satisfied, and no party may seek to confirm the award until the time specified for satisfaction has
 expired. If the final award is satisfied during the specified time, no party shall seek to confirm the award.

 ARBITRATION FEES AND COSTS. The fees that shall apply to arbitrations administered by ADR Services are set
 forth on ADR Services’ website, available at https://www.adrservices.com/rate-fee-schedule/. Specifically, the fees
 set forth in ADR Services’ Mass Employment Arbitration Fee Schedule shall apply when twenty (20) or more
 arbitration claims are filed which: (1) involve the same or similar parties; (2) are based on the same or similar claims
 which arise from the same or substantially identical transactions, incidents, or events requiring the determination of




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 the same or substantially identical questions of law or fact; and (3) involve the same or coordinated counsel for the
 parties. In all other circumstances, the fees set forth in ADR Services’ General Fee Schedule shall apply, except that
 Fabletics will pay the portion of the initial case opening fees (if any) that exceeds the filing fee to file the case in a
 court of competent jurisdiction embracing the location of the arbitration. If the arbitrator finds that you cannot afford
 to pay ADR Services’ filing, administrative, hearing and/or other fees and cannot obtain a waiver of fees from ADR
 Services, Fabletics will pay them for you.

 Unless otherwise prohibited by law or the rules governing the arbitration, all disputes relating to or arising out of the
 payment of arbitration fees shall be decided only by a court of competent jurisdiction and not by an arbitrator or
 administrator, and the arbitration shall be stayed pending the resolution of such disputes by a court. Both parties
 agree not to oppose or interfere with any negotiations or agreements between the other party and the arbitration
 administrator, or individual arbitrator, relating to a party’s portion of the fees. The arbitrator, however, may disallow
 any private agreement between an administrator, on the one hand, and the negotiating party, on the other hand, if the
 arbitrator believes that the private agreement undermines his or her neutrality as arbitrator.

 If a party timely serves an offer of judgment under Federal Rule of Civil Procedure 68, and the judgment that the
 other party finally obtains is not more favorable than the unaccepted offer, then the other party shall pay the costs,
 including filing fees, incurred after the offer was made. Further, any finding by an arbitrator that a claim or
 counterclaim was filed for purposes of harassment or is frivolous under the standards set out in Federal Rule of Civil
 Procedure 11 shall entitle the other party to recover their attorneys’ fees, costs, and expenses.

 CLASS ACTION WAIVER (herein the "class action waiver"). Both you and Fabletics waive the right to bring any
 Dispute as a class, consolidated, representative, collective, or private attorney general action, or to participate in a
 class, consolidated, representative, collective, or private attorney general action regarding any such claim brought by
 anyone else. Nor shall the arbitrator have the authority or any jurisdiction to hear an arbitration as a class,
 consolidated, representative, or private attorney general action or to consolidate, join, or otherwise combine the
 claims of different persons into one proceeding. Consistent with their commitment to arbitrate all Disputes on an
 individualized basis, the parties also waive the right to bring any claims for public injunctive relief. To the extent
 applicable law prevents the parties from waiving a claim for public injunctive relief, all claims for public injunctive
 relief shall be heard by the arbitrator. Nothing in these Terms of Service prevent any party from participating in a
 settlement of a class, consolidated, representative, collective, or private attorney general action.

 SEVERABILITY. Except as otherwise provided herein, if any portion of this arbitration agreement is found to be
 unenforceable or unlawful for any reason, (1) the unenforceable or unlawful provision will be severed from this
 arbitration agreement, (2) the remainder of the arbitration agreement will be given full force and effect, and (3)
 severance of the unenforceable or unlawful provision will have no impact on the remainder of the arbitration
 agreement or the parties’ ability to compel arbitration of any remaining claims on an individual basis. In the event
 that a claim, cause of action or requested remedy is severed pursuant to this paragraph, then you and Fabletics agree
 that the claims, causes of action or requested remedies that are not subject to arbitration will be stayed until all
 arbitrable claims, causes of action and requested remedies are resolved by the arbitrator. If there is a final
 determination that applicable law precludes enforcement of the class action waiver as to any claim, cause of action
 or requested remedy, then that claim, cause of action or requested remedy will be severed and may be brought in a
 court of competent jurisdiction, but the waiver contained in this paragraph shall be enforced in arbitration on an
 individual basis as to all other claims, causes of action or requested remedies to the fullest extent possible.

 OPTING-OUT OF DISPUTE RESOLUTION PROCEDURE AND CLASS ACTION WAIVER

 You may elect to opt out (exclude yourself) from the final, binding arbitration procedure and the class action waiver
 specified in these Terms of Service by doing the following: within 15 days of setting up your Account, you must
 send a letter to Fabletics, LLC., c/o Legal Department, 800 Apollo Street, El Segundo, California 90245 that
 specifies (1) your name, (2) your account number or account member name, (3) your mailing address, and (4) your
 request to be excluded from the final, binding arbitration procedure and class action waiver specified in these Terms
 of Service. Each opt-out notice may opt out only one person; opt-out notices that attempt to opt out multiple people
 at the same time will be ineffective.

 If you opt out of this arbitration agreement, all other Terms shall continue to apply to your Account, including the




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 requirement to participate in pre-dispute mediation. Opting out of this arbitration agreement has no effect on any
 previous, other, or future arbitration agreements that you may have with us. Notwithstanding any provision in these
 Terms of Service to the contrary, we agree that, if Fabletics makes any future change to the dispute resolution
 procedure and class action waiver provisions (other than a change to Fabletics' address), you may reject any such
 change by sending a letter to Fabletics within 15 days of the change to the address provided above. By rejecting any
 future change, you are agreeing that you will arbitrate any Dispute between us in accordance with the language of
 this provision. Your letter must be postmarked by the applicable 15-day deadline to be effective. You are not
 required to send the letter by confirmed mail or return receipt requested, but it is recommended that you do so. Your
 request to be excluded will only be effective and enforceable if you can prove that the request was postmarked
 within the applicable 15-day deadline.

 NOTICE FOR CALIFORNIA USERS

 Under California Civil Code sections 1798.83-1798.84, California residents are entitled to ask us for a notice
 describing what categories of personal customer information Fabletics shares with third parties or corporate
 affiliates for those third parties or corporate affiliates' direct marketing purposes. That notice will identify the
 categories of information shared and will include a list of the third parties and affiliates with which it was shared,
 along with their names and addresses. If you are a California resident and would like a copy of this notice, please
 submit a written request to the following address: General Counsel, 800 Apollo Street, El Segundo, CA, 90245. In
 your request, please specify that you want a "Your Fabletics California Privacy Rights Notice". Please allow 30 days
 for a response.

 SHIPPING

 Shipping and handling charges are based on your subtotal order amount, calculated after applicable discounts and
 before sales tax. Rates are calculated as follows:

 Standard Shipping

                                                    48 Contiguous                         Alaska, Hawaii,
            Subtotal Amount
                                                     United States                      Puerto Rico, Australia

                                                        FREE                                   $9.00
            $49.95 and over
                                                  6-14 Business Days                     6-14 Business Days

                                                    $5.95 Flat Rate                            $9.00
             Under $49.95
                                                  6-14 Business Days                     6-14 Business Days

 Rush Shipping*

                                                    48 Contiguous                         Alaska, Hawaii,
            Subtotal Amount
                                                     United States                      Puerto Rico, Australia

                                                       $15.95
            $49.95 and over                                                                      N/A
                                                  2-3 Business Days

                                                       $15.95
             Under $49.95                                                                        N/A
                                                  2-3 Business Days

 * All delivery times above are based on average in-transit time. Orders shipped to Canada, P.O. Boxes and
 APOs/FPOs do not qualify for Rush Shipping.




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 Please note shipments arriving to Alaska, Hawaii, APO locations or Australia may be subject to longer transit times
 (up to 90 days) due to the carrier or location of station. At this time, expedited shipping is not available for Alaska,
 Hawaii, APO locations or Australia. All US orders are shipped FedEx via USPS and your order will be delivered by
 your local postal carrier. All Australia orders will be shipped via DHL.

 As soon as your order ships, you will be provided with a tracking number via email. You can also find your order
 details and tracking information on the Order History tab within the My Account section.

 RETURNS & EXCHANGES

 Fabletics strives to provide an amazing shopping experience and superior customer service. If for any reason you are
 not content with your order, we gladly accept returns and exchanges for US and Canada orders within 90 days from
 the date of shipment and in new, unused condition with original packaging. Exchanges are not available in Australia,
 and orders can only be returned. Some items purchased through special promotions may be final sale, and therefore
 not eligible for exchanges or returns (please refer to promotion disclaimers for the terms of each offer).

 Click Here Updates Related to Covid-19

 Accessories must be returned with all pieces included and intact, and apparel must also be returned unworn, with all
 tags still attached.

 In the US and Canada, 3 easy return options are offered: (1) return for member credit or store credit for free; (2)
 exchange for another item for free; (3) return for a refund*. Return shipping and handling for Australia and non-
 contiguous US territories, including Alaska, Hawaii, Puerto Rico and APOs, is $9.00.

 In Australia, 2 easy return options are offered: (1) return for member credit or store credit for free; (2) return for a
 refund. Exchanges are not offered in Australia. If you would like to exchange an item, please return the item and
 place a new order. Please note: new orders are subject to standard shipping rates.

 Please note that any member credit or store credit used to pay for an order will be returned as store credit and will
 not be eligible for a refund to a credit card.

 *Reward points associated with the purchase will be deducted from your account if you do choose a refund. Items
 redeemed through the rewards program are not eligible for returns or exchanges.

 Shipping Your Returns/Exchanges

 Returns and exchanges are easy! Just print your free return label and return packing slip by visiting the Order
 History page under My Account or you can obtain return label by calling our Customer Service Representatives by
 dialing our toll free number at 1-844-Fabletics (1-844-322-5384). Our Customer Service Representatives will email
 you our pre-paid return shipping label.

 Then follow these steps:

     •    Print label and return slip.
     •    Prepare package including return slip in the original, undamaged box and packaging.
     •    Attach the pre-paid return shipping label to your shipment.
     •    Drop it off at any USPS or FedEx location.

 GENERAL INFORMATION

 These Terms of Service constitute the entire agreement between you and Fabletics and govern your use of the
 Fabletics Services, and they supersede any prior agreements between you and Fabletics. You also may be subject to
 additional terms and conditions that are applicable to certain parts of the Fabletics Services. Fabletics may terminate
 this Agreement and deny you access to the Fabletics Services at any time, immediately and without notice, if in
 Fabletics' sole discretion you fail to comply with any provision of these Terms of Service.




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 You agree that no joint venture, partnership, employment, or agency relationship exists between Fabletics and you
 as a result of this Agreement or your use of the Fabletics Services.

 The failure of Fabletics to exercise or enforce any right or provision of these Terms of Service shall not constitute a
 waiver of such right or provision. The invalidity of any term, condition or provision in these Terms of Service shall
 not affect the enforceability of those portions of the Terms deemed enforceable by applicable courts of law.

 You may not assign the Terms or any of your rights or obligations under the Terms without Fabletics' express
 written consent. The Terms inure to the benefit of Fabletics' successors, assigns and licensees. The section titles in
 these Terms of Service are for convenience only and have no legal or contractual effect.

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                        EXHIBIT F




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 FABLETICS TERMS OF SERVICE, USE AND PURCHASE

 Welcome to Fabletics! This website located at www.fabletics.com (this "Site") is owned and operated by Fabletics,
 LLC, a subsidiary of Fabletics, Inc. (the “Company”) (collectively with the Company, “Fabletics”). Fabletics
 provides website features and other products and services to you when you visit, shop or purchase items from this
 Site, access this Site from your mobile devices, or use software provided by Fabletics in connection with any of the
 foregoing (collectively, “Fabletics Services”). Fabletics provides its products and services subject to these Terms of
 Service.

 By using the Fabletics Services, you agree to these conditions. Please read them carefully. These Terms of
 Service include a mutual arbitration agreement, class action waiver, and limitations on liability.

 By accessing or using this Site, mobile application or other Fabletics product or service on any computer, mobile
 phone, tablet, console or other device (collectively, “Device”), you acknowledge and agree that you have read,
 understand and agree to be bound by these Terms of Service and any other applicable law, whether or not you are a
 registered member of Fabletics. You must be at least 18 years old to use this Site or Services. Fabletics may change
 these Terms of Service at any time without notice. When we make changes, we will post them here. Your continued
 use of the Fabletics Services or enrollment as a Fabletics VIP Member shall be considered your acceptance to the
 revised Terms of Service. If you do not agree to these Terms of Service, please do not use this Site or any Fabletics
 Services and immediately cancel your Fabletics VIP Membership by calling one of our customer service
 representatives at 1-844-Fabletics (1-844-322-5384) or visiting us online to cancel.

 ELECTRONIC COMMUNICATIONS

 When you use any Fabletics Service, or send e-mails to us, you are communicating with us electronically. You
 consent to receive communications from us electronically. We will communicate with you by e-mail or by posting
 notices on this Site or through the other Fabletics Services. You agree that all agreements, notices, disclosures and
 other communications that we provide to you electronically satisfy any legal requirement that such communications
 be in writing.

 SMS MESSAGING

 When you provide your phone number and opt-in to Fabletics’ text message marketing program (the “Messaging
 Service”), you agree to receive recurring automated promotional and personalized marketing text (e.g., SMS and
 MMS) messages (e.g., cart reminders) from Fabletics, including text messages that may be sent using an automatic
 telephone dialing system, to the mobile telephone number you provided when signing up or any other number that
 you designate. Consent to receive automated marketing text messages is not a condition of any purchase. Reply
 HELP for help and STOP to cancel. Message & Data rates may apply.

 Message frequency will vary. Fabletics reserves the right to alter the frequency of messages sent at any time, so as to
 increase or decrease the total number of sent messages. Fabletics also reserves the right to change the short code or
 phone number from which messages are sent and we will notify you when we do so.

 Not all mobile devices or handsets may be supported and our messages may not be deliverable in all areas. Fabletics,
 its service providers and the mobile carriers supported by the program are not liable for delayed or undelivered
 messages.

 We are able to deliver messages to the following mobile phone carriers: Major carriers: AT&T, Verizon Wireless,
 Sprint, T-Mobile, MetroPCS, U.S. Cellular, Alltel, Boost Mobile, Nextel, and Virgin Mobile. Minorcarriers:
 1stPoint Communications, Aerialink, Alaska Communications Systems (ACS), Appalachian Wireless (EKN), Arctic
 Slope Telephone Cooperative Association, ATNI (Commnet/Choice Wireless), Bandwidth (Republic Wireless), Bell
 Mobility, Bluegrass Cellular, BreakAway Wireless, BrightlinkIP, Cambridge Telephone Company, Carolina West
 Wireless, Cellcom, Cellone Nation, Cellular One of East Central IL (ECIT), Cellular One of Northeast Arizona,
 Cellular One of Northeast Pennsylvania, Chariton Valley, Cincinnati Bell Wireless, Claro (Puerto Rico), Cooper




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 Valley, Coral Wireless (Mobi PCS), Cordova Wireless, COX, Cricket Wireless, Cross, C-Spire, Custer Tel, Digital
 Communications Consulting (DCC/OTZ Telecommunications), Duet, Element Mobile (Flat Wireless), Enflick
 (TextNow), Epic Touch (Elkhart Telephone), Fido Mobile, Fizz Mobile, Freedom Mobile, GCI, Golden State,
 Google Voice, GTA, Hawkeye (Chat Mobility), Hawkeye (NW Missouri), Illinois Valley Cellular, Indigo Wireless,
 Inland Cellular,Inteliquent (Layered/Onvoy/UNREAL/FreedomPop), iWireless (Iowa Wireless), James Valley,
 Keystone Wireless (Immix Wireless/PC Man), Mosaic (Consolidated or CTC Telecom), MTPCS, NE Colorado,
 Nemont CDMA (Sagebrush Cellular), Nemont UMTS, Nex-Tech Wireless, NTelos, Nucla-Naturita Tel, Open
 Mobile (Puerto Rico), Orange, Panhandle Communications, Peerless Networks, Pine Cellular, Pinger (Textfree),
 Pioneer, Plateau (Texas RSA 3 Ltd), Plivo, PTCI (Panhandle Telephone Coop.), PTI Pacifica (IT&E), Revol, RINA,
 Rogers Wireless, Sasktel, Simmetry (TMP Corporation), Shelcomm, Silver Star Communications, Snake River PCS
 (Eagle Tel), SouthernLINC, Standing Rock, Strata Networks, Telnyx, Telus Mobiity, TextMe, Thumb Cellular,
 Triangle Wireless, Trilogy, Truphone, TSG Global (Flextalk), Tychron, Union Wireless, United Wireless, Viaero
 Wireless, Videotron Mobile, Viva, Viya, Washington RSA No. 8, West Central (WCC or 5 Star Wireless), and
 Zipwhip.

 Text the keyword STOP, END, CANCEL, UNSUBSCRIBE or QUIT to our shortcode to cancel. After texting
 STOP, END, CANCEL, UNSUBSCRIBE or QUIT to our shortcode you will receive one additional message
 confirming that your request has been processed. You acknowledge that our text message platform may not
 recognize and respond to unsubscribe requests that do not include the STOP, END, CANCEL, UNSUBSCRIBE or
 QUIT keyword commands and agree that Fabletics and its service providers will have no liability for failing to
 honor such requests. If you unsubscribe from one of our text message programs, you may continue to receive text
 messages from Fabletics through any other programs you have joined until you separately unsubscribe from those
 programs.Text the keyword HELP to our shortcode to return customer care contact information. If you are
 experiencing any problems with the Messaging Service, you may call us at 1-844-322-5384 or contact us through
 live chat available 9am - 9pm (EST), 7 days a week.

 FABLETICS MEMBERSHIP

 Fabletics provides a monthly membership program that provides you access to the latest athletic wear trends and
 many other perks. To get started, simply take our Lifestyle Quiz. Next, you must register and create a member
 account through this Site ("Account"). After you have successfully created an Account, you will have the option to
 select your favorite item(s) from the 'My Outfits' section of your Account ("Outfits"). There is no registration fee
 and no obligation to purchase. Our Fabletics style experts will continue to determine which athletic wear outfits best
 match your workouts and style. If you choose to create an Account, you agree to provide and maintain true,
 accurate, current and complete information about yourself as prompted by the Fabletics registration form.
 Registration data and certain other information about you are governed by our Privacy Policy.

 VIP MEMBERSHIP PROGRAM

 Fabletics offers members the opportunity to participate in its monthly membership program (the “VIP Membership
 Program”). To become a Fabletics VIP Member, you must checkout as a VIP member when making a Fabletics
 purchase on this Site or through an applicable Service. As a Fabletics VIP Member, our experts will send you a
 customized selection of Fabletics products on the 1st day of every month. You will also receive emails, newsletters,
 special offers and other updates to maximize your shopping experience. As a valued Fabletics VIP Member, you
 will enjoy numerous perks and benefits such as exclusive VIP Member-only pricing, dedicated promotions, access
 to the Fabletics FIT app, free shipping on orders over $49.95, free returns and exchanges within 90 days and access
 to VIP events and parties. Fabletics VIP Members will also have access to Yitty VIP Membership perks, including
 VIP Member-only pricing on Yitty products. You may cancel your Fabletics VIP Membership by calling one of our
 customer service representatives at 1-844-Fabletics (1-844-322-5384) or by using live chat or online cancel options
 in your Account.

 HOW VIP MEMBERSHIP WORKS

 Upon enrollment in the VIP Membership Program, you will receive new monthly customized selections of
 merchandise on the first (1st) day of every month. You must log into your account and select the 'Skip the Month'
 option between the 1st and the 5th of each month. If you do not ‘Skip the Month’ between the 1st and the 5th of the




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 month your credit card or payment method will be charged an automatic monthly membership fee of $59.95 on the
 6th (until you cancel) for enhanced monthly benefits, including a promotional member credit. All promotional
 member credits will expire 12 months after the date of issuance. Promotional membership credits are non-
 transferable and cannot be redeemed for cash or store credit. You may cancel your Fabletics VIP Membership by
 calling one of our customer service representatives at 1-844-Fabletics (1-844-322-5384), or online, using live chat or
 visiting your Account page.

 Each promotional member credit will be applied to your Account and can be redeemed for any individual item or
 two-piece outfits up to $100 in-store or on the Site, including www.yitty.fabletics.com (the “Yitty Site”). These
 outfits and items may be valued below or above $59.95. You may ‘Skip’ as many months as you like, there is no
 obligation to buy. Even if you decide to ‘Skip’ any month, you may return to your Account at any time to make a
 purchase. If you ‘Skip’ any month, you will not have access to certain exclusive benefits for the remainder of that
 month, including access to select styles, promotions and product pricing.

 You may cancel your Fabletics VIP Membership Account at any time. If you wish to cancel your Account, simply
 call our Fashion Consultants at 1-844-Fabletics (1-844-322-5384), 7 days a week. You may also cancel your VIP
 Membership Account online by contacting us via online live chat or visiting your Account page. There is no
 cancellation fee. Any remaining promotional member credits on your Account will expire 12 months after the date
 on which they were issued. You may use any remaining unexpired promotional member credits after cancellation for
 any individual item or two-piece outfits up to $100 in-store or on the Fabletics or Yitty Sites , but you will no longer
 have access to discounted VIP member only pricing for any items purchased without a promotional member credit.
 Please be advised that your Account may only be canceled by the registered Fabletics VIP Member or the holder of
 the valid credit card or payment method on file related to your Account.

 VIP MEMBER PERKS - VIP PRICING

 As a Fabletics VIP Member, you have access to perks such as 20 to 50% off retail pricing on almost all items, free
 shipping on orders over $49.95, access to the Fabletics FIT app (a $14.95 monthly value), free returns and
 exchanges within 90 days, access to VIP events and parties, a free magazine subscription with purchase over $60,
 and loyalty points on all orders.

 Your Fabletics VIP Membership also includes access to Yitty VIP Membership perks including 20 to 50% off retail
 pricing on almost all Yitty items on www.yitty.fabletics.com, access to exclusive styles and offers, free shipping on
 Yitty orders over $49.95, free returns and exchanges within 90 days, and a free magazine subscription with a Yitty
 purchase over $60.

 The monthly $59.95 membership fee charge also unlocks additional membership perks and benefits. The
 membership charge grants you access to an exclusive section of the Fabletics website with exclusive product
 offerings, a special dedicated customer service line and support, special promotions and sales, and a promotional
 credit that can be redeemed for any individual item or outfit up to $100 in-store or on the Fabletics or Yitty Sites.
 Free shipping also applies to any purchases made with promotional credits. Additional membership benefits related
 to the monthly membership charge coming soon!

 You will also receive emails, newsletters, special offers and other updates to maximize your shopping experience.

 FABLETICS AND YITTY MEMBERSHIPS

 When you enroll in the Fabletics VIP Membership Program, you will also be given access to the VIP Membership
 and related perks on the Yitty Site. For instance, a Fabletics VIP Member will also be able to purchase shapewear on
 the Yitty Site at exclusive VIP Member pricing.

 You may ‘Skip the Month’ through your Account between the 1st and the 5th of each month on either the Fabletics
 or Yitty Site and this will ‘Skip’ your Account for both the Fabletics and Yitty brands for that month. If you do not
 ‘Skip the Month’ between the 1st and the 5th of the month on either Sites your credit card or payment method will
 be charged an automatic monthly membership fee of $59.95 on the 6th (until you cancel) for enhanced monthly




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 benefits, including a promotional member credit. This promotional member credit can be used on either the
 Fabletics or Yitty Site or in-store and can be redeemed for any individual item or two-piece outfits up to $100.
 Promotional member credits will expire 12 months after the date on which they were issued.

 You may cancel your Fabletics VIP Membership Account at any time by calling 1-844-322-5384 (available 24/7),
 contacting us via live chat or visiting your Account page. Please note that canceling your Fabletics VIP Membership
 will also cancel your Yitty VIP Membership and you will no longer have access to Yitty VIP Member perks.

 MOBILE APPLICATIONS

 With your Fabletics VIP Membership, you may access the Fabletics Fitness App available at the Apple App Store.
 Access to the Fabletics Fitness App is contingent on maintaining an active VIP Membership. If you cancel your
 Fabletics or Yitty VIP Membership or your Fabletics or Yitty VIP Membership is terminated for any reason, you
 will no longer be able to use the services offered on the Apps. To use or access the Services through the Fabletics
 Fitness App, you will need a supported mobile device with adequate software. Fabletics cannot guarantee the
 Fabletics Fitness App will be compatible with, or available on, your device. It is your responsibility to ensure your
 mobile device’s functionality. Further, your mobile phone company’s normal messaging, data, and other rates and
 fees will still apply and you shall be responsible for any such charges. Please check with your Internet or mobile
 phone provider for information on possible data usage charges.

 By downloading or using the Fabletics Fitness App, you expressly agree we may communicate with you regarding
 transactions you have initiated on the Services or respond to your communications to us through the Services by
 SMS, MMS, text message or other electronic means directed to your device and that certain information about your
 usage of the Fabletics Fitness App may be communicated to us automatically from your device. Fabletics will not
 send you direct marketing messages without your prior express consent and you can opt out of receiving any
 marketing messages at any time. In addition, Fabletics may require you to accept updates to the Fabletics Fitness
 App that you have installed on your mobile device. You acknowledge and agree that Fabletics may update the Apps
 and the Services without notification to you.

 Fabletics hereby grants you a limited, personal, non-exclusive, non-transferable, non-sublicensable, revocable
 license to: (1) access and use the Fabletics Services and related content; (2) access and use the software and the
 Fabletics Fitness App downloaded directly from a legitimate marketplace solely for your personal use for lawful
 purposes. With respect to any open source code or software that may be incorporated in the Fabletics Fitness App,
 your license shall be subject to such open source or third-party license, if any, authorizing use of such code.

 APP STORE

 The following terms apply to the third-party platform from which you accessed or downloaded the Fabletics Fitness
 App, e.g., the Apple App Store (“App Store”). You acknowledge that this Agreement is between you and Fabletics
 and not with the App Store. Fabletics, not the App Store, is solely responsible for the Services, the content thereof,
 maintenance, support services, and warranty therefor, and addressing any claims relating thereto.

 NOT MEDICAL ADVICE

 You expressly acknowledge and agree that Fabletics is not providing medical advice via the Services. All content
 provided through the Services, whether provided by Fabletics or third parties including from any personal trainers,
 shall not be used as a substitute for professional medical consultation, advice, diagnosis or treatment from a
 physician or other healthcare professional. You should consult with your physician or other healthcare professional
 before engaging in any physical activity, exercise program or making any dietary changes. If you have any concerns
 or questions about your health, you should always consult with a physician or other healthcare professional.

 To the extent permitted by applicable law, Fabletics is not responsible for any health problems, injuries or damages
 that may result from your use of, or inability to use, the Fabletics Services, which includes but is not limited to, any
 training programs, activities, dietary recommendations, consultations, products, events or other information you
 learn through the Fabletics Services. Do not ignore or delay in obtaining professional medical advice or treatment
 because of information accessed through the Site, the Fabletics Fitness App or Services. If think you are




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 experiencing a medical emergency, stop using the Fabletics Service and immediately contact a medical professional
 or your local emergency services.

 You expressly acknowledge and agree that the exercise activities offered through the Services carry certain inherent
 and significant risks of property damage, bodily injury, or death. If you engage in any exercise programs or physical
 activity through the Fabletics Services, you agree that you do so at your own risk and that you voluntarily assume all
 known and unknown risks associated with these activities, even if caused in whole or part by the action, inaction, or
 negligence of Fabletics or by the action, inaction, or negligence of others. Fabletics assumes no responsibility for
 any act, omission, activity, product or service of any personal trainer featured through the Services. Fabletics does
 not guarantee any results in connection with the Services.

 RISK OF LOSS/TITLE

 The risk of loss and title for products purchased on the Site or through the Fabletics Services passes to the purchaser
 upon our delivery to the carrier. Replacement of products and credits to your account for shipped merchandise
 claimed as not received are subject to our investigation. We will adjust your account at our discretion. Fabletics does
 not take title to returned items until the item arrives at our fulfillment center. At our discretion, a refund may be
 issued without requiring a return. In this situation, Fabletics does not take title to the refunded item. Certain products
 may be shipped from Mexico, and for such goods consumers consent to and authorize G-Broker, Inc., as the US
 customs broker and G-Broker, Inc., shall act as the consumers agent to transact business with U.S. Customs and
 Border Protection agency to clear merchandise and account for applicable duties and taxes.

 SALES & USE TAXES

 Fabletics is not required by law to collect sales and/or use taxes in all states. However, Fabletics reserves the right to
 collect sales tax in any jurisdictions if it believes that such collection is required by law. Fabletics also reserves the
 right to collect fees associated with tariff taxes and surcharges.

 For states imposing sales or use taxes, your purchase may be subject to use tax unless it is specifically exempt from
 taxation. Your purchase is not exempt merely because it is made over the Internet or by other remote means. Many
 states require purchasers to file a sales/use tax return at the end of the year reporting all of the taxable purchases that
 were not taxed and to pay tax on those purchases. You may have a tax obligation in states where Fabletics does not
 collect sales tax. Details of how to report these taxes may be found at the websites of your respective taxing
 authorities.

 Effective July 1, 2022, Colorado imposes a non-refundable retail delivery fee of $0.27 on all deliveries by motor
 vehicle to a location in Colorado with at least one item of tangible personal property subject to state sales or use tax.
 Fabletics is liable to collect and remit the fee on each order to be delivered to a Colorado address. The fee applies to
 the entire order regardless of the number of items in an order and how many shipments are needed to deliver the
 items ordered. The retail delivery fee is not refundable on orders that are returned for a credit or refund including
 sales tax.

 PAYMENT INFORMATION

 To make purchases through the Fabletics Services or to become a Fabletics VIP you must submit credit card
 information or another valid payment method that is acceptable to Fabletics. You represent and warrant to Fabletics
 that such information is true and that you are authorized to use the payment instrument. You will promptly update
 your Account information with any changes (for example, a change in your billing address or credit card expiration
 date) that may occur. You authorize Fabletics to use any updated credit card information submitted by your credit
 card company directly to Fabletics and if there is no updated credit card information Fabletics may use additional
 payment methods you have provided as a default payment option. If you dispute any charges, you must inform
 Fabletics within thirty (30) days upon receipt of Fabletics’ invoice. We reserve the right to change Fabletics prices,
 fees or the number of Member Credits required to purchase items. Your continued use of the Fabletics Services after
 the price change becomes effective constitutes your agreement to pay the changed amount.

 ACCOUNT CONFIDENTIALITY AND ACCESS




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 You are solely responsible for maintaining the confidentiality of your Account, all activities occurring under your
 Account and all access to and use of the Fabletics Services by anyone using your Account, whether or not such
 activities and access are actually authorized by you, including but not limited to all communications, transactions
 and obligations. You agree to accept responsibility for all activities that occur under your account and password.
 Fabletics shall not be liable or responsible for any loss or damage arising from any unauthorized use, access or any
 other breach of security of your Account, including but not limited to your member sign-in password and email
 address. You acknowledge and accept that your use of the Fabletics Services is in compliance with these Terms of
 Service. You further acknowledge and accept that Fabletics shall have no obligation to investigate the authorization
 or source of any Account activity, including purchase activity following a proper log-in to this Site or any Services,
 which is defined as a matching and current member sign-in and user password. You shall notify Fabletics
 immediately of any unauthorized access to your Account or any other unauthorized use of any Fabletics Services.

 You agree that Fabletics may, without prior notice, immediately terminate, limit your access to or suspend your
 Account based on any of the following: (a) breach or violation of these Terms of Service; (b) upon request by law
 enforcement; (c) unforeseeable technical or security issues or problems; (d) extended periods of inactivity; or (e)
 fraudulent, deceptive or illegal activity, or any other activity which Fabletics believes is harmful to its business
 interests; or (f) for no reason. You agree that any termination, limitation of access and/or suspension shall be made
 in the Fabletics’ sole discretion and that Fabletics shall not be liable to you or any third party for the termination,
 limitation of access and/or suspension of your Account.

 PROHIBITED USES

 Any and all Fabletics Services may be used only for lawful purposes and are available only for your personal,
 noncommercial use, which shall be limited to viewing this Site, using the Apps, purchasing products, providing
 information to Fabletics, and downloading product information for your personal review. You shall not use the
 Services to sell a product or service, increase traffic to your own website or a third-party website for commercial
 reasons or otherwise undertake any endeavor aimed at deriving revenue. You are responsible for your own
 communications, including the transmission, posting, and uploading of information and are responsible for the
 consequences of such communications. Fabletics specifically prohibits any use of the Fabletics Service, and requires
 all users to agree not to use the Fabletics Services, for any of the following:

 • Posting any information which is incomplete, false, inaccurate or not your own;

 • Creating multiple accounts for the same user;

 • Accessing data not intended for you or logging on to a Fabletics server or account, which you are not authorized to
 access;

 • Engaging in conduct that would constitute a criminal offense, giving rise to civil liability or otherwise violate any
 city, state, national or international law or regulation that would fail to comply with accepted Internet protocol;

 • Communicating, transmitting, or posting material that is copyrighted or otherwise owned by a third party unless
 you are the copyright owner or have the permission of the owner to post it;

 • Communicating, transmitting, or posting material that reveals trade secrets, unless you own them or have the
 permission of the owner;

 • Communicating, transmitting, or posting material that infringes on any other intellectual property, privacy or
 publicity right of another;

 • Communicating, transmitting, or transferring (by any means) information or software derived from the site to
 foreign countries or certain foreign nations in violation of any applicable export control laws;

 • Attempting to interfere in any way with this Site’s or the Apps’ network security, or attempting to use this Site’s or
 the Apps’ service to gain unauthorized access to any other computer system;




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 • Communicating, transmitting, or posting material that is in violation of applicable laws or regulations;

 • Attempting to probe, scan or test the vulnerability of a system or network or to breach security or authentication
 measures without proper authorization (or succeeding in such an attempt);

 • Attempting to interfere or interfering with the operation of this Site, or the Apps, Fabletics’ provision of services to
 any other visitors or users to this Site or the Apps, Fabletics hosting provider or networks, including, without
 limitation, via means of submitting a virus to this Site or the Apps, overloading, "flooding", "mailbombing" or
 "crashing" this Site or the Apps;

 • Forging any TCP/IP packet header or any part of the header information in any e-mail or transmission or posting to
 this Site or the Apps.

 USER CONTENT

 Any and all content, comments, feedback, advice, suggestions, ideas, concepts, photos, questions or other
 communications (collectively, “User Content”) that you submit or post through any Fabletics Services shall be
 deemed non-confidential and non-proprietary. By submitting or posting any User Content, you grant to Fabletics and
 its affiliates a perpetual, irrevocable, royalty-free, worldwide, sublicensable and transferable license to copy,
 publish, translate, modify, create derivative works from, distribute, reproduce, display, or use the User Content in
 any commercial or non-commercial manner whatsoever. Fabletics will be free to use any ideas, concepts, know-how
 or techniques contained in such User Content for any purpose whatsoever, including but not limited to developing,
 manufacturing and marketing products that incorporate or otherwise rely upon such information. Fabletics shall have
 no obligation to monitor User Content, use or display User Content, compensate you for submitting User Content, or
 respond to any User Content. You are solely responsible for your use of any User Content you post, including the
 transmission, accuracy and completeness of the User Content. In addition, relying on any User Content by other
 users is at your own risk. To the extent permitted by applicable law, under no circumstances will Fabletics be
 responsible or liable for any loss or damage resulting from your reliance on information, advice or other User
 Content provided by any user of our Services. Fabletics retains the right, in its sole discretion and without prior
 notice, to remove, revise or refuse to post any User Content for any reason or no reason.

 By connecting to Fabletics with a third-party service (e.g., Facebook or Twitter), you give us permission to access
 and use your information from that service as permitted by that service, and to store your log-in credentials for that
 service. For more information on the types of information we collect from these third-party services, please read
 our Privacy Policy.

 If you utilize your Facebook account to access and use the social features available through the Fabletics Services,
 you can choose whether or not you wish to share content or information related to your Account on Facebook. You
 agree that Fabletics is not responsible for any content or information related to your Account once it is shared and
 posted on Facebook. If you use the Fabletics Services and its social features, you agree to respect other users of the
 Fabletics Services in your interactions with them. Fabletics reserves the right, in its absolute discretion, to disable
 your account if it believes that you are violating any term or condition set forth herein.

 By submitting User Content, you represent and warrant that the User Content does not (i) contain false or misleading
 information, (ii) infringe on the intellectual property rights of any third party, (iii) contain any libelous, defamatory,
 obscene, offensive, threatening or otherwise harassing content, (iv) contain any addresses, email addresses, phone
 numbers or any contact information, or (v) contain computer viruses, worms or other harmful files. You are solely
 responsible for the User Content and you hereby agree to indemnify and hold Fabletics and its employees, agents
 and affiliates harmless from any and all damages, claims, expenses, costs or fees arising from or in connection with
 a breach of any of the foregoing representations or your violation of any law or rights of a third party.

 PRODUCT INFORMATION

 Prices, descriptions and availability of products are subject to change without notice. Errors may be corrected when
 discovered, and Fabletics reserves the right to revoke any stated offer in order to correct any errors or inaccuracies.




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 Although Fabletics has made every effort to display our products and their colors as accurately as possible, the
 displayed colors of the products depend upon the monitor of the user, and Fabletics cannot guarantee that the user’s
 monitor will accurately portray the actual colors of the products. Products displayed may be out-of-stock or
 discontinued, and prices are subject to change. Fabletics is not responsible for typographical errors regarding price
 or any other matter.

 PURCHASE CANCELLATIONS

 All orders placed through any Fabletics Services are subject to Fabletics’ acceptance. This means that Fabletics may
 refuse to accept or may cancel any order, whether or not the order has been confirmed, for any or no reason, and
 without liability to you or anyone else. If your credit card or payment method has already been charged for an order
 that is later cancelled, Fabletics will issue you a refund.

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 FINANICAL INSTITUTIONS SUCH AS BANKS OR CREDIT CARD COMPANIES. FABLETICS SHALL NOT
 BE LIABLE FOR ANY OVERDRAFT, LATE OR ANY OTHER CHARGES ISSUED AGAINST YOU BY A
 BANK OR CREDIT CARD.

 CERTAIN STATE LAWS MAY NOT ALLOW LIMITATIONS ON IMPLIED WARRANTIES OR THE
 EXCLUSION OR LIMITATION OF CERTAIN DAMAGES. IF THESE LAWS APPLY TO YOU, SOME OR
 ALL OF THE ABOVE DISCLAIMERS, EXCLUSIONS OR LIMITATIONS MAY NOT APPLY TO YOU AND
 YOU MAY HAVE ADDITIONAL RIGHTS.

 IF YOU ARE DISSATISFIED WITH ANY PORTION OF THE FABLETICS SERVICES, OR WITH ANY OF
 THESE TERMS OF SERVICE, YOUR SOLE AND EXCLUSIVE REMEDY IS TO DISCONTINUE USE OF
 THE FABLETICS SERVICES. IF A PRODUCT OFFERED THROUGH THE FABLETICS SERVICES IS NOT
 AS DESCRIBED, YOUR SOLE REMEDY IS TO RETURN IT IN ACCORDANCE WITH THE RETURN
 POLICY SET FORTH IN DETAIL IN THESE TERMS OF SERVICE.

 Fabletics makes no warranties of any kind regarding any third party sites to which you may be directed or
 hyperlinked from the Fabletics Services. Hyperlinks are included solely for your convenience, and Fabletics makes
 no representations or warranties with regard to the accuracy, availability, suitability or safety of information
 provided in such third party sites. Fabletics does not endorse, warrant or guarantee any products or services offered
 or provided by or on behalf of third parties through the Fabletics Services.

 INDEMNITY AND RELEASE

 You agree to indemnify and hold Fabletics and its parent, subsidiaries, affiliates, officers, agents and employees
 harmless from any and all liabilities, claims, demands, actions, suits, losses, obligations, judgments, proceedings,
 damages, expenses and costs (including reasonable attorneys' fees), based upon, arising from or related to (a)
 information or content submitted, transmitted or otherwise made available on or through the Fabletics Services by
 you or any other person accessing the Fabletics Services using your Account; (b) the use of, or connection to, the
 Fabletics Services by you or any other person accessing this Site or the Apps using your Account (including




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 negligent or wrongful conduct); including any exercise activities provided by personal trainers or interaction with
 any users of the Service or (c) your breach or attempted breach of these Terms of Service.

 DISPUTE RESOLUTION AND MUTUAL ARBITRATION AGREEMENT

 GOVERNING LAW

 Use of the Fabletics Services, membership in the Fabletics VIP Membership Program, any purchases made through
 the Fabletics Services, and any controversy, claim or dispute arising out of or relating in any way to your use of the
 Fabletics Services, your membership in or purchases through the Fabletics Services, Fabletics VIP Membership
 Program and/or your Account, or products purchased through the Fabletics Services (collectively, “Disputes”) shall
 be governed by the laws of your home state of residence without respect to its choice (or conflict) of laws rules.

 All Disputes between Fabletics and you must be commenced within one (1) year after the claim or cause of action
 arose.

 FORUM SELECTION/JURISDICTION

 Jurisdiction and venue for all Disputes shall be in Los Angeles, California. Each party submits to personal
 jurisdiction and venue in that forum for any and all purposes.

 AGREEMENT TO PRE-ARBITRATION NOTIFICATION

 These Terms of Service provide for final, binding arbitration of all Disputes (discussed immediately below).
 Fabletics and you agree, however, that it would be advantageous to discuss and hopefully resolve any Disputes
 before arbitration proceedings or any other proceedings authorized herein are initiated. In the event of a Dispute, the
 claimant whether you or Fabletics shall send a letter to the other side briefly summarizing the claim and the request
 for relief. If Fabletics is the claimant, the letter shall be sent, via email, to the email account listed in your Account.
 If you are the claimant, the letter shall be sent to Fabletics, LLC, Attn: General Counsel, 800 Apollo Street, El
 Segundo, California 90245. The parties agree that, before either party demands arbitration against the other, we will
 personally meet and confer, via telephone or videoconference, in a good-faith effort to resolve informally the
 Dispute. If you are represented by counsel, your counsel may participate in the conference, but you shall also fully
 participate in the conference. Engaging in this informal dispute resolution conference is a requirement that must be
 fulfilled before commencing arbitration. If the Dispute is not resolved within 60 days after the letter is sent, the
 claimant may proceed to initiate arbitration proceedings or any other proceedings authorized herein. The statute of
 limitations and any arbitration filing fee deadlines shall be tolled while the parties engage in the informal dispute
 resolution process required by this paragraph.

 AGREEMENT TO ARBITRATE CLAIMS

 Except to the limited extent noted below, all Disputes shall be resolved by final, binding, and bilateral arbitration
 between you and Fabletics.

 The arbitration shall take place in Los Angeles County, California and be administered by ADR Services, Inc. and
 shall be subject to ADR Services’ most current version of its Arbitration Rules, available at
 https://www.adrservices.com/services/arbitration-rules or by calling ADR Services at 310-201-0010. If ADR
 Services is not available to arbitrate, the parties will mutually select an alternative arbitral forum, and either Party
 may invoke 9 U.S.C. § 5 to request that a court appoint an arbitration provider. To the extent there is a dispute over
 which arbitration provider shall administer the arbitration, only a court (and not an arbitrator or arbitration
 administer) may resolve that dispute, and the arbitration shall be stayed pending the court’s ruling.

 The arbitration demand must include (1) the name, telephone number, mailing address, username and e-mail address
 of the party seeking arbitration; (2) a statement of the legal claims being asserted and the factual bases of those
 claims; (3) a description of the remedy sought and an accurate, good-faith calculation of the amount in controversy,
 enumerated in United States Dollars (any request for injunctive relief or attorneys’ fees shall not count toward the
 calculation of the amount in controversy unless such injunctive relief seeks the payment of money); and (4) the




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 signature of the party seeking arbitration. Counsel for any party bringing an arbitration demand must also provide a
 certification that, to the best of counsel’s knowledge, information, and belief, formed after an inquiry reasonable
 under the circumstances, (1) the demand for arbitration is not being presented for any improper purpose, such as to
 harass, cause unnecessary delay, or needlessly increase the cost of dispute resolution; (2) the claims and other legal
 contentions are warranted by existing law or by a nonfrivolous argument for extending, modifying, or reversing
 existing law or for establishing new law; and (3) the factual contentions have evidentiary support, or if specifically
 so identified, will likely have evidentiary support after a reasonable opportunity for further investigation or
 discovery.

 This arbitration agreement is subject to the Federal Arbitration Act and is enforceable pursuant to its terms on a self-
 executing basis. The parties agree that these Terms of Service evidence transactions involving interstate commerce.
 If for whatever reason the rules and procedures of the FAA cannot apply, the state law governing arbitration
 agreements in the state in which you reside shall apply.

 The arbitrator (and not a court) shall determine any and all challenges to the arbitrability of a claim, including
 disputes about the scope, applicability, enforceability, revocability, or validity of this arbitration agreement.
 However, all disputes related to the enforceability and applicability of the class action waiver (see below) shall be
 resolved by a court and not an arbitrator. In the event that the arbitration agreement is found not to apply to you or to
 a particular Dispute, either as a result of your decision to opt out of the agreement to arbitrate, or as a result of a
 decision by the arbitrator or a court order, you and Fabletics agree that that Dispute must be resolved exclusively by
 a state or federal court located in Los Angeles County, California. The parties agree that all related Disputes that can
 be arbitrated shall be arbitrated first, and any non-arbitrable Disputes shall be stayed until the completion of the
 arbitration.

 Unless either party or the arbitrator requests a hearing, the parties will submit their arguments and evidence to the
 arbitrator in writing. The arbitrator will make an award based only on the documents. This is called a Desk
 Arbitration. If any party makes a written request for a hearing within ten days after ADR Services acknowledges
 receipt of a claimant’s demand for arbitration (or the arbitrator requests a hearing), the parties shall participate in a
 telephone or video hearing. In no event shall the parties be required to travel to Los Angeles to participate in the
 arbitration. The arbitrator is authorized to hear motions for summary disposition. Notwithstanding any provision in
 the ADR Services’ rules to the contrary, and with the exception of Desk Arbitrations, the Federal Rules of Evidence
 shall govern the admissibility of evidence in any arbitral proceeding.

 The parties agree that all of the arbitration proceedings, including any discovery, hearings, and rulings, shall be
 confidential to the fullest extent permitted by law.

 The award shall be binding only among the parties and shall have no preclusive effect in any other arbitration or
 other proceeding involving a different party. The arbitrator shall follow the applicable law. The arbitrator has the
 same authority to award relief on an individual basis that a judge in a court of law would have.

 If at any time the arbitrator or arbitration administrator fails to enforce the terms of this arbitration agreement, either
 party may seek to enjoin the arbitration proceeding in a court of competent jurisdiction, and the arbitration shall
 automatically be stayed pending the outcome of that proceeding.

 The arbitral award shall be judicially enforceable. Any court of competent jurisdiction may, and upon request shall,
 enter judgment on the arbitral award. Either party may seek confirmation (judgment on the award) and/or
 enforcement in any court of competent jurisdiction. However, in any award issued in an arbitration conducted in
 accordance with this arbitration agreement, the arbitrator shall specify a reasonable time within which the final
 award shall be satisfied, and no party may seek to confirm the award until the time specified for satisfaction has
 expired. If the final award is satisfied during the specified time, no party shall seek to confirm the award.

 ARBITRATION FEES AND COSTS. The fees that shall apply to arbitrations administered by ADR Services are set
 forth on ADR Services’ website, available at https://www.adrservices.com/rate-fee-schedule/. Specifically, the fees
 set forth in ADR Services’ Mass Employment Arbitration Fee Schedule shall apply when twenty (20) or more
 arbitration claims are filed which: (1) involve the same or similar parties; (2) are based on the same or similar claims
 which arise from the same or substantially identical transactions, incidents, or events requiring the determination of




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 the same or substantially identical questions of law or fact; and (3) involve the same or coordinated counsel for the
 parties. In all other circumstances, the fees set forth in ADR Services’ General Fee Schedule shall apply, except that
 Fabletics will pay the portion of the initial case opening fees (if any) that exceeds the filing fee to file the case in a
 court of competent jurisdiction embracing the location of the arbitration. If the arbitrator finds that you cannot afford
 to pay ADR Services’ filing, administrative, hearing and/or other fees and cannot obtain a waiver of fees from ADR
 Services, Fabletics will pay them for you.

 Unless otherwise prohibited by law or the rules governing the arbitration, all disputes relating to or arising out of the
 payment of arbitration fees shall be decided only by a court of competent jurisdiction and not by an arbitrator or
 administrator, and the arbitration shall be stayed pending the resolution of such disputes by a court. Both parties
 agree not to oppose or interfere with any negotiations or agreements between the other party and the arbitration
 administrator, or individual arbitrator, relating to a party’s portion of the fees. The arbitrator, however, may disallow
 any private agreement between an administrator, on the one hand, and the negotiating party, on the other hand, if the
 arbitrator believes that the private agreement undermines his or her neutrality as arbitrator.

 If a party timely serves an offer of judgment under Federal Rule of Civil Procedure 68, and the judgment that the
 other party finally obtains is not more favorable than the unaccepted offer, then the other party shall pay the costs,
 including filing fees, incurred after the offer was made. Further, any finding by an arbitrator that a claim or
 counterclaim was filed for purposes of harassment or is frivolous under the standards set out in Federal Rule of Civil
 Procedure 11 shall entitle the other party to recover their attorneys’ fees, costs, and expenses.

 CLASS ACTION WAIVER (herein the "class action waiver"). Both you and Fabletics waive the right to bring any
 Dispute as a class, consolidated, representative, collective, or private attorney general action, or to participate in a
 class, consolidated, representative, collective, or private attorney general action regarding any such claim brought by
 anyone else. Nor shall the arbitrator have the authority or any jurisdiction to hear an arbitration as a class,
 consolidated, representative, or private attorney general action or to consolidate, join, or otherwise combine the
 claims of different persons into one proceeding. Consistent with their commitment to arbitrate all Disputes on an
 individualized basis, the parties also waive the right to bring any claims for public injunctive relief. To the extent
 applicable law prevents the parties from waiving a claim for public injunctive relief, all claims for public injunctive
 relief shall be heard by the arbitrator. Nothing in these Terms of Service prevent any party from participating in a
 settlement of a class, consolidated, representative, collective, or private attorney general action.

 SEVERABILITY. Except as otherwise provided herein, if any portion of this arbitration agreement is found to be
 unenforceable or unlawful for any reason, (1) the unenforceable or unlawful provision will be severed from this
 arbitration agreement, (2) the remainder of the arbitration agreement will be given full force and effect, and (3)
 severance of the unenforceable or unlawful provision will have no impact on the remainder of the arbitration
 agreement or the parties’ ability to compel arbitration of any remaining claims on an individual basis. In the event
 that a claim, cause of action or requested remedy is severed pursuant to this paragraph, then you and Fabletics agree
 that the claims, causes of action or requested remedies that are not subject to arbitration will be stayed until all
 arbitrable claims, causes of action and requested remedies are resolved by the arbitrator. If there is a final
 determination that applicable law precludes enforcement of the class action waiver as to any claim, cause of action
 or requested remedy, then that claim, cause of action or requested remedy will be severed and may be brought in a
 court of competent jurisdiction, but the waiver contained in this paragraph shall be enforced in arbitration on an
 individual basis as to all other claims, causes of action or requested remedies to the fullest extent possible.

 OPTING-OUT OF DISPUTE RESOLUTION PROCEDURE AND CLASS ACTION WAIVER

 You may elect to opt out (exclude yourself) from the final, binding arbitration procedure and the class action waiver
 specified in these Terms of Service by doing the following: within 15 days of setting up your Account, you must
 send a letter to Fabletics, LLC., c/o Legal Department, 800 Apollo Street, El Segundo, California 90245 that
 specifies (1) your name, (2) your account number or account member name, (3) your mailing address, and (4) your
 request to be excluded from the final, binding arbitration procedure and class action waiver specified in these Terms
 of Service. Each opt-out notice may opt out only one person; opt-out notices that attempt to opt out multiple people
 at the same time will be ineffective.

 If you opt out of this arbitration agreement, all other Terms shall continue to apply to your Account, including the




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 requirement to participate in pre-dispute mediation. Opting out of this arbitration agreement has no effect on any
 previous, other, or future arbitration agreements that you may have with us. Notwithstanding any provision in these
 Terms of Service to the contrary, we agree that, if Fabletics makes any future change to the dispute resolution
 procedure and class action waiver provisions (other than a change to Fabletics' address), you may reject any such
 change by sending a letter to Fabletics within 15 days of the change to the address provided above. By rejecting any
 future change, you are agreeing that you will arbitrate any Dispute between us in accordance with the language of
 this provision. Your letter must be postmarked by the applicable 15-day deadline to be effective. You are not
 required to send the letter by confirmed mail or return receipt requested, but it is recommended that you do so. Your
 request to be excluded will only be effective and enforceable if you can prove that the request was postmarked
 within the applicable 15-day deadline.

 NOTICE FOR CALIFORNIA USERS

 Under California Civil Code sections 1798.83-1798.84, California residents are entitled to ask us for a notice
 describing what categories of personal customer information Fabletics shares with third parties or corporate
 affiliates for those third parties or corporate affiliates' direct marketing purposes. That notice will identify the
 categories of information shared and will include a list of the third parties and affiliates with which it was shared,
 along with their names and addresses. If you are a California resident and would like a copy of this notice, please
 submit a written request to the following address: General Counsel, 800 Apollo Street, El Segundo, CA, 90245. In
 your request, please specify that you want a "Your Fabletics California Privacy Rights Notice". Please allow 30 days
 for a response.

 SHIPPING

 Shipping and handling charges are based on your subtotal order amount, calculated after applicable discounts and
 before sales tax. Rates are calculated as follows:

 Standard Shipping

                                                    48 Contiguous                         Alaska, Hawaii,
            Subtotal Amount
                                                     United States                      Puerto Rico, Australia

                                                        FREE                                   $9.00
            $49.95 and over
                                                  6-14 Business Days                     6-14 Business Days

                                                    $5.95 Flat Rate                            $9.00
             Under $49.95
                                                  6-14 Business Days                     6-14 Business Days

 Rush Shipping*

                                                    48 Contiguous                         Alaska, Hawaii,
            Subtotal Amount
                                                     United States                      Puerto Rico, Australia

                                                       $15.95
            $49.95 and over                                                                      N/A
                                                  2-3 Business Days

                                                       $15.95
             Under $49.95                                                                        N/A
                                                  2-3 Business Days

 * All delivery times above are based on average in-transit time. Orders shipped to Canada, P.O. Boxes and
 APOs/FPOs do not qualify for Rush Shipping.




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 Please note shipments arriving to Alaska, Hawaii, APO locations or Australia may be subject to longer transit times
 (up to 90 days) due to the carrier or location of station. At this time, expedited shipping is not available for Alaska,
 Hawaii, APO locations or Australia. All US orders are shipped FedEx via USPS and your order will be delivered by
 your local postal carrier. All Australia orders will be shipped via DHL.

 As soon as your order ships, you will be provided with a tracking number via email. You can also find your order
 details and tracking information on the Order History tab within the My Account section.

 RETURNS & EXCHANGES

 Fabletics strives to provide an amazing shopping experience and superior customer service. If for any reason you are
 not content with your order, we gladly accept returns and exchanges for US and Canada orders within 90 days from
 the date of shipment and in new, unused condition with original packaging. Exchanges are not available in Australia,
 and orders can only be returned. Some items purchased through special promotions may be final sale, and therefore
 not eligible for exchanges or returns (please refer to promotion disclaimers for the terms of each offer).

 Click Here Updates Related to Covid-19

 Accessories must be returned with all pieces included and intact, and apparel must also be returned unworn, with all
 tags still attached.

 In the US and Canada, 3 easy return options are offered: (1) return for member credit or store credit for free; (2)
 exchange for another item for free; (3) return for a refund*. Return shipping and handling for Australia and non-
 contiguous US territories, including Alaska, Hawaii, Puerto Rico and APOs, is $9.00.

 In Australia, 2 easy return options are offered: (1) return for member credit or store credit for free; (2) return for a
 refund. Exchanges are not offered in Australia. If you would like to exchange an item, please return the item and
 place a new order. Please note: new orders are subject to standard shipping rates.

 Please note that any member credit or store credit used to pay for an order will be returned as store credit and will
 not be eligible for a refund to a credit card.

 *Reward points associated with the purchase will be deducted from your account if you do choose a refund. Items
 redeemed through the rewards program are not eligible for returns or exchanges.

 Shipping Your Returns/Exchanges

 Returns and exchanges are easy! Just print your free return label and return packing slip by visiting the Order
 History page under My Account or you can obtain return label by calling our Customer Service Representatives by
 dialing our toll free number at 1-844-Fabletics (1-844-322-5384). Our Customer Service Representatives will email
 you our pre-paid return shipping label.

 Then follow these steps:

     •    Print label and return slip.
     •    Prepare package including return slip in the original, undamaged box and packaging.
     •    Attach the pre-paid return shipping label to your shipment.
     •    Drop it off at any USPS or FedEx location.

 GENERAL INFORMATION

 These Terms of Service constitute the entire agreement between you and Fabletics and govern your use of the
 Fabletics Services, and they supersede any prior agreements between you and Fabletics. You also may be subject to
 additional terms and conditions that are applicable to certain parts of the Fabletics Services. Fabletics may terminate
 this Agreement and deny you access to the Fabletics Services at any time, immediately and without notice, if in
 Fabletics' sole discretion you fail to comply with any provision of these Terms of Service.




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 You agree that no joint venture, partnership, employment, or agency relationship exists between Fabletics and you
 as a result of this Agreement or your use of the Fabletics Services.

 The failure of Fabletics to exercise or enforce any right or provision of these Terms of Service shall not constitute a
 waiver of such right or provision. The invalidity of any term, condition or provision in these Terms of Service shall
 not affect the enforceability of those portions of the Terms deemed enforceable by applicable courts of law.

 You may not assign the Terms or any of your rights or obligations under the Terms without Fabletics' express
 written consent. The Terms inure to the benefit of Fabletics' successors, assigns and licensees. The section titles in
 these Terms of Service are for convenience only and have no legal or contractual effect.

 Updated: April 12, 2022




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                        EXHIBIT G




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FABLETICS TERMS OF SERVICE, USE AND PURCHASE

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Company, “Fabletics”). Fabletics provides website features and other products and services to you when you visit,
shop or purchase items from this Site, access this Site from your mobile devices, or use software provided by
Fabletics in connection with any of the foregoing (collectively, “Fabletics Services”). Fabletics provides its products
and services subject to these Terms of Service.

By using the Fabletics Services, you agree to these conditions. Please read them carefully. These Terms of
Service include a mutual arbitration agreement, class action waiver, and limitations on liability.

By accessing or using this Site, mobile application or other Fabletics product or service on any computer, mobile
phone, tablet, console or other device (collectively, “Device”), you acknowledge and agree that you have read,
understand and agree to be bound by these Terms of Service and any other applicable law, whether or not you are a
registered member of Fabletics. You must be at least 18 years old to use this Site or Services. Fabletics may change
these Terms of Service at any time without notice. When we make changes, we will post them here. Your continued
use of the Fabletics Services or enrollment as a Fabletics VIP Member shall be considered your acceptance to the
revised Terms of Service. If you do not agree to these Terms of Service, please do not use this Site or any Fabletics
Services and immediately cancel your Fabletics VIP Membership by calling one of our customer service
representatives at 1-844-Fabletics (1-844-322-5384) or visiting us online to cancel.

ELECTRONIC COMMUNICATIONS

When you use any Fabletics Service, or send e-mails to us, you are communicating with us electronically. You
consent to receive communications from us electronically. We will communicate with you by e-mail or by posting
notices on this Site or through the other Fabletics Services. You agree that all agreements, notices, disclosures and
other communications that we provide to you electronically satisfy any legal requirement that such communications
be in writing.

SMS MESSAGING

When you provide your phone number and opt-in to Fabletics’ text message marketing program (the “Messaging
Service”), you agree to receive recurring automated promotional and personalized marketing text (e.g., SMS and
MMS) messages (e.g., cart reminders) from Fabletics, including text messages that may be sent using an automatic
telephone dialing system, to the mobile telephone number you provided when signing up or any other number that
you designate. Consent to receive automated marketing text messages is not a condition of any purchase. Reply
HELP for help and STOP to cancel. Message & Data rates may apply.

Message frequency will vary. Fabletics reserves the right to alter the frequency of messages sent at any time, so as to
increase or decrease the total number of sent messages. Fabletics also reserves the right to change the short code or
phone number from which messages are sent and we will notify you when we do so.

Not all mobile devices or handsets may be supported and our messages may not be deliverable in all areas. Fabletics,
its service providers and the mobile carriers supported by the program are not liable for delayed or undelivered
messages.

We are able to deliver messages to the following mobile phone carriers: Major carriers: AT&T, Verizon Wireless,
Sprint, T-Mobile, MetroPCS, U.S. Cellular, Alltel, Boost Mobile, Nextel, and Virgin Mobile. Minorcarriers:
1stPoint Communications, Aerialink, Alaska Communications Systems (ACS), Appalachian Wireless (EKN), Arctic
Slope Telephone Cooperative Association, ATNI (Commnet/Choice Wireless), Bandwidth (Republic Wireless), Bell
Mobility, Bluegrass Cellular, BreakAway Wireless, BrightlinkIP, Cambridge Telephone Company, Carolina West
Wireless, Cellcom, Cellone Nation, Cellular One of East Central IL (ECIT), Cellular One of Northeast Arizona,
Cellular One of Northeast Pennsylvania, Chariton Valley, Cincinnati Bell Wireless, Claro (Puerto Rico), Cooper




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Valley, Coral Wireless (Mobi PCS), Cordova Wireless, COX, Cricket Wireless, Cross, C-Spire, Custer Tel, Digital
Communications Consulting (DCC/OTZ Telecommunications), Duet, Element Mobile (Flat Wireless), Enflick
(TextNow), Epic Touch (Elkhart Telephone), Fido Mobile, Fizz Mobile, Freedom Mobile, GCI, Golden State,
Google Voice, GTA, Hawkeye (Chat Mobility), Hawkeye (NW Missouri), Illinois Valley Cellular, Indigo Wireless,
Inland Cellular,Inteliquent (Layered/Onvoy/UNREAL/FreedomPop), iWireless (Iowa Wireless), James Valley,
Keystone Wireless (Immix Wireless/PC Man), Mosaic (Consolidated or CTC Telecom), MTPCS, NE Colorado,
Nemont CDMA (Sagebrush Cellular), Nemont UMTS, Nex-Tech Wireless, NTelos, Nucla-Naturita Tel, Open
Mobile (Puerto Rico), Orange, Panhandle Communications, Peerless Networks, Pine Cellular, Pinger (Textfree),
Pioneer, Plateau (Texas RSA 3 Ltd), Plivo, PTCI (Panhandle Telephone Coop.), PTI Pacifica (IT&E), Revol, RINA,
Rogers Wireless, Sasktel, Simmetry (TMP Corporation), Shelcomm, Silver Star Communications, Snake River PCS
(Eagle Tel), SouthernLINC, Standing Rock, Strata Networks, Telnyx, Telus Mobiity, TextMe, Thumb Cellular,
Triangle Wireless, Trilogy, Truphone, TSG Global (Flextalk), Tychron, Union Wireless, United Wireless, Viaero
Wireless, Videotron Mobile, Viva, Viya, Washington RSA No. 8, West Central (WCC or 5 Star Wireless), and
Zipwhip.

Text the keyword STOP, END, CANCEL, UNSUBSCRIBE or QUIT to our shortcode to cancel. After texting
STOP, END, CANCEL, UNSUBSCRIBE or QUIT to our shortcode you will receive one additional message
confirming that your request has been processed. You acknowledge that our text message platform may not
recognize and respond to unsubscribe requests that do not include the STOP, END, CANCEL, UNSUBSCRIBE or
QUIT keyword commands and agree that Fabletics and its service providers will have no liability for failing to
honor such requests. If you unsubscribe from one of our text message programs, you may continue to receive text
messages from Fabletics through any other programs you have joined until you separately unsubscribe from those
programs.Text the keyword HELP to our shortcode to return customer care contact information. If you are
experiencing any problems with the Messaging Service, you may call us at 1-844-322-5384 or contact us through
live chat available 9am - 9pm (EST), 7 days a week.

FABLETICS MEMBERSHIP

Fabletics provides a monthly membership program that provides you access to the latest athletic wear trends and
many other perks. To get started, simply take our Lifestyle Quiz. Next, you must register and create a member
account through this Site ("Account"). After you have successfully created an Account, you will have the option to
select your favorite item(s) from the 'My Outfits' section of your Account ("Outfits"). There is no registration fee
and no obligation to purchase. Our Fabletics style experts will continue to determine which athletic wear outfits best
match your workouts and style. If you choose to create an Account, you agree to provide and maintain true,
accurate, current and complete information about yourself as prompted by the Fabletics registration form.
Registration data and certain other information about you are governed by our Privacy Policy.

VIP MEMBERSHIP PROGRAM

Fabletics offers members the opportunity to participate in its monthly membership program (the “VIP Membership
Program”). To become a Fabletics VIP Member, you must checkout as a VIP member when making a Fabletics
purchase on this Site or through an applicable Service. As a Fabletics VIP Member, our experts will send you a
customized selection of Fabletics products on the 1st day of every month. You will also receive emails, newsletters,
special offers and other updates to maximize your shopping experience. As a valued Fabletics VIP Member, you
will enjoy numerous perks and benefits such as exclusive VIP Member-only pricing, dedicated promotions, access
to the Fabletics FIT app, free shipping on orders over $49.95, free returns and exchanges within 90 days and access
to VIP events and parties. Fabletics VIP Members will also have access to Yitty VIP Membership perks, including
VIP Member-only pricing on Yitty products. You may cancel your Fabletics VIP Membership by calling one of our
customer service representatives at 1-844-Fabletics (1-844-322-5384) or by using live chat or online cancel options
in your Account.

HOW VIP MEMBERSHIP WORKS

Upon enrollment in the VIP Membership Program, you will receive new monthly customized selections of
merchandise on the first (1st) day of every month. You must log into your account and select the 'Skip the Month'
option between the 1st and the 5th of each month. If you do not ‘Skip the Month’ between the 1st and the 5th of the




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month your credit card or payment method will be charged an automatic monthly membership fee of $59.95 on the
6th (until you cancel) for enhanced monthly benefits, including a promotional member credit. All promotional
member credits will expire 12 months after the date of issuance. Promotional membership credits are non-
transferable and cannot be redeemed for cash or store credit. You may cancel your Fabletics VIP Membership by
calling one of our customer service representatives at 1-844-Fabletics (1-844-322-5384), or online, using live chat or
visiting your Account page.

Each promotional member credit will be applied to your Account and can be redeemed for any individual item or
two-piece outfits up to $100 in-store or on the Site, including www.yitty.fabletics.com (the “Yitty Site”). These
outfits and items may be valued below or above $59.95. You may ‘Skip’ as many months as you like, there is no
obligation to buy. Even if you decide to ‘Skip’ any month, you may return to your Account at any time to make a
purchase. If you ‘Skip’ any month, you will not have access to certain exclusive benefits for the remainder of that
month, including access to select styles, promotions and product pricing.

You may cancel your Fabletics VIP Membership Account at any time. If you wish to cancel your Account, simply
call our Fashion Consultants at 1-844-Fabletics (1-844-322-5384), 7 days a week. You may also cancel your VIP
Membership Account online by contacting us via online live chat or visiting your Account page. There is no
cancellation fee. Any remaining promotional member credits on your Account will expire 12 months after the date
on which they were issued. You may use any remaining unexpired promotional member credits after cancellation for
any individual item or two-piece outfits up to $100 in-store or on the Fabletics or Yitty Sites , but you will no longer
have access to discounted VIP member only pricing for any items purchased without a promotional member credit.
Please be advised that your Account may only be canceled by the registered Fabletics VIP Member or the holder of
the valid credit card or payment method on file related to your Account.

VIP MEMBER PERKS - VIP PRICING

As a Fabletics VIP Member, you have access to perks such as 20 to 50% off retail pricing on almost all items, free
shipping on orders over $49.95, access to the Fabletics FIT app (a $14.95 monthly value), free returns and
exchanges within 90 days, access to VIP events and parties, a free magazine subscription with purchase over $60,
and loyalty points on all orders.

Your Fabletics VIP Membership also includes access to Yitty VIP Membership perks including 20 to 50% off retail
pricing on almost all Yitty items on www.yitty.fabletics.com, access to exclusive styles and offers, free shipping on
Yitty orders over $49.95, free returns and exchanges within 90 days, and a free magazine subscription with a Yitty
purchase over $60.

The monthly $59.95 membership fee charge also unlocks additional membership perks and benefits. The
membership charge grants you access to an exclusive section of the Fabletics website with exclusive product
offerings, a special dedicated customer service line and support, special promotions and sales, and a promotional
credit that can be redeemed for any individual item or outfit up to $100 in-store or on the Fabletics or Yitty Sites.
Free shipping also applies to any purchases made with promotional credits. Additional membership benefits related
to the monthly membership charge coming soon!

You will also receive emails, newsletters, special offers and other updates to maximize your shopping experience.

FABLETICS AND YITTY MEMBERSHIPS

When you enroll in the Fabletics VIP Membership Program, you will also be given access to the VIP Membership
and related perks on the Yitty Site. For instance, a Fabletics VIP Member will also be able to purchase shapewear on
the Yitty Site at exclusive VIP Member pricing.

You may ‘Skip the Month’ through your Account between the 1st and the 5th of each month on either the Fabletics
or Yitty Site and this will ‘Skip’ your Account for both the Fabletics and Yitty brands for that month. If you do not
‘Skip the Month’ between the 1st and the 5th of the month on either Sites your credit card or payment method will
be charged an automatic monthly membership fee of $59.95 on the 6th (until you cancel) for enhanced monthly




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benefits, including a promotional member credit. This promotional member credit can be used on either the
Fabletics or Yitty Site or in-store and can be redeemed for any individual item or two-piece outfits up to $100.
Promotional member credits will expire 12 months after the date on which they were issued.

You may cancel your Fabletics VIP Membership Account at any time by calling 1-844-322-5384 (available 24/7),
contacting us via live chat or visiting your Account page. Please note that canceling your Fabletics VIP Membership
will also cancel your Yitty VIP Membership and you will no longer have access to Yitty VIP Member perks.

STORE CREDIT AND GIFT CARDS

From time to time, you may receive store credit from Fabletics. For instance, if you purchase an outfit with a
promotional member credit and only return part of your order, you will receive store credit for the returned item(s).
Also, if you use store credit to pay for an order, your return will be refunded as store credit to your Account.

Any store credit issued to you will be automatically converted into an electronic gift card if the store credit has not
been used following twelve (12) months from the date of issuance. Such gift card will be sent to you at the email
address registered on your Account. Gift cards can be used by you to purchase eligible merchandise at a price below
the regular retail price if you are a VIP Member at the time of redemption or at the regular retail price if you are a
Non-VIP Member. Gift cards can be broken and applied across multiple purchases on this Site or the Fabletics
Services. Additionally, gift cards are freely transferrable until they have been added to an Account. Once added, gift
cards cannot be transferred to another Account.

As of January 1, 2024, FLGC shall be the sole issuer and legal obligor with respect to all gift cards, including any
store credit issued prior to such date and converted into gift cards. FLGC is responsible for the management and
operation of the store credit conversation and gift card program. A converted store credit or gift card constitutes a
contract between you and FLGC. By agreeing to be bound by these Terms of Service, you expressly release the
Company from any liability with respect to your converted store credit and gift cards. You acknowledge that any
such liability is the sole responsibility of FLGC.

Store credit and gift cards are not refundable or redeemable for cash, except to the extent required by law. Store
credit and gift cards can only be used toward purchasing Fabletics or YITTY items on the Site or through the
Fabletics Services. Store credit may be redeemed in multiple transactions and are non-transferrable. Gift cards may
be redeemed in multiple transactions and are transferrable to another account prior to redemption. Please note, once
you use a gift card, any remaining value from the gift card will be automatically credited back to your Account
under the “store credit” section.

Your Account reflects the balance of your store credit. The Account balance will be adjusted as store credit is
converted to gift cards. Gift cards do not expire, and there are no fees associated with any gift cards. You are
responsible for safeguarding your gift card from unauthorized use. FLGC is not responsible if any gift card is lost,
stolen, destroyed, or used without your permission. The risk of loss and title to such gift cards passes to the
purchaser upon FLGC’s electronic transmission to the recipient.

FLGC LIMITATION OF LIABILITY

GIFT CARDS ARE PROVIDED ON AN ‘AS IS’ BASIS. TO THE FULLEST EXTENT PERMITTED BY LAW,
FLGC MAKES NO WARRANTIES, EXPRESS OR IMPLIED, WITH RESPECT TO STORE CREDIT OR GIFT
CARDS INCLUDING, WITHOUT LIMITATION, ANY EXPRESS OR IMPLIED WARRANTY OR
MERCHANTABILITY OR FITNESS FOR A PARTICULAR PURPOSE. IN THE EVENT THAT A STORE
CREDIT OR GIFT CARD IS NON-FUNCTIONAL, YOUR SOLE REMEDY, AND OUR SOLE LIABILITY,
SHALL BE THE REPLACEMENT OF SUCH STORE CREDIT OR GIFT CARD. CERTAIN STATE LAWS DO
NOT ALLOW LIMITATIONS ON IMPLIED WARRANTIES OR THE EXCLUSION OR LIMITATION OR
CERTAIN DAMAGES. IF THESE LAWS APPLY TO YOU, SOME OR ALL OF THE ABOVE DISCLAIMERS,
EXCLUSIONS, OR LIMITATIONS MAY NOT APPLY TO YOU.




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If you have any questions regarding our gift card policies please send all inquiries to Fabletics GC, LLC, 800 Apollo
Street, CA 90245, Attention: General Counsel, or contact our representatives at 1-844-322-5384.

MOBILE APPLICATIONS

With your Fabletics VIP Membership, you may access the Fabletics Fitness App available at the Apple App Store.
Access to the Fabletics Fitness App is contingent on maintaining an active VIP Membership. If you cancel your
Fabletics or Yitty VIP Membership or your Fabletics or Yitty VIP Membership is terminated for any reason, you
will no longer be able to use the services offered on the Apps. To use or access the Services through the Fabletics
Fitness App, you will need a supported mobile device with adequate software. Fabletics cannot guarantee the
Fabletics Fitness App will be compatible with, or available on, your device. It is your responsibility to ensure your
mobile device’s functionality. Further, your mobile phone company’s normal messaging, data, and other rates and
fees will still apply and you shall be responsible for any such charges. Please check with your Internet or mobile
phone provider for information on possible data usage charges.

By downloading or using the Fabletics Fitness App, you expressly agree we may communicate with you regarding
transactions you have initiated on the Services or respond to your communications to us through the Services by
SMS, MMS, text message or other electronic means directed to your device and that certain information about your
usage of the Fabletics Fitness App may be communicated to us automatically from your device. Fabletics will not
send you direct marketing messages without your prior express consent and you can opt out of receiving any
marketing messages at any time. In addition, Fabletics may require you to accept updates to the Fabletics Fitness
App that you have installed on your mobile device. You acknowledge and agree that Fabletics may update the Apps
and the Services without notification to you.

Fabletics hereby grants you a limited, personal, non-exclusive, non-transferable, non-sublicensable, revocable
license to: (1) access and use the Fabletics Services and related content; (2) access and use the software and the
Fabletics Fitness App downloaded directly from a legitimate marketplace solely for your personal use for lawful
purposes. With respect to any open source code or software that may be incorporated in the Fabletics Fitness App,
your license shall be subject to such open source or third-party license, if any, authorizing use of such code.

APP STORE

The following terms apply to the third-party platform from which you accessed or downloaded the Fabletics Fitness
App, e.g., the Apple App Store (“App Store”). You acknowledge that this Agreement is between you and Fabletics
and not with the App Store. Fabletics, not the App Store, is solely responsible for the Services, the content thereof,
maintenance, support services, and warranty therefor, and addressing any claims relating thereto.

NOT MEDICAL ADVICE

You expressly acknowledge and agree that Fabletics is not providing medical advice via the Services. All content
provided through the Services, whether provided by Fabletics or third parties including from any personal trainers,
shall not be used as a substitute for professional medical consultation, advice, diagnosis or treatment from a
physician or other healthcare professional. You should consult with your physician or other healthcare professional
before engaging in any physical activity, exercise program or making any dietary changes. If you have any concerns
or questions about your health, you should always consult with a physician or other healthcare professional.

To the extent permitted by applicable law, Fabletics is not responsible for any health problems, injuries or damages
that may result from your use of, or inability to use, the Fabletics Services, which includes but is not limited to, any
training programs, activities, dietary recommendations, consultations, products, events or other information you
learn through the Fabletics Services. Do not ignore or delay in obtaining professional medical advice or treatment
because of information accessed through the Site, the Fabletics Fitness App or Services. If think you are
experiencing a medical emergency, stop using the Fabletics Service and immediately contact a medical professional
or your local emergency services.

You expressly acknowledge and agree that the exercise activities offered through the Services carry certain inherent
and significant risks of property damage, bodily injury, or death. If you engage in any exercise programs or physical




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activity through the Fabletics Services, you agree that you do so at your own risk and that you voluntarily assume all
known and unknown risks associated with these activities, even if caused in whole or part by the action, inaction, or
negligence of Fabletics or by the action, inaction, or negligence of others. Fabletics assumes no responsibility for
any act, omission, activity, product or service of any personal trainer featured through the Services. Fabletics does
not guarantee any results in connection with the Services.

RISK OF LOSS/TITLE

The risk of loss and title for products purchased on the Site or through the Fabletics Services passes to the purchaser
upon our delivery to the carrier. Replacement of products and credits to your account for shipped merchandise
claimed as not received are subject to our investigation. We will adjust your account at our discretion. Fabletics does
not take title to returned items until the item arrives at our fulfillment center. At our discretion, a refund may be
issued without requiring a return. In this situation, Fabletics does not take title to the refunded item. Certain products
may be shipped from Mexico, and for such goods consumers consent to and authorize G-Broker, Inc., as the US
customs broker and G-Broker, Inc., shall act as the consumers agent to transact business with U.S. Customs and
Border Protection agency to clear merchandise and account for applicable duties and taxes.

SALES & USE TAXES

Fabletics reserves the right to collect sales tax in any jurisdictions if it believes that such collection is required by
law. Fabletics also reserves the right to collect fees associated with tariff taxes and surcharges.

For states imposing sales or use taxes, your purchase may be subject to use tax unless it is specifically exempt from
taxation. Your purchase is not exempt merely because it is made over the Internet or by other remote means. Many
states require purchasers to file a sales/use tax return at the end of the year reporting all of the taxable purchases that
were not taxed and to pay tax on those purchases. You may have a tax obligation in states where Fabletics does not
collect sales tax. Details of how to report these taxes may be found at the websites of your respective taxing
authorities.

RETAIL DELIVERY FEE

Several states impose a non-refundable retail delivery fee on all deliveries by motor vehicle to a location within their
respective state. Although the cost of the fee varies by state, it generally applies to any delivery with at least one
item of tangible personal property subject to state sales or use tax. Fabletics is liable to collect and remit the fee on
each order in accordance with state law. The fee applies to the entire order regardless of the number of items in an
order and how many shipments are needed to deliver the items ordered. The retail delivery fee is not refundable on
orders that are returned for a credit or refund including sales tax.

PAYMENT INFORMATION

To make purchases through the Fabletics Services or to become a Fabletics VIP you must submit credit card
information or another valid payment method that is acceptable to Fabletics. You represent and warrant to Fabletics
that such information is true and that you are authorized to use the payment instrument. You will promptly update
your Account information with any changes (for example, a change in your billing address or credit card expiration
date) that may occur. You authorize Fabletics to use any updated credit card information submitted by your credit
card company directly to Fabletics and if there is no updated credit card information Fabletics may use additional
payment methods you have provided as a default payment option. If you dispute any charges, you must inform
Fabletics within thirty (30) days upon receipt of Fabletics’ invoice. We reserve the right to change Fabletics prices,
fees or the number of Member Credits required to purchase items. Your continued use of the Fabletics Services after
the price change becomes effective constitutes your agreement to pay the changed amount.

ACCOUNT CONFIDENTIALITY AND ACCESS

You are solely responsible for maintaining the confidentiality of your Account, all activities occurring under your
Account and all access to and use of the Fabletics Services by anyone using your Account, whether or not such




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activities and access are actually authorized by you, including but not limited to all communications, transactions
and obligations. You agree to accept responsibility for all activities that occur under your account and password.
Fabletics shall not be liable or responsible for any loss or damage arising from any unauthorized use, access or any
other breach of security of your Account, including but not limited to your member sign-in password and email
address. You acknowledge and accept that your use of the Fabletics Services is in compliance with these Terms of
Service. You further acknowledge and accept that Fabletics shall have no obligation to investigate the authorization
or source of any Account activity, including purchase activity following a proper log-in to this Site or any Services,
which is defined as a matching and current member sign-in and user password. You shall notify Fabletics
immediately of any unauthorized access to your Account or any other unauthorized use of any Fabletics Services.

You agree that Fabletics may, without prior notice, immediately terminate, limit your access to or suspend your
Account based on any of the following: (a) breach or violation of these Terms of Service; (b) upon request by law
enforcement; (c) unforeseeable technical or security issues or problems; (d) extended periods of inactivity; or (e)
fraudulent, deceptive or illegal activity, or any other activity which Fabletics believes is harmful to its business
interests; or (f) for no reason. You agree that any termination, limitation of access and/or suspension shall be made
in the Fabletics’ sole discretion and that Fabletics shall not be liable to you or any third party for the termination,
limitation of access and/or suspension of your Account.

PROHIBITED USES

Any and all Fabletics Services may be used only for lawful purposes and are available only for your personal,
noncommercial use, which shall be limited to viewing this Site, using the Apps, purchasing products, providing
information to Fabletics, and downloading product information for your personal review. You shall not use the
Services to sell a product or service, increase traffic to your own website or a third-party website for commercial
reasons or otherwise undertake any endeavor aimed at deriving revenue. You are responsible for your own
communications, including the transmission, posting, and uploading of information and are responsible for the
consequences of such communications. Fabletics specifically prohibits any use of the Fabletics Service, and requires
all users to agree not to use the Fabletics Services, for any of the following:

• Posting any information which is incomplete, false, inaccurate or not your own;

• Creating multiple accounts for the same user;

• Accessing data not intended for you or logging on to a Fabletics server or account, which you are not authorized to
access;

• Engaging in conduct that would constitute a criminal offense, giving rise to civil liability or otherwise violate any
city, state, national or international law or regulation that would fail to comply with accepted Internet protocol;

• Communicating, transmitting, or posting material that is copyrighted or otherwise owned by a third party unless
you are the copyright owner or have the permission of the owner to post it;

• Communicating, transmitting, or posting material that reveals trade secrets, unless you own them or have the
permission of the owner;

• Communicating, transmitting, or posting material that infringes on any other intellectual property, privacy or
publicity right of another;

• Communicating, transmitting, or transferring (by any means) information or software derived from the site to
foreign countries or certain foreign nations in violation of any applicable export control laws;

• Attempting to interfere in any way with this Site’s or the Apps’ network security, or attempting to use this Site’s or
the Apps’ service to gain unauthorized access to any other computer system;

• Communicating, transmitting, or posting material that is in violation of applicable laws or regulations;




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• Attempting to probe, scan or test the vulnerability of a system or network or to breach security or authentication
measures without proper authorization (or succeeding in such an attempt);

• Attempting to interfere or interfering with the operation of this Site, or the Apps, Fabletics’ provision of services to
any other visitors or users to this Site or the Apps, Fabletics hosting provider or networks, including, without
limitation, via means of submitting a virus to this Site or the Apps, overloading, "flooding", "mailbombing" or
"crashing" this Site or the Apps;

• Forging any TCP/IP packet header or any part of the header information in any e-mail or transmission or posting to
this Site or the Apps.

USER CONTENT

Any and all content, comments, feedback, advice, suggestions, ideas, concepts, photos, questions or other
communications (collectively, “User Content”) that you submit or post through any Fabletics Services shall be
deemed non-confidential and non-proprietary. By submitting or posting any User Content, you grant to Fabletics and
its affiliates a perpetual, irrevocable, royalty-free, worldwide, sublicensable and transferable license to copy,
publish, translate, modify, create derivative works from, distribute, reproduce, display, or use the User Content in
any commercial or non-commercial manner whatsoever. Fabletics will be free to use any ideas, concepts, know-how
or techniques contained in such User Content for any purpose whatsoever, including but not limited to developing,
manufacturing and marketing products that incorporate or otherwise rely upon such information. Fabletics shall have
no obligation to monitor User Content, use or display User Content, compensate you for submitting User Content, or
respond to any User Content. You are solely responsible for your use of any User Content you post, including the
transmission, accuracy and completeness of the User Content. In addition, relying on any User Content by other
users is at your own risk. To the extent permitted by applicable law, under no circumstances will Fabletics be
responsible or liable for any loss or damage resulting from your reliance on information, advice or other User
Content provided by any user of our Services. Fabletics retains the right, in its sole discretion and without prior
notice, to remove, revise or refuse to post any User Content for any reason or no reason.

By connecting to Fabletics with a third-party service (e.g., Facebook or Twitter), you give us permission to access
and use your information from that service as permitted by that service, and to store your log-in credentials for that
service. For more information on the types of information we collect from these third-party services, please read
our Privacy Policy.

If you utilize your Facebook account to access and use the social features available through the Fabletics Services,
you can choose whether or not you wish to share content or information related to your Account on Facebook. You
agree that Fabletics is not responsible for any content or information related to your Account once it is shared and
posted on Facebook. If you use the Fabletics Services and its social features, you agree to respect other users of the
Fabletics Services in your interactions with them. Fabletics reserves the right, in its absolute discretion, to disable
your account if it believes that you are violating any term or condition set forth herein.

By submitting User Content, you represent and warrant that the User Content does not (i) contain false or misleading
information, (ii) infringe on the intellectual property rights of any third party, (iii) contain any libelous, defamatory,
obscene, offensive, threatening or otherwise harassing content, (iv) contain any addresses, email addresses, phone
numbers or any contact information, or (v) contain computer viruses, worms or other harmful files. You are solely
responsible for the User Content and you hereby agree to indemnify and hold Fabletics and its employees, agents
and affiliates harmless from any and all damages, claims, expenses, costs or fees arising from or in connection with
a breach of any of the foregoing representations or your violation of any law or rights of a third party.

PRODUCT INFORMATION

Prices, descriptions and availability of products are subject to change without notice. Errors may be corrected when
discovered, and Fabletics reserves the right to revoke any stated offer in order to correct any errors or inaccuracies.
Although Fabletics has made every effort to display our products and their colors as accurately as possible, the
displayed colors of the products depend upon the monitor of the user, and Fabletics cannot guarantee that the user’s
monitor will accurately portray the actual colors of the products. Products displayed may be out-of-stock or




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discontinued, and prices are subject to change. Fabletics is not responsible for typographical errors regarding price
or any other matter.

PURCHASE CANCELLATIONS

All orders placed through any Fabletics Services are subject to Fabletics’ acceptance. This means that Fabletics may
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THESE TERMS OF SERVICE, YOUR SOLE AND EXCLUSIVE REMEDY IS TO DISCONTINUE USE OF
THE FABLETICS SERVICES. IF A PRODUCT OFFERED THROUGH THE FABLETICS SERVICES IS NOT
AS DESCRIBED, YOUR SOLE REMEDY IS TO RETURN IT IN ACCORDANCE WITH THE RETURN
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INDEMNITY AND RELEASE

You agree to indemnify and hold Fabletics and its parent, subsidiaries, affiliates, officers, agents and employees
harmless from any and all liabilities, claims, demands, actions, suits, losses, obligations, judgments, proceedings,
damages, expenses and costs (including reasonable attorneys' fees), based upon, arising from or related to (a)
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negligent or wrongful conduct); including any exercise activities provided by personal trainers or interaction with
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DISPUTE RESOLUTION AND MUTUAL ARBITRATION AGREEMENT

GOVERNING LAW

Use of the Fabletics Services, membership in the Fabletics VIP Membership Program, any purchases made through
the Fabletics Services, and any controversy, claim or dispute arising out of or relating in any way to your use of the
Fabletics Services, your membership in or purchases through the Fabletics Services, Fabletics VIP Membership
Program and/or your Account, or products purchased through the Fabletics Services (collectively, “Disputes”) shall
be governed by the laws of your home state of residence without respect to its choice (or conflict) of laws rules.

All Disputes between Fabletics and you must be commenced within one (1) year after the claim or cause of action
arose.

FORUM SELECTION/JURISDICTION

Jurisdiction and venue for all Disputes shall be in Los Angeles, California. Each party submits to personal
jurisdiction and venue in that forum for any and all purposes.

AGREEMENT TO PRE-ARBITRATION NOTIFICATION

These Terms of Service provide for final, binding arbitration of all Disputes (discussed immediately below).
Fabletics and you agree, however, that it would be advantageous to discuss and hopefully resolve any Disputes
before arbitration proceedings or any other proceedings authorized herein are initiated. In the event of a Dispute, the
claimant whether you or Fabletics shall send a letter to the other side briefly summarizing the claim and the request
for relief. If Fabletics is the claimant, the letter shall be sent, via email, to the email account listed in your Account.
If you are the claimant, the letter shall be sent to Fabletics, LLC, Attn: General Counsel, 800 Apollo Street, El
Segundo, California 90245. The parties agree that, before either party demands arbitration against the other, we will
personally meet and confer, via telephone or videoconference, in a good-faith effort to resolve informally the
Dispute. If you are represented by counsel, your counsel may participate in the conference, but you shall also fully
participate in the conference. Engaging in this informal dispute resolution conference is a requirement that must be
fulfilled before commencing arbitration. If the Dispute is not resolved within 60 days after the letter is sent, the
claimant may proceed to initiate arbitration proceedings or any other proceedings authorized herein. The statute of
limitations and any arbitration filing fee deadlines shall be tolled while the parties engage in the informal dispute
resolution process required by this paragraph.

AGREEMENT TO ARBITRATE CLAIMS

Except to the limited extent noted below, all Disputes shall be resolved by final, binding, and bilateral arbitration
between you and Fabletics.

The arbitration shall take place in Los Angeles County, California and be administered by ADR Services, Inc. and
shall be subject to ADR Services’ most current version of its Arbitration Rules, available at
https://www.adrservices.com/services/arbitration-rules or by calling ADR Services at 310-201-0010. If ADR
Services is not available to arbitrate, the parties will mutually select an alternative arbitral forum, and either Party
may invoke 9 U.S.C. § 5 to request that a court appoint an arbitration provider. To the extent there is a dispute over
which arbitration provider shall administer the arbitration, only a court (and not an arbitrator or arbitration
administer) may resolve that dispute, and the arbitration shall be stayed pending the court’s ruling.

The arbitration demand must include (1) the name, telephone number, mailing address, username and e-mail address
of the party seeking arbitration; (2) a statement of the legal claims being asserted and the factual bases of those
claims; (3) a description of the remedy sought and an accurate, good-faith calculation of the amount in controversy,
enumerated in United States Dollars (any request for injunctive relief or attorneys’ fees shall not count toward the
calculation of the amount in controversy unless such injunctive relief seeks the payment of money); and (4) the
signature of the party seeking arbitration. Counsel for any party bringing an arbitration demand must also provide a
certification that, to the best of counsel’s knowledge, information, and belief, formed after an inquiry reasonable
under the circumstances, (1) the demand for arbitration is not being presented for any improper purpose, such as to




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harass, cause unnecessary delay, or needlessly increase the cost of dispute resolution; (2) the claims and other legal
contentions are warranted by existing law or by a nonfrivolous argument for extending, modifying, or reversing
existing law or for establishing new law; and (3) the factual contentions have evidentiary support, or if specifically
so identified, will likely have evidentiary support after a reasonable opportunity for further investigation or
discovery.

This arbitration agreement is subject to the Federal Arbitration Act and is enforceable pursuant to its terms on a self-
executing basis. The parties agree that these Terms of Service evidence transactions involving interstate commerce.
If for whatever reason the rules and procedures of the FAA cannot apply, the state law governing arbitration
agreements in the state in which you reside shall apply.

The arbitrator (and not a court) shall determine any and all challenges to the arbitrability of a claim, including
disputes about the scope, applicability, enforceability, revocability, or validity of this arbitration agreement.
However, all disputes related to the enforceability and applicability of the class action waiver (see below) shall be
resolved by a court and not an arbitrator. In the event that the arbitration agreement is found not to apply to you or to
a particular Dispute, either as a result of your decision to opt out of the agreement to arbitrate, or as a result of a
decision by the arbitrator or a court order, you and Fabletics agree that that Dispute must be resolved exclusively by
a state or federal court located in Los Angeles County, California. The parties agree that all related Disputes that can
be arbitrated shall be arbitrated first, and any non-arbitrable Disputes shall be stayed until the completion of the
arbitration.

Unless either party or the arbitrator requests a hearing, the parties will submit their arguments and evidence to the
arbitrator in writing. The arbitrator will make an award based only on the documents. This is called a Desk
Arbitration. If any party makes a written request for a hearing within ten days after ADR Services acknowledges
receipt of a claimant’s demand for arbitration (or the arbitrator requests a hearing), the parties shall participate in a
telephone or video hearing. In no event shall the parties be required to travel to Los Angeles to participate in the
arbitration. The arbitrator is authorized to hear motions for summary disposition. Notwithstanding any provision in
the ADR Services’ rules to the contrary, and with the exception of Desk Arbitrations, the Federal Rules of Evidence
shall govern the admissibility of evidence in any arbitral proceeding.

The parties agree that all of the arbitration proceedings, including any discovery, hearings, and rulings, shall be
confidential to the fullest extent permitted by law.

The award shall be binding only among the parties and shall have no preclusive effect in any other arbitration or
other proceeding involving a different party. The arbitrator shall follow the applicable law. The arbitrator has the
same authority to award relief on an individual basis that a judge in a court of law would have.

If at any time the arbitrator or arbitration administrator fails to enforce the terms of this arbitration agreement, either
party may seek to enjoin the arbitration proceeding in a court of competent jurisdiction, and the arbitration shall
automatically be stayed pending the outcome of that proceeding.

The arbitral award shall be judicially enforceable. Any court of competent jurisdiction may, and upon request shall,
enter judgment on the arbitral award. Either party may seek confirmation (judgment on the award) and/or
enforcement in any court of competent jurisdiction. However, in any award issued in an arbitration conducted in
accordance with this arbitration agreement, the arbitrator shall specify a reasonable time within which the final
award shall be satisfied, and no party may seek to confirm the award until the time specified for satisfaction has
expired. If the final award is satisfied during the specified time, no party shall seek to confirm the award.

ARBITRATION FEES AND COSTS. The fees that shall apply to arbitrations administered by ADR Services are set
forth on ADR Services’ website, available at https://www.adrservices.com/rate-fee-schedule/. Specifically, the fees
set forth in ADR Services’ Mass Employment Arbitration Fee Schedule shall apply when twenty (20) or more
arbitration claims are filed which: (1) involve the same or similar parties; (2) are based on the same or similar claims
which arise from the same or substantially identical transactions, incidents, or events requiring the determination of
the same or substantially identical questions of law or fact; and (3) involve the same or coordinated counsel for the
parties. In all other circumstances, the fees set forth in ADR Services’ General Fee Schedule shall apply, except that
Fabletics will pay the portion of the initial case opening fees (if any) that exceeds the filing fee to file the case in a




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court of competent jurisdiction embracing the location of the arbitration. If the arbitrator finds that you cannot afford
to pay ADR Services’ filing, administrative, hearing and/or other fees and cannot obtain a waiver of fees from ADR
Services, Fabletics will pay them for you.

Unless otherwise prohibited by law or the rules governing the arbitration, all disputes relating to or arising out of the
payment of arbitration fees shall be decided only by a court of competent jurisdiction and not by an arbitrator or
administrator, and the arbitration shall be stayed pending the resolution of such disputes by a court. Both parties
agree not to oppose or interfere with any negotiations or agreements between the other party and the arbitration
administrator, or individual arbitrator, relating to a party’s portion of the fees. The arbitrator, however, may disallow
any private agreement between an administrator, on the one hand, and the negotiating party, on the other hand, if the
arbitrator believes that the private agreement undermines his or her neutrality as arbitrator.

If a party timely serves an offer of judgment under Federal Rule of Civil Procedure 68, and the judgment that the
other party finally obtains is not more favorable than the unaccepted offer, then the other party shall pay the costs,
including filing fees, incurred after the offer was made. Further, any finding by an arbitrator that a claim or
counterclaim was filed for purposes of harassment or is frivolous under the standards set out in Federal Rule of Civil
Procedure 11 shall entitle the other party to recover their attorneys’ fees, costs, and expenses.

CLASS ACTION WAIVER (herein the "class action waiver"). Both you and Fabletics waive the right to bring any
Dispute as a class, consolidated, representative, collective, or private attorney general action, or to participate in a
class, consolidated, representative, collective, or private attorney general action regarding any such claim brought by
anyone else. Nor shall the arbitrator have the authority or any jurisdiction to hear an arbitration as a class,
consolidated, representative, or private attorney general action or to consolidate, join, or otherwise combine the
claims of different persons into one proceeding. Consistent with their commitment to arbitrate all Disputes on an
individualized basis, the parties also waive the right to bring any claims for public injunctive relief. To the extent
applicable law prevents the parties from waiving a claim for public injunctive relief, all claims for public injunctive
relief shall be heard by the arbitrator. Nothing in these Terms of Service prevent any party from participating in a
settlement of a class, consolidated, representative, collective, or private attorney general action.

SEVERABILITY. Except as otherwise provided herein, if any portion of this arbitration agreement is found to be
unenforceable or unlawful for any reason, (1) the unenforceable or unlawful provision will be severed from this
arbitration agreement, (2) the remainder of the arbitration agreement will be given full force and effect, and (3)
severance of the unenforceable or unlawful provision will have no impact on the remainder of the arbitration
agreement or the parties’ ability to compel arbitration of any remaining claims on an individual basis. In the event
that a claim, cause of action or requested remedy is severed pursuant to this paragraph, then you and Fabletics agree
that the claims, causes of action or requested remedies that are not subject to arbitration will be stayed until all
arbitrable claims, causes of action and requested remedies are resolved by the arbitrator. If there is a final
determination that applicable law precludes enforcement of the class action waiver as to any claim, cause of action
or requested remedy, then that claim, cause of action or requested remedy will be severed and may be brought in a
court of competent jurisdiction, but the waiver contained in this paragraph shall be enforced in arbitration on an
individual basis as to all other claims, causes of action or requested remedies to the fullest extent possible.

OPTING-OUT OF DISPUTE RESOLUTION PROCEDURE AND CLASS ACTION WAIVER

You may elect to opt out (exclude yourself) from the final, binding arbitration procedure and the class action waiver
specified in these Terms of Service by doing the following: within 15 days of setting up your Account, you must
send a letter to Fabletics, LLC., c/o Legal Department, 800 Apollo Street, El Segundo, California 90245 that
specifies (1) your name, (2) your account number or account member name, (3) your mailing address, and (4) your
request to be excluded from the final, binding arbitration procedure and class action waiver specified in these Terms
of Service. Each opt-out notice may opt out only one person; opt-out notices that attempt to opt out multiple people
at the same time will be ineffective.

If you opt out of this arbitration agreement, all other Terms shall continue to apply to your Account, including the
requirement to participate in pre-dispute mediation. Opting out of this arbitration agreement has no effect on any
previous, other, or future arbitration agreements that you may have with us. Notwithstanding any provision in these
Terms of Service to the contrary, we agree that, if Fabletics makes any future change to the dispute resolution




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procedure and class action waiver provisions (other than a change to Fabletics' address), you may reject any such
change by sending a letter to Fabletics within 15 days of the change to the address provided above. By rejecting any
future change, you are agreeing that you will arbitrate any Dispute between us in accordance with the language of
this provision. Your letter must be postmarked by the applicable 15-day deadline to be effective. You are not
required to send the letter by confirmed mail or return receipt requested, but it is recommended that you do so. Your
request to be excluded will only be effective and enforceable if you can prove that the request was postmarked
within the applicable 15-day deadline.

NOTICE FOR CALIFORNIA USERS

Under California Civil Code sections 1798.83-1798.84, California residents are entitled to ask us for a notice
describing what categories of personal customer information Fabletics shares with third parties or corporate
affiliates for those third parties or corporate affiliates' direct marketing purposes. That notice will identify the
categories of information shared and will include a list of the third parties and affiliates with which it was shared,
along with their names and addresses. If you are a California resident and would like a copy of this notice, please
submit a written request to the following address: General Counsel, 800 Apollo Street, El Segundo, CA, 90245. In
your request, please specify that you want a "Your Fabletics California Privacy Rights Notice". Please allow 30 days
for a response.

GENERAL INFORMATION

These Terms of Service constitute the entire agreement between you and Fabletics and govern your use of the
Fabletics Services, and they supersede any prior agreements between you and Fabletics. You also may be subject to
additional terms and conditions that are applicable to certain parts of the Fabletics Services. Fabletics may terminate
this Agreement and deny you access to the Fabletics Services at any time, immediately and without notice, if in
Fabletics' sole discretion you fail to comply with any provision of these Terms of Service.

You agree that no joint venture, partnership, employment, or agency relationship exists between Fabletics and you
as a result of this Agreement or your use of the Fabletics Services.

The failure of Fabletics to exercise or enforce any right or provision of these Terms of Service shall not constitute a
waiver of such right or provision. The invalidity of any term, condition or provision in these Terms of Service shall
not affect the enforceability of those portions of the Terms deemed enforceable by applicable courts of law.

You may not assign the Terms or any of your rights or obligations under the Terms without Fabletics' express
written consent. The Terms inure to the benefit of Fabletics' successors, assigns and licensees. The section titles in
these Terms of Service are for convenience only and have no legal or contractual effect.

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Error Screen if Membership Terms are not accepted




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                       EXHIBIT I




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                                       SAVE BIG WHEN YOU BECOME A VIP!                                           prIcES BELOW INCLUDE NEW VIP DISCOUNT


    =                 WOMEN     MEN   SCRUBS           YITTY     MEMBERSHIP        ABOUT US                                              Q_      Search                                    Already a member?   Signin




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                                                                     Stop by one of our 100+ RETAIL STORES and enjoy special events, workouts,
                                                                                     and a personalized shopping experience.




      Filter by State:                 109 Stores in North America



      Show All

      Alabama                              The Summit At Birmingham                Scrubs Available In-Store                                          Monday                   10:00AM - 9:00PM
                                           Birmingham, AL                                                                                             Tuesday                  10:00AM - 9:00PM
      Arizona
                                                                                                                                                      Wednesday                10:00AM - 9:00PM
     California                            200 Summit Blvd, 110                                                                                       Thursday                 10:00AM - 9:00PM
                                           Birmingham, AL 35243
      Colorado                             (205) 506-2554                                                                                             Friday                   10:00AM - 9:00PM
                       .                                                                                                                              Saturday                 10:00AM - 9:00PM
      Connecticut                                          o.
                                           Get Directions                                                                                             Sunday                  11:00AM - 06:00PM
      Delaware

      Florida

      Georgia                                           ;                                                                                                                           .
                                           Chandler Fashion Center Scrubs Available In-Store                                                          Monday                   10:00AM - 9:00PM
      Hawaii                               Chandler, AZ                                                                                               Tuesday                  10:00AM - 9:00PM

      lowa                                                                                                                                            Wednesday                10:00AM - 9:00PM
                                           3111 West Chandler Blivd., Suite 1042                                                                      Thursday                 10:00AM - 9:00PM
      Idaho                                Chandler, AZ 85226
                                           (480)847-6915                                                                                              Friday                   10:00AM - 9:00PM
      Illinois
                                                                                                                                                      Saturday                 10:00AM - 9:00PM

      Indiana                              GetDirections                                                                                              Sunday                    11:00AM - 6:00PM
      Kansas

      Kentucky

      Massachusetts                        Arrowhead Towne Center Coming Soon! May 2025                                                                   Monday                  closed - closed

      Maryland                             Glendale, AZ                                                                                                   Tuesday                 closed - closed
                 a                                                                                                                                        Wednesday               closed - closed
     Michigan                              7700West Arrowhead Towne Center, Suite 1061                                                                    Thursday                closed - closed
            .                              Glendale, AZ 85308
      Minnesota                            623-224-8727                                                                                                   Friday                  closed - closed
      Missouri                                                                                                                                            Saturday                closed - closed
                                           Get Directions                                                                                                                              -
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                                                                                                                                                                                        - closed
      North Carolina                                                                                                                                       anesy                  closea= close
      Nebraska

      New Jersey
      New        Mexi                      Scottsdale Fashion Square Scrubs Available In-Store                                                        Monday                   10:00AM - 9:00PM
            ew       Mexico
                                           Scottsdale, AZ                                                                                             Tuesday                  10:00AM - 9:00PM
      Nevada                                                                                                                                          Wednesday                10:00AM - 9:00PM
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      New Jersey
                 .                  Scottsdale Fashion Square Scrubs Available In-Store                             Monday      10:00AM - 9:00PM
      New Mexico
                                    Scottsdale, AZ                                                                  Tuesday     10:00AM - 9:00PM

      Nevada                                                                                                        Wednesday   10:00AM - 9:00PM
      New York                      7014 Camelback  Road, Space 2041
                                           aie, AZ 86281                                                            Thursda
                                                                                                                      ursday    10:00AM - 9:00PM
      Ohio                          (480) 485-9019                                                              Friday          10:00AM - 9:00PM
                                                                                                                    Saturday    10:00AM - 9:00PM
      Oklahoma                      Get Directions                                                                  Sunday      11:00AM - 6:00PM
      Oregon

      Pennsylvania

      Tennessee                     Scottsdale Quarter                                                     Monday               10:00AM - 9:00PM

      Texas                         Scottsdale, AZ                                                         Tuesday              10:00AM - 9:00PM

      Utah                                                                                                Wednesday             10:00AM - 9:00PM

                                    15169 N. Scottsdale Road,                                              Thursday             10:00AM - 9:00PM
      Virginia                      Scottsdale, AZ 85254                                                                          .
                                    (602) 767-7081                                                         Friday               10:00AM - 9:00PM
     Washington                                                                                            Saturday             10:00AM - 9:00PM

     Wisconsin                     GetDirections                                                           Sunday               12:00PM - 6:00PM
      Pop-Up Shop Locations



                                    Santa Anita                                                            Monday               10:00AM - 9:00PM
                                    Arcadia, CA                                                            Tuesday              10:00AM - 9:00PM

                                                                                                           Wednesday            10:00AM - 9:00PM

                                    400 Baldwin Ave., Suite D6A                                            Thursday             10:00AM - 9:00PM
                                    Arcadia, CA 91007
                                    (626) 509-3438                                                         Friday               10:00AM - 9:00PM

                                                                                                           Saturday             10:00AM - 9:00PM

                                   Get
                                    Directions                                                             Sunday               11:00AM - 6:00PM




                                    Brea Mall Scrubs Available In-Store                                       Monday            10:00AM - 8:00PM
                                    Brea, CA                                                                 Tuesday            10:00AM - 8:00PM

                                                                                                              Wednesday         10:00AM - 8:00PM

                                    1065 Brea Mall, Space 1140C                                               Thursday          10:00AM - 8:00PM
                                    Brea, CA92821
                                        619) 614-6423                                                         Friday            10:00AM - 9:00PM

                                                                                                              Saturday          10:00AM - 9:00PM

                                   GetDirections                                                              Sunday            11:00AM - 6:00PM




                                    Desert Hills Premium Outlets Scrubs Available In-Store                          Monday      10:00AM - 9:00PM
                                    Cabazon, CA                                                                     Tuesday     10:00AM - 9:00PM

                                                                                                                    Wednesday   10:00AM - 9:00PM

                                    48400 Seminole Dr,                                                              Thursday    10:00AM - 9:00PM
                                    Cabazon, CA 92230
                                    (951) 502-1726                                                                  Friday      10:00AM - 9:00PM

                                                                                                                    Saturday    10:00AM - 9:00PM

                                   GetDirections                                                                    Sunday      10:00AM - 8:00PM




                                    Los Cerritos Center Scrubs Available In-Store                               Monday          10:00AM - 9:00PM
                                    Cerritos, CA                                                                Tuesday         10:00AM - 9:00PM

                                                                                                               Wednesday        10:00AM - 9:00PM

                                    239 Los Cerritos Ctr, Space D21                                             Thursday        10:00AM - 9:00PM
                                    Cerritos, CA 90703



                                                                                                                Saturday        10:00AM - 9:00PM
                                    GetDirections                                                               Sunday          11:00AM - 7:00PM
                                                                                                                                                   4




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    ~       WOMEN    MEN    SCRUBS        YITTY        MEMBERSHIP   ABOUT US Page ID #:221           Qs Search                       Already a member? SignIn
                                  (562) 449 2990                                                             rriaay          TU:UUAM=9:0UPM ==———CSS—S

                                                                                                             Saturday        10:00AM - 9:00PM

                                 GetDirections                                                               Sunday           41:00AM - 7:00PM




                                  Corte Madera Scrubs Available In-Store                                    Monday           10:00AM - 8:00PM
                                  Corte Madera, CA                                                          Tuesday          10:00AM - 8:00PM

                                                                                                            Wednesday        10:00AM - 8:00PM

                                  1812 Redwood Hwy,                                                         Thursday         10:00AM - 8:00PM
                                  Corte Madera, CA94925
                                  (628) 254-7421                                                           Friday            10:00AM - 8:00PM
                                                                                                            Saturday         10:00AM - 7:00PM

                                 Get
                                  Directions                                                                Sunday            11:00AM - 6:00PM




                                  Westfield Culver City Now Open!                                         Monday            10:00AM - 09:00PM
                                  Culver City, CA                                                         Tuesday           10:00AM - 09:00PM

                                                                                                          Wednesday         10:00AM - 09:00PM

                                  6000 Sepulveda Blvd.
                                                   , Suite 1660                                           Thursday          10:00AM - 09:00PM
                                  Culver City, CA 90230
                                  (310) 944-6185                                                         Friday             10:00AM - 09:00PM
                                                                                                          Saturday          10:00AM - 09:00PM

                                  Directions
                                  Get                                                                     Sunday            10:00AM- 08:00PM




                                  Glendale Galleria Scrubs Available In-Store                                Monday           11:00AM - 8:00PM
                                  Glendale, CA                                                              Tuesday           11:00AM - 8:00PM

                                                                                                            Wednesday         11:00AM - 8:00PM

                                  2114 Glendale Galleria,                                                   Thursday          11:00AM - 8:00PM
                                  Glendale,
                                       CA91210
                                     47) 322-3657                                                            Friday          10:00AM - 9:00PM
                                                                                                             Saturday        10:00AM - 9:00PM

                                 GetDirections                                                               Sunday           41:00AM - 7:00PM




                                  Irvine Spectrum Scrubs Available In-Store                                 Monday           10:00AM - 9:00PM
                                  Irvine, CA                                                                Tuesday          10:00AM - 9:00PM

                                                                                                            Wednesday        10:00AM - 9:00PM

                                  780 Spectrum Center Drive,                                                Thursday         10:00AM - 9:00PM
                                  Irvine, CA 92618



                                                                                                            Saturday        10:00AM - 10:00PM

                                 GetDirections                                                              Sunday           10:00AM - 9:00PM




                                  The Shops At Mission Viejo Scrubs Available In-Store                        Monday         10:00AM - 8:00PM
                                  Mission Viejo, CA                                                           Tuesday        10:00AM - 8:00PM

                                                                                                              Wednesday      10:00AM - 8:00PM
                                  555 The Shops Blvd, Suite 928B                                              Thursday       10:00AM - 8:00PM
                                  Mission Viejo, CA92691
                                     619) 614-6453                                                            Friday         10:00AM - 8:00PM

                                                                                                              Saturday       10:00AM - 8:00PM

                                 GetDirections                                                                Sunday        11:00AM - 06:00PM




                                  Fashion Island Scrubs Available In-Store                                  Monday           10:00AM - 8:00PM
                                  Newport Beach, CA                                                         Tuesday          10:00AM - 8:00PM

                                                                                                           Wednesday         10:00AM - 8:00PM    a

                                  1083-A Newport CenterDrive,                                               Thursday         10:00AM - 8:00PM. top
                                  Newport Beach, CA 92660                                                                                         -
                                  (949) 220-2187                                                            Friday           10:00AM - 8:00PM




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                                                                           ABOUT US                    Qs Search                         Already a member? SignIn

                                  rasnion isiang ScrupsAvaliable in-store                                      wordy              TU:UUAWT=
                                                                                                                                     O:UUrWT
                                  Newport Beach, CA                                                            Tuesday           10:00AM - 8:00PM

                                                                                                               Wednesday         10:00AM - 8:00PM
                                  1083-A NewportCenter Drive,                                                  Thursday          10:00AM - 8:00PM
                                  Newport Beach, CA92660
                                     949) 220-2187                                                             Friday            10:00AM - 8:00PM

                                                                                                               Saturday          10:00AM - 8:00PM

                                 GetDirections                                                                 Sunday             11:00AM - 6:00PM




                                  Stoneridge Shopping Center Scrubs Available In-Store                               Monday       10:00AM - 7:00PM
                                  Pleasanton, CA                                                                     Tuesday      10:00AM - 7:00PM
                                                                                                                     Wednesday    10:00AM - 7:00PM

                                  2351 Stoneridge Mall Road, Space D201A                                             Thursday     10:00AM - 7:00PM
                                  Pleasanton, CA 94588
                                  (323) 484-4854                                                                 Friday          10:00AM - 8:00PM
                                                                                                                     Saturday    10:00AM - 8:00PM

                                 GetDirections                                                                       Sunday      11:00AM - 08:00PM




                                  Victoria Gardens                                                          Monday               10:00AM - 8:00PM
                                  Rancho Cucamonga, CA                                                      Tuesday              10:00AM - 8:00PM

                                                                                                            Wednesday            10:00AM - 8:00PM

                                  12509 North Main St.,                                                     Thursday             10:00AM - 8:00PM
                                  Rancho Cucamonga, CA 91739
                                  (909) 243-1717                                                            Friday               10:00AM - 9:00PM
                                                                                                            Saturday             10:00AM - 9:00PM
                                 GetDirections                                                              Sunday                41:00AM - 7:00PM




                                  Galleria At Roseville Scrubs Available In-Store                               Monday           10:00AM - 9:00PM
                                  Roseville, CA                                                                 Tuesday          10:00AM - 9:00PM

                                                                                                               Wednesday         10:00AM - 9:00PM
                                  1151 Galleria Blvd, 163                                                       Thursday         10:00AM - 9:00PM
                                  Roseville,
                                       CA95678
                                  279 895 7261                                                                  Friday           10:00AM - 9:00PM

                                                                                                                Saturday         10:00AM - 9:00PM

                                 GetDirections                                                                  Sunday            41:00AM - 7:00PM




                                  Fashion Valley Scrubs Available In-Store                                     Monday            10:00AM - 9:00PM
                                  San Diego, CA                                                                Tuesday           10:00AM - 9:00PM

                                                                                                               Wednesday         10:00AM - 9:00PM

                                 7007Friars Road, Space 810                                                    Thursday          10:00AM - 9:00PM
                                  San Diego, CA 92108
                                     619) 614-6422                                                             Friday            10:00AM - 9:00PM

                                                                                                               Saturday          10:00AM - 9:00PM

                                 GetDirections                                                                 Sunday            11:00AM - 07:00PM




                                  Westfield Utc Coming Soon June 2025!                                           Monday             closed - closed
                                  San Diego, CA                                                                  Tuesday            closed - closed

                                                                                                                 Wednesday          closed - closed

                                  4525 LaJolla Drive, Suite D14                                                  Thursday           closed - closed
                                  San Diego, CA 92122
                                  858 704 6381                                                                  Friday              closed - closed

                                                                                                                 Saturday           closed - closed

                                 Get Directions                                                                  Sunday             closed - closed


                                                                                                                                                      * \__
                                                                                                                                                      TOP


                                  Westfield Valley Fair Scrubs Available In-Store                                Monday          10:00AM - 9:00PM




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                                                                         ABOUT US                    Q Search                        Already amember? Signin


                                  Directions
                                    Get                                                                       Sunday            closed - closed




                                  Westfield Valley Fair Scrubs Available In-Store                             Monday         10:00AM - 9:00PM
                                  Santa Clara, CA                                                             Tuesday        10:00AM - 9:00PM

                                                                                                              Wednesday      10:00AM - 9:00PM

                                  2855 Stevens Creek Blvd, Space 2200                                         Thursday       10:00AM - 9:00PM
                                  Santa Clara, CA 95050



                                                                                                              Saturday       10:00AM - 9:00PM

                                  GetDirect ons                                                               Sunday         11:00AM - 8:00PM




                                  Del Amo Fashion Center Scrubs Available In-Store                            Monday         10:00AM - 9:00PM
                                  Torrance, CA                                                                Tuesday        10:00AM - 9:00PM

                                                                                                              Wednesday      10:00AM - 9:00PM

                                  21712 Hawthorne Blvd, #216v                                                 Thursday       10:00AM - 9:00PM
                                  Torrance, CA 90503
                                  (424) 352-4586                                                             Friday          10:00AM - 9:00PM
                                                                                                              Saturday       10:00AM - 9:00PM

                                 GetDirections                                                                Sunday         10:00AM - 7:00PM




                                  Broadway Plaza Scrubs Available In-Store                                   Monday          10:00AM - 8:00PM
                                  Walnut Creek, CA                                                           Tuesday         10:00AM - 8:00PM

                                                                                                            Wednesday        10:00AM - 8:00PM

                                 81 BroadwayLn, Suite1058                                                    Thursday        10:00AM - 8:00PM
                                  Walnut Creek, CA94596



                                                                                                             Saturday        10:00AM - 8:00PM
                                  Get Directions                                                             Sunday          11:00AM - 6:00PM




                                  Topanga Village                                                         Monday             10:00AM - 8:00PM
                                  Woodland Hills, CA                                                      Tuesday            10:00AM - 8:00PM

                                                                                                         Wednesday           10:00AM - 8:00PM

                                  6316 Topanga Canyon Blvd, Suite 1160                                    Thursday           10:00AM - 8:00PM
                                  Woodland Hills, CA 91367
                                     47) 261-0038                                                         Friday             10:00AM - 9:00PM
                                                                                                          Saturday           10:00AM - 9:00PM
                                  Directions
                                  Get                                                                     Sunday              11:00AM - 7:00PM




                                  Outlets At Castle Rock Scrubs Available In-Store                            Monday         10:00AM - 8:00PM
                                  Castle Rock, CO                                                             Tuesday        10:00AM - 8:00PM

                                                                                                              Wednesday      10:00AM - 8:00PM

                                  5050 Factory Shops Bivd., Suite 205                                         Thursday       10:00AM - 8:00PM
                                  Castle Rock, CO 80108
                                      10) 952-9626                                                            Friday         10:00AM - 8:00PM

                                                                                                              Saturday       10:00AM - 8:00PM

                                 GetDirections                                                                Sunday        11:00AM - 06:00PM




                                  The Promenade Shops At Briargate                                          Monday           10:00AM - 8:00PM
                                  Colorado Springs, CO                                                      Tuesday          10:00AM - 8:00PM

                                                                                                            Wednesday        10:00AM - 8:00PM

                                  1645 Briargate Pkwy., C-320                                               Thursday         10:00AM - 8:00PM
                                  Colorado Springs, CO 80920
                                  (719) 309-9185                                                            Friday           10:00AM - 8:00PM     a”

                                                                                                            Saturday         10:00AM - 8:00PM \ TP
                                 Get
                                  Directions                                                                Sunday           11:00AM - 07:00PM




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                                                                                                               Wednesday        10:00AM - 8:00PM

                                  1645 Briargate Pkwy., C-320                                                  Thursday         10:00AM - 8:00PM
                                  Colorado Springs, CO 80920



                                                                                                               Saturday         10:00AM - 8:00PM

                                 GetDirections                                                                 Sunday           11:00AM - 07:00PM




                                  Cherry Creek Shopping Center Scrubs Available In-Store                             Monday     10:00AM - 8:00PM
                                  Denver, CO                                                                         Tuesday    10:00AM - 8:00PM

                                                                                                                 Wednesday      10:00AM - 8:00PM

                                  3000E 1st Ave, Suite178                                                            Thursday   10:00AM - 8:00PM
                                  Denver, CO 80206
                                            0) 779-2348                                                            Friday       10:00AM - 9:00PM
                                                                                                                     Saturday   10:00AM - 9:00PM

                                 GetDirections                                                                       Sunday      11:00AM - 6:00PM




                                  Park Meadows Scrubs Available In-Store                                        Monday          10:00AM - 8:00PM
                                  Lone Tree, CO                                                                 Tuesday         10:00AM - 8:00PM
                                                                                                                Wednesday       10:00AM - 8:00PM

                                  8505 Park Meadows Center Drive, Space 2075                                    Thursday        10:00AM - 8:00PM
                                 Lone Tree, CO 80124
                                  (720) 617-9071                                                                Friday          10:00AM - 8:00PM
                                                                                                                Saturday        10:00AM - 8:00PM

                                 Get Directions                                                                 Sunday           11:00AM - 6:00PM




                                  Westfarms Scrubs Available In-Store                                          Monday           10:00AM - 8:00PM
                                  West Hartford, CT                                                            Tuesday          10:00AM - 8:00PM

                                                                                                               Wednesday        10:00AM - 8:00PM

                                  1500 New Britain Ave, Ste #102                                               Thursday         10:00AM - 8:00PM
                                  West Hartford, CT 06110



                                                                                                               Saturday         10:00AM - 9:00PM

                                 GetDirections                                                                 Sunday           11:00AM - 06:00PM




                                  Christiana Mall Scrubs Available In-Store                                     Monday          10:00AM - 8:00PM
                                  Newark, DE                                                                    Tuesday         10:00AM - 8:00PM

                                                                                                               Wednesday        10:00AM - 8:00PM
                                  109 Christiana Mall,                                                          Thursday        10:00AM - 8:00PM
                                  Newark, DE 19702
                                     302)     319-9143                                                          Friday          10:00AM - 8:00PM
                                                                                                                Saturday        10:00AM - 8:00PM

                                 GetDirections                                                                  Sunday           11:00AM - 6:00PM




                                  Town Center At Boca Raton Scrubs Available In-Store                              Monday       10:00AM - 8:00PM
                                  Boca Raton, FL                                                                   Tuesday      10:00AM - 8:00PM

                                                                                                                   Wednesday    10:00AM - 8:00PM

                                  6000 Glades Road, Space 1157                                                     Thursday     10:00AM - 8:00PM
                                  Boca Raton, FL 33431
                                             425-9855                                                            Friday         10:00AM - 9:00PM
                                                                                                                   Saturday     10:00AM - 9:00PM

                                 GetDirections                                                                     Sunday       11:00AM - 07:00PM




                                  St. Johns Town Center Scrubs Available In-Store                                Monday         10:00AM - 8:00PM 4X
                                  Jacksonville, FL                                                               Tuesday        10:00AM - 8:00PM \ TP

                                                                                                                 Wednesday      10:00AM - 8:00PM




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                                  St. Johns Town Center Scrubs Available In-Store                                     Monday            10:00AM - 8:00PM
                                  Jacksonville, FL                                                                    Tuesday           10:00AM - 8:00PM

                                                                                                                     Wednesday          10:00AM - 8:00PM

                                  4761RiverCity Drive, Space PO?                                                      Thursday          10:00AM - 8:00PM
                                  Jacksonville,
                                          FL32246
                                     1904) 530-0795                                                                  Friday            10:00AM - 9:00PM
                                                                                                                      Saturday          10:00AM - 9:00PM
                                  Get Directions                                                                      Sunday           11:00AM - 06:00PM




                                  Disney Springs                                                                 Monday                10:00AM - 11:00PM
                                  Lake Buena Vista , FL                                                          Tuesday               10:00AM - 11:00PM

                                                                                                                 Wednesday             10:00AM - 11:00PM

                                  1668 E. Buena Vista Drive
                                                         , #16                                                   Thursday              10:00AM - 11:00PM
                                  Lake Buena Vista , FL 32830
                                  (689) 206-9347                                                                Friday                 10:00AM - 11:00PM
                                                                                                                 Saturday              10:00AM - 11:30PM
                                  Get Directions                                                                 Sunday                10:00AM - 11:30PM




                                  Dadeland Mall Scrubs Available In-Store                                            Monday             10:00AM - 9:00PM
                                  Miami, FL                                                                         Tuesday             10:00AM - 9:00PM
                                                                                                                   Wednesday            10:00AM - 9:00PM
                                  7535 N Kendall Dr, Space 1010                                                     Thursday            10:00AM - 9:00PM
                                  Miami, FL 33156
                                  (786) 648-4735                                                                    Friday             10:00AM - 9:00PM
                                                                                                                     Saturday           10:00AM - 9:00PM

                                 Get
                                  Directions                                                                         Sunday             11:00AM - 7:00PM




                                  The Mall At Millenia Scrubs Available In-Store                                      Monday            10:00AM - 9:00PM
                                  Orlando, FL                                                                        Tuesday            10:00AM - 9:00PM

                                                                                                                     Wednesday          10:00AM - 9:00PM

                                  4200ConroyRoad, Space 1-209                                                        Thursday           10:00AM - 9:00PM
                                  Orlando,
                                      FL32839
                                  (321) 209-6932                                                                     Friday            10:00AM - 9:00PM

                                                                                                                      Saturday           9:00AM - 9:00PM

                                 GetDirections                                                                        Sunday           11:00AM - 07:00PM




                                  The Gardens Scrubs Available In-Store                                             Monday             10:00AM - 08:00PM
                                  Palm Beach, FL                                                                    Tuesday             10:00AM - 8:00PM

                                                                                                                    Wednesday           10:00AM - 8:00PM

                                  3101 PGA Bivd, Suite B133                                                         Thursday            10:00AM - 8:00PM
                                  Palm Beach,FL 33140
                                  (786) 292-0843                                                                   Friday              10:00AM - 8:00PM
                                                                                                                    Saturday            10:00AM - 8:00PM

                                 GetDirections                                                                      Sunday             12:00PM - 06:00PM




                                  The Mall At University Town Center Scrubs Available In-Store                             Monday       10:00AM - 8:00PM

                                  Sarasota, FL                                                                             Tuesday      10:00AM - 8:00PM

                                                                                                                           Wednesday    10:00AM - 8:00PM
                                  140 University Town Center Dr, Suite 144
                                                                                                                           Thursday     10:00AM - 8:00PM
                                  Sarasota, FL 34243

                                     941)   263-1320                                                                       Friday      10:00AM - 9:00PM

                                                                                                                           Saturday     10:00AM - 9:00PM
                                  Get Directions
                                                                                                                           Sunday       11:00AM - 6:00PM, 1S
                                                                                                                                                           TOP




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                                            a, FL s4az4as

                                     '941) 263-1320                                                                    Friday      10:00AM - 9:00PM

                                                                                                                       Saturday    10:00AM - 9:00PM

                                  tet                                                                                  Sunday       11:00AM - 6:00PM




                                  Sawgrass Mills Outlets Scrubs Available In-Store                                 Monday          10:00AM - 9:00PM
                                  Sunrise, FL                                                                      Tuesday         10:00AM - 9:00PM

                                                                                                                   Wednesday       10:00AM - 9:00PM

                                  12801 W. Sunrise Blvd.,                                                          Thursday        10:00AM - 9:00PM
                                  Sunrise, FL 33323
                                 7542188785                                                                       Friday           10:00AM - 9:00PM

                                                                                                                   Saturday        10:00AM - 9:00PM

                                  Stet                                                                             Sunday           11:00AM- 8:00PM




                                  International Plaza And Bay Street Scrubs Available In-Store                         Monday      10:00AM - 9:00PM
                                  Tampa, FL                                                                            Tuesday     10:00AM - 9:00PM
                                                                                                                       Wednesday   10:00AM - 9:00PM

                                  2223 N Westshore Blvd, Suite 240                                                     Thursday    10:00AM - 9:00PM
                                  Tampa,FL 33607
                                  (321) 754-9471                                                                       Friday      10:00AM - 9:00PM
                                                                                                                       Saturday    10:00AM - 9:00PM

                                  ws                                                                                   Sunday       11:00AM - 6:00PM




                                  Shops At Wiregrass Scrubs Available In-Store                                    Monday           10:00AM - 8:00PM
                                  Wesley Chapel, FL                                                               Tuesday          10:00AM - 8:00PM
                                                                                                                  Wednesday        10:00AM - 8:00PM

                                  28211 Paseo Drive, Suite 160                                                    Thursday         10:00AM - 8:00PM
                                  Wesley Chapel, FL 33543
                                  (813) 683-7237                                                                 Friday            10:00AM - 9:00PM
                                                                                                                  Saturday         10:00AM - 9:00PM

                                  Get
                                  Directions                                                                      Sunday            11:00AM - 6:00PM




                                  Perimeter Mall Scrubs Available In-Store                                       Monday             11:00AM - 8:00PM
                                  Atlanta, GA                                                                    Tuesday            11:00AM - 8:00PM

                                                                                                                Wednesday           11:00AM - 8:00PM

                                 4400 Ashford Dunwoody
                                                  Rd, Space 2580                                                 Thursday           11:00AM - 8:00PM
                                  Atlanta, GA 30346
                                     470) 579-3648                                                               Friday            11:00AM - 8:00PM

                                                                                                                 Saturday           11:00AM - 8:00PM

                                  et                                                                             Sunday             12:00PM - 6:00PM




                                  Lenox Square                                                                Monday               10:00AM - 8:00PM
                                  Atlanta, GA                                                                 Tuesday              10:00AM - 8:00PM

                                                                                                              Wednesday            10:00AM - 8:00PM

                                  3303 Peachtree
                                              RdNE , Ste4046F                                                 Thursday             10:00AM - 8:00PM
                                  Atlanta, GA 30326
                                     404) 618-4616                                                            Friday               10:00AM - 8:00PM

                                                                                                              Saturday             10:00AM - 8:00PM

                                 Get
                                  Directions                                                                  Sunday               12:00PM - 07:00PM




                                  Outlet Shoppes Of Atlanta Coming Soon! July 2025                                      Monday        closed - closed
                                  Woodstock, GA                                                                        Tuesday        closed - closed
                                                                                                                       Wednesday      closed - closed    a”

                                  915 Ridgewalk Pkwy, Suite 433                                                        Thursday       closed - closed \. TOP
                                  Woodstock, GA 30188                                                                   Friday




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                                  Outlet Shoppes Of Atlanta Coming Soon! July 2025                                       Monday        closed - closed
                                  Woodstock, GA                                                                         Tuesday        closed - closed
                                                                                                                        Wednesday      closed - closed
                                  915 Ridgewalk Pkwy, Suite 433                                                         Thursday       closed - closed
                                  Woodstock, GA 30188                                                                   Friday         closed - closed

                                          .    .                                                                        Saturday       closed - closed
                                  GetDirections                                                                         Sunday         closed - closed



                                  International Market Place Scrubs Available In-Store                                 Monday       10:00AM - 9:00PM
                                  Honolulu, HI                                                                         Tuesday      10:00AM - 9:00PM

                                                                                                                       Wednesday    10:00AM - 9:00PM

                                  2330 Kalakaua Ave, Suite 240                                                         Thursday     10:00AM - 9:00PM
                                  Honolulu, HI 96815
                                     808) 762-1956                                                                     Friday       10:00AM - 9:00PM

                                                                                                                       Saturday     10:00AM - 9:00PM
                                  GetDirections                                                                        Sunday       10:00AM - 9:00PM




                                  Jordan Creek Town Center Scrubs Available In-Store                                   Monday       10:00AM - 8:00PM
                                  West Des Moines, IA                                                               Tuesday         10:00AM - 8:00PM

                                                                                                                    Wednesday       10:00AM - 8:00PM
                                  101 Jordan Creek PkwySte 11260, Suite 11260                                       Thursday        10:00AM - 8:00PM
                                  West Des Moines, IA 50266
                                  (515) 957-7780                                                                   Friday           10:00AM - 9:00PM
                                                                                                                       Saturday     10:00AM - 9:00PM
                                  GetDirections                                                                        Sunday        11:00AM - 6:00PM




                                  Boise Towne Square Coming Soon! July 2025                                            Monday          closed - closed
                                  Boise, ID                                                                            Tuesday         closed - closed
                                                                                                                       Wednesday       closed - closed
                                  350 North Milwaukee St, Suite 1168                                                   Thursday        closed - closed
                                  Boise, ID 83704                                                                      Friday          closed - closed

                                          a                                                                            Saturday        closed - closed

                                 Get Directions                                                                        Sunday          closed - closed



                                  Oakbrook Center                                                             Monday                10:00AM - 8:00PM

                                  Oak Brook, IL                                                               Tuesday               10:00AM - 8:00PM

                                                                                                              Wednesday             10:00AM - 8:00PM

                                  423 Oakbrook Center, Suite 423                                              Thursday              10:00AM - 8:00PM
                                  Oak Brook, IL 60523
                                     331) 310-0646                                                            Friday                10:00AM - 9:00PM
                                                                                                              Saturday              10:00AM - 9:00PM
                                  Directions
                                  Get                                                                         Sunday                 11:00AM - 6:00PM




                                  Woodfield Mall Scrubs Available In-Store                                        Monday            10:00AM - 8:00PM
                                  Schaumburg, IL                                                                 Tuesday            10:00AM - 8:00PM

                                                                                                                Wednesday           10:00AM - 8:00PM

                                  5 Woodfield Mali, Room F333B                                                   Thursday           10:00AM - 8:00PM
                                  Schaumburg, IL 60173
                                       4) 303-4574                                                               Friday             10:00AM - 9:00PM

                                                                                                                  Saturday          10:00AM - 9:00PM
                                  Get
                                   Directions                                                                     Sunday             11:00AM - 6:00PM




                                                                                                                                                         m4
                                  Westfield Old Orchard Scrubs Available In-Store                                  Monday           11:00AM - 08:00PM
                                  Skokie, IL                                                                       Tuesday          11:00PM - 08:00PM




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                              |                                                                                                                                   J



                                   Westfield Old Orchard Scrubs Available In-Store                                   Monday         11:00AM - 08:00PM
                                   Skokie, IL                                                                        Tuesday        11:00PM - 08:00PM

                                                                                                                     Wednesday       11:00AM - 8:00PM
                                   4905 Old Orchard Ship Center East Ring Rd, Suite F86                              Thursday        11:00AM - 8:00PM
                                   Skokie, IL 60077



                                                                                                                     Saturday       11:00AM - 08:00PM
                                   Get Directions                                                                    Sunday         11:00AM - 06:00PM




                                   The Fashion Mall At Keystone Scrubs Available In-Store                                Monday      10:00AM - 8:00PM
                                   Indianapolis, IN                                                                   Tuesday        10:00AM - 8:00PM

                                                                                                                     Wednesday       10:00AM - 8:00PM

                                   8702 Keystone Crossing, Space 166C                                                 Thursday       10:00AM - 8:00PM
                                   Indianapolis, IN 46240



                                                                                                                         Saturday    10:00AM - 9:00PM

                                  GetDirections                                                                       Sunday         12:00PM - 6:00PM




                                   Town Center Crossing Scrubs Available In-Store                                    Monday          10:00AM - 7:00PM
                                   Leawood, KS                                                                       Tuesday         10:00AM - 7:00PM

                                                                                                                     Wednesday       10:00AM - 7:00PM

                                  4343W. 119thSt., A137                                                              Thursday        10:00AM - 7:00PM
                                   Leawood, KS 66209
                                   913 374 0248                                                                      Friday          10:00AM - 7:00PM

                                                                                                                     Saturday        10:00AM - 7:00PM

                                  GetDirections                                                                      Sunday          12:00PM - 5:00PM




                                   The Summit At Fritz Farm Scrubs Available In-Store                                Monday          10:00AM - 8:00PM
                                   Lexington, KY                                                                     Tuesday         10:00AM - 8:00PM
                                                                                                                     Wednesday       10:00AM - 8:00PM

                                   120 Summit
                                         atFritzFarm, Ste175                                                         Thursday        10:00AM - 8:00PM
                                   Lexington, KY 40517
                                   (859) 488-6232                                                                   Friday          10:00AM - 9:00PM
                                                                                                                     Saturday        10:00AM - 9:00PM

                                  Get
                                  Directions                                                                         Sunday          12:00PM - 6:00PM




                                   Oxmoor Center Scrubs Available In-Store                                         Monday           11:00AM - 08:00PM
                                   Louisville, KY                                                                  Tuesday          11:00AM - 08:00PM
                                                                                                                   Wednesday        11:00AM - 08:00PM

                                   7900 Shelbyville
                                              Rd.,#E07                                                             Thursday         11:00AM - 08:00PM
                                   Louisville,
                                         KY 40222
                                        206-5107                                                                  Friday            11:00AM - 08:00PM
                                                                                                                   Saturday         11:00AM - 08:00PM

                                  GetDirections                                                                    Sunday            12:00PM - 6:00PM




                                   Burlington Mall Scrubs Available In-Store                                        Monday           10:00AM - 8:00PM
                                   Burlington, MA                                                                  Tuesday           10:00AM - 8:00PM

                                                                                                                   Wednesday         10:00AM - 8:00PM

                                   75Middlesex Turnpike,                                                           Thursday          10:00AM - 8:00PM
                                   Burlington, MA 01803



                                                                                                                   Saturday          10:00AM - 9:00PM   a

                                  Set Directions                                                                   Sunday            11:00AM - 6:00PM\ ToP




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                                  7”                     IKE,                                                       Thursday         10:00AM - 8:00PM
                                  Burlington, MA 01803
                                     617)   865-3919                                                                 Friday          10:00AM - 9:00PM

                                                                                                                     Saturday        10:00AM - 9:00PM

                                  ae                                                                                 Sunday          11:00AM - 6:00PM




                                  Natick Mall Scrubs Available In-Store                                             Monday            11:00AM - 7:00PM
                                  Natick, MA                                                                        Tuesday           11:00AM - 7:00PM

                                                                                                                    Wednesday         11:00AM - 7:00PM

                                  1245 Worcester Street, Space 2078                                                 Thursday          11:00AM - 7:00PM
                                  Natick, MA 01760



                                                                                                                    Saturday         10:00AM - 9:00PM

                                  wt                                                                                Sunday          11:00AM - 06:00PM




                                  Montgomery Mall Scrubs Available In-Store                                          Monday          10:00AM - 9:00PM
                                  Bethesda, MD                                                                       Tuesday         10:00AM - 9:00PM

                                                                                                                    Wednesday        10:00AM - 9:00PM
                                  7101 Democracy Bivd.,                                                              Thursday        10:00AM - 9:00PM
                                  Bethesda, MD 20817
                                 3010414840                                                                         Friday           10:00AM - 9:00PM
                                                                                                                     Saturday        10:00AM - 9:00PM

                                  te.                                                                                Sunday           11:00AM- 7:00PM




                                  The Mall In Columbia                                                            Monday             10:00AM - 8:00PM
                                  Columbia, MD                                                                    Tuesday            10:00AM - 8:00PM

                                                                                                                  Wednesday          10:00AM - 8:00PM

                                  10300Little Patuxent Parkway, Suite 1850                                        Thursday           10:00AM - 8:00PM
                                  Columbia, MD 21044
                                  (443) 305-8127                                                                  Friday             10:00AM - 8:00PM
                                                                                                                  Saturday           10:00AM - 8:00PM

                                  ee                                                                              Sunday             12:00PM - 6:00PM




                                  Twelve Oaks Mall                                                               Monday              10:00AM - 8:00PM
                                  Novi, MI                                                                       Tuesday             10:00AM - 8:00PM

                                                                                                                 Wednesday           10:00AM - 8:00PM

                                 27500 Novi Rd, Space A115                                                       Thursday            10:00AM - 8:00PM
                                  Novi, Ml 48377
                                  (231) 282-9223                                                                Friday               10:00AM - 9:00PM
                                                                                                                 Saturday            10:00AM - 9:00PM
                                  Get Directions                                                                 Sunday              11:00AM - 6:00PM




                                  Somerset Collection Scrubs Available In-Store                                       Monday         10:00AM - 8:00PM
                                  Troy, Ml                                                                           Tuesday         10:00AM - 8:00PM

                                                                                                                     Wednesday       10:00AM - 8:00PM

                                 2800West Big Beaver Road North, U209                                                Thursday        10:00AM - 8:00PM
                                  Troy, Ml 48084
                                 9472180711                                                                          Friday          10:00AM - 8:00PM
                                                                                                                      Saturday       10:00AM - 8:00PM

                                 GetDirections                                                                        Sunday         12:00PM - 6:00PM




                                  Mall Of America Scrubs Available In-Store                                          Monday          10:00AM - 9:00PM
                                  Bloomington, MN                                                                    Tuesday         10:00AM - 9:00PM    a

                                                                                                                     Wednesday       10:00AM - 9:00PM Top
                                  134 West Market, W134
                                                                                                                     Thursday        10:00AM - 9:00PM
                                  mre       ta     ast   rane




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                                  Mall Of America Scrubs Available In-Store                                      Monday           10:00AM - 9:00PM
                                  Bloomington, MN                                                                Tuesday          10:00AM - 9:00PM

                                                                                                                 Wednesday        10:00AM - 9:00PM

                                 134West Market, W134                                                            Thursday         10:00AM - 9:00PM
                                  Bloomington, MN 55425
                                  (651) 432-4231                                                                Friday            10:00AM - 9:00PM
                                                                                                                 Saturday         10:00AM - 9:00PM

                                  GetDirections                                                                  Sunday           11:00AM - 07:00PM




                                  Ridgedale Center                                                            Monday              10:00AM - 8:00PM
                                  Minnetonka, MN                                                             Tuesday              10:00AM - 8:00PM

                                                                                                             Wednesday            10:00AM - 8:00PM

                                  12401 Wayzata Bivd., Suite 205                                             Thursday             10:00AM - 8:00PM
                                  Minnetonka, MN 55305
                                         990-0064                                                            Friday               10:00AM - 8:00PM
                                                                                                              Saturday            10:00AM - 8:00PM

                                 Get Directions                                                               Sunday              11:00AM - 06:00PM




                                  Saint Louis Galleria Scrubs Kiosk Here                                         Monday            10:00AM - 7:00PM
                                  St Louis, MO                                                                   Tuesday           10:00AM - 7:00PM

                                                                                                                 Wednesday         10:00AM - 7:00PM

                                  155 Saint Louis Galleria, Suite 2412                                           Thursday          10:00AM - 7:00PM
                                  St Louis, MO 63117
                                     314) 400-1518                                                              Friday            10:00AM
                                                                                                                                     - 9:00PM
                                                                                                                 Saturday          10:00AM - 7:00PM

                                 GetDirections                                                                   Sunday            11:00AM - 6:00PM




                                  West County Center Coming Soon June 2025!                                            Monday        closed - closed
                                  St. Louis, MO                                                                       Tuesday        closed - closed
                                                                                                                      Wednesday      closed - closed

                                  ntoute Moearat Dr. , Suite 1150                                                     Thursday       closed - closed
                                 3145263015                                                                           Friday         closed - closed

                                                                                                                       Saturday      closed - closed

                                 Get Directions                                                                        Sunday        closed - closed




                                  Southpark Scrubs Available In-Store                                           Monday            10:00AM - 8:00PM
                                  Charlotte, NC                                                                 Tuesday           10:00AM - 8:00PM

                                                                                                               Wednesday          10:00AM - 9:00PM
                                 Chevette NOsEon GI9A                                                           Thursday          10:00AM - 8:00PM
                                  (980) 296-5666                                                                Friday            10:00AM - 9:00PM
                                                                                                                Saturday          10:00AM - 9:00PM

                                 GetDirections                                                                  Sunday             12:00PM - 6:00PM




                                  The Streets At Southpoint Scrubs Available In-Store                                 Monday       11:00AM - 7:00PM
                                  Durham, NC                                                                          Tuesday      11:00AM - 7:00PM

                                                                                                                      Wednesday    11:00AM - 7:00PM
                                  6910 Fayetteville Rd.,175                                                           Thursday     11:00AM - 7:00PM
                                  Durham, NC 27713
                                     084) 283-0251                                                                 Friday         11:00AM - 9:00PM
                                                                                                                      Saturday     11:00AM - 9:00PM

                                 Get Directions                                                                       Sunday       12:00PM - 6:00PM
                                                                                                                                                       a>




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                                                                                                                   Saturday      11:00AM - 9:00PM

                                  Directions
                                  Get                                                                             Sunday         12:00PM - 6:00PM




                                  Crabtree Valley Mall Scrubs Available In-Store                              Monday             10:00AM - 9:00PM
                                  Raleigh, NC                                                                 Tuesday            10:00AM - 9:00PM

                                                                                                              Wednesday          10:00AM - 9:00PM

                                  4325 Glenwood Ave., Suite 1018                                              Thursday           10:00AM - 9:00PM
                                  Raleigh, NC 27612
                                     984) 206-5350                                                            Friday             10:00AM - 9:00PM
                                                                                                              Saturday           10:00AM - 9:00PM

                                  Get luret on                                                                Sunday             12:00PM - 5:30PM




                                  Village Pointe Scrubs Available In-Store                                   Monday              10:00AM - 9:00PM
                                  Omaha, NE                                                                  Tuesday             10:00AM - 9:00PM

                                                                                                            Wednesday            10:00AM - 9:00PM

                                  T7HO Davenport
                                            St,Suite 103                                                     Thursday            10:00AM - 9:00PM
                                  Omaha, NE 68118
                                     (402)   503-9632                                                       Friday               10:00AM - 9:00PM

                                                                                                             Saturday            10:00AM - 9:00PM

                                  et                                                                         Sunday              11:00AM - 5:00PM




                                  Bridgewater Commons Scrubs Available In-Store                                   Monday         10:00AM - 9:00PM
                                  Bridgewater, NJ                                                                 Tuesday        10:00AM - 9:00PM

                                                                                                                  Wednesday      10:00AM - 9:00PM

                                  400 Commons Way, Suite 2450                                                     Thursday       10:00AM - 9:00PM
                                  Bridgewater, NJ 08807
                                     609) 453-2794                                                            Friday             10:00AM - 9:00PM

                                                                                                                  Saturday       10:00AM - 9:00PM

                                  tet                                                                             Sunday         11:00AM- 6:00PM




                                  American Dream Scrubs Available In-Store                                    Monday             11:00AM - 9:00PM
                                  East Rutherford, NJ                                                         Tuesday            11:00AM - 9:00PM

                                                                                                              Wednesday          11:00AM - 9:00PM
                                  1 American Dream Way, Space D231                                            Thursday           11:00AM - 9:00PM
                                  East Rutherford, NJ 07073
                                  (862) 338-9030                                                             Friday             11:00AM - 10:00PM
                                                                                                              Saturday           11:00AM - 10:00PM

                                  oA                                                                          Sunday              11:00AM- 7:00PM




                                  Westfield Garden State Plaza Scrubs Available In-Store                          Monday        10:00AM - 09:00PM
                                  Paramus, NJ                                                                     Tuesday       10:00AM - 09:00PM
                                                                                                                  Wednesday     10:00AM - 09:00PM

                                  1 Garden State Plaza, Space 2138                                                Thursday      10:00AM - 09:00PM
                                  Paramus, NJ 07652
                                  (201) 204-1402                                                              Friday            10:00AM - 09:30PM
                                                                                                                  Saturday      10:00AM - 09:30PM

                                 Get Directions                                                                   Sunday            closed - closed




                                  Abg Uptown                                                             Monday                  10:00AM - 7:00PM

                                  Albuquerque, NM                                                        Tuesday                 10:00AM - 7:00PM

                                                                                                         Wednesday               10:00AM - 7:00PM

                                  2261 Q Street NE,                                                      Thursday                10:00AM - 7:00PM;    4
                                  Albuquerque, NM 87110                                                                                               TOP
                                  (505) 375-9314                                                         Friday                  10:00AM - 8:00PM      -
                                                                                                         Saturday                10:00AM - 8:00PM




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                                  Albuquerque, NM                                                         Tuesday                10:00AM - 7:00PM

                                                                                                          Wednesday              10:00AM - 7:00PM

                                  2261 Q Street NE,                                                       Thursday               10:00AM - 7:00PM
                                  Albuquerque, NM 87110
                                  (505) 375-9314                                                         Friday                  10:00AM - 8:00PM
                                                                                                          Saturday               10:00AM - 8:00PM
                                  Directions
                                  Get                                                                     Sunday                  11:00AM - 6:00PM




                                  Downtown Summerlin Scrubs Available In-Store                                    Monday         10:00AM - 8:00PM
                                  Las Vegas, NV                                                                   Tuesday        10:00AM - 8:00PM

                                                                                                                  Wednesday      10:00AM - 8:00PM

                                  2115 Festival Plaza Dr, Suite 110                                               Thursday       10:00AM - 8:00PM
                                 Las Vegas, NV 89135
                                 (702) 901-5103                                                                   Friday         10:00AM - 9:00PM

                                                                                                                  Saturday       10:00AM - 9:00PM

                                 GetDirections                                                                    Sunday         11:00AM - 07:00PM




                                  Fashion Show Mall Scrubs Available In-Store                                  Monday             11:00AM - 8:00PM
                                  Las Vegas, NV                                                                Tuesday            11:00AM - 8:00PM

                                                                                                               Wednesday          11:00AM - 8:00PM

                                  3200 S.Las Vegas Blvd, Suite 1500                                            Thursday           11:00AM - 8:00PM
                                 Las Vegas, NV 89109
                                        850-7531                                                               Friday            10:00AM - 9:00PM

                                                                                                               Saturday          10:00AM - 9:00PM

                                  Directions
                                  Get                                                                          Sunday             11:00AM - 7:00PM




                                  Las Vegas N. Premium Outlets Scrubs Available In-Store                          Monday        10:00AM - 08:00PM
                                  Las Vegas, NV                                                                   Tuesday       10:00AM - 08:00PM

                                                                                                                  Wednesday     10:00AM - 08:00PM

                                  795 S. Grand Central Pkwy., 2287                                                Thursday      10:00AM - 08:00PM
                                 Las Vegas, NV 89135
                                     5) 444-1762                                                                  Friday        10:00AM - 08:00PM

                                                                                                                  Saturday      10:00AM - 08:00PM

                                 GetDirections                                                                    Sunday        10:00AM - 07:00PM




                                  Roosevelt Field Scrubs Available In-Store                                   Monday             10:00AM - 8:00PM
                                  Garden City, NY                                                             Tuesday            10:00AM - 8:00PM

                                                                                                              Wednesday          10:00AM - 8:00PM

                                 630Old Country Road, Space 2035                                              Thursday           10:00AM - 8:00PM
                                  Garden City, NY 11530
                                  (929) 229-5213                                                              Friday             10:00AM - 9:00PM
                                                                                                              Saturday           10:00AM - 9:00PM

                                 GetDirections                                                                Sunday              41:00AM - 7:00PM




                                  Flatiron Scrubs Available In-Store                                         Monday              10:00AM - 8:00PM
                                  New York, NY                                                              Tuesday              10:00AM - 8:00PM

                                                                                                             Wednesday           10:00AM - 8:00PM

                                  168 SthAve.,                                                              Thursday             10:00AM - 8:00PM
                                 New York, NY 10010
                                  (646) 517-1899                                                             Friday              10:00AM - 8:00PM
                                                                                                             Saturday            10:00AM - 8:00PM

                                 GetDirections                                                              Sunday                11:00AM - 6:00PM


                                                                                                                                                     “”
                                  Eastview Mall Coming Soon! August 2025                                           Monday           closed - closed "°?
                                  Victor, NY                                                                      Tuesday           closed - closed




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                                  Eastview Mall Coming Soon! August 2025                                       Monday          closed - closed
                                  Victor, NY                                                                   Tuesday         closed - closed
                                                                                                               Wednesday       closed - closed
                                  162 Eastview Mall, Suite B9-A                                                Thursday        closed - closed

                                  Victor, NY 14564                                                             Friday          closed - closed
                                          /      -                                                             Saturday        closed - closed

                                 Set Directions                                                                Sunday          closed - closed



                                  The Westchester Scrubs Available In-Store                                  Monday         10:00AM - 08:00PM
                                  White Plains, NY                                                           Tuesday         10:00AM - 8:00PM

                                                                                                            Wednesday        10:00AM - 8:00PM

                                  125Westchester Ave, Suite 2290A                                            Thursday        10:00AM - 8:00PM
                                  White Plains, NY 10601



                                                                                                             Saturday       10:00AM - 09:00PM

                                 GetDirections                                                               Sunday         12:00PM - 06:00PM




                                  The Greene Town Center                                                  Monday             10:00AM - 9:00PM
                                  Beavercreek, OH                                                         Tuesday            10:00AM - 9:00PM
                                                                                                         Wednesday           10:00AM - 9:00PM

                                  4417 Cedar Park Dr., Space 6120                                         Thursday           10:00AM - 9:00PM
                                  Beavercreek, OH 45440
                                  (937)373-2221                                                          Friday              10:00AM - 9:00PM
                                                                                                          Saturday           10:00AM - 9:00PM
                                  GetDirections                                                           Sunday             11:00AM - 6:00PM




                                  Kenwood Towne Centre Scrubs Available In-Store                              Monday         10:00AM - 8:00PM
                                  Cincinnati, OH                                                              Tuesday        10:00AM - 8:00PM

                                                                                                             Wednesday       10:00AM - 8:00PM

                                  7675 Montgomery Rd, Space 0081                                              Thursday       10:00AM - 8:00PM
                                  Cincinnati, OH 45236
                                      13) 577-2279                                                            Friday         10:00AM - 9:00PM
                                                                                                              Saturday       10:00AM - 9:00PM

                                 GetDirections                                                                Sunday         12:00PM - 6:00PM




                                  Pinecrest Scrubs Available In-Store                                      Monday            10:00AM - 8:00PM
                                  Orange Village, OH                                                       Tuesday           10:00AM - 8:00PM

                                                                                                           Wednesday         10:00AM - 8:00PM

                                  300ParkAve, Space #161                                                   Thursday          10:00AM - 8:00PM
                                  Orange Village, OH 44122
                                       6) 243-2548                                                         Friday            10:00AM - 9:00PM
                                                                                                           Saturday          10:00AM - 9:00PM
                                  Get Directions                                                           Sunday           11:00AM - 06:00PM




                                  Crocker Park Scrubs Available In-Store                                    Monday           10:00AM - 9:00PM
                                  Westlake , OH                                                             Tuesday          10:00AM - 9:00PM

                                                                                                            Wednesday        10:00AM - 9:00PM

                                  12 Main street, Suite 1005                                                Thursday         10:00AM - 9:00PM
                                  Westlake , OH 44145
                                     440) 219-0538                                                         Friday            10:00AM - 9:00PM
                                                                                                            Saturday         10:00AM - 9:00PM    a
                                  Directions
                                  Get                                                                       Sunday           11:00AM - 6:00PM!   TOP




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                                  Westlake
                                       ,OH 44145                                                                         ‘               ee
                                     440) 210-0638                                                             Friday              10:00AM - 9:00PM
                                                                                                               Saturday            10:00AM - 9:00PM
                                  Get Directions                                                               Sunday               11:00AM - 6:00PM




                                  Tulsa Premium Outlets Scrubs Available In-Store                               Monday            10:00AM - 09:00PM
                                  Jenks, OK                                                                     Tuesday           10:00AM - 09:00PM

                                                                                                               Wednesday          10:00AM - 09:00PM
                                  soaks OK ear         Suite 7175                                               Thursday          10:00AM - 09:00PM
                                     918) 324-0768                                                             Friday             10:00AM - 09:00PM
                                                                                                                Saturday          10:00AM - 09:00PM

                                  GetDirections                                                                 Sunday            12:00PM - 06:00PM




                                  Classen Curve Scrubs Available In-Store                                       Monday             10:00AM - 7:00PM
                                  Oklahoma City, OK                                                             Tuesday            10:00AM - 7:00PM

                                                                                                               Wednesday           10:00AM - 7:00PM
                                  Oklahoma city,OK 3418                                                         Thursday           10:00AM - 7:00PM
                                  (405) 395-1172                                                               Friday              10:00AM - 7:00PM
                                                                                                                Saturday           10:00AM - 7:00PM

                                 GetDirections                                                                  Sunday             12:00PM - 6:00PM




                                  Washington Square Scrubs Available In-Store                                    Monday            10:00AM - 9:00PM
                                  Portland, OR                                                                  Tuesday            10:00AM - 9:00PM

                                                                                                                Wednesday          10:00AM - 9:00PM

                                  9585SWWashington Square Rd, CO6                                               Thursday           10:00AM - 9:00PM
                                  Portland, OR 97223
                                     971)   384-0004                                                            Friday             10:00AM - 9:00PM
                                                                                                                 Saturday          10:00AM - 9:00PM

                                 Get Directions                                                                  Sunday             11:00AM - 7:00PM




                                  South Hills Village Scrubs Available In-Store                                 Monday             10:00AM - 8:00PM
                                  Bethel Park, PA                                                               Tuesday            10:00AM - 8:00PM

                                                                                                                Wednesday          10:00AM - 8:00PM

                                  508 8 Hien Yiage, Spaon Te ee                                                 Thursday           10:00AM - 8:00PM
                                  Bethel Park, PA 15241
                                     412)   426-5242                                                            Friday             10:00AM - 9:00PM

                                                                                                                Saturday           10:00AM - 9:00PM

                                 Get Directions                                                                 Sunday              11:00AM - 6:00PM




                                  King Of Prussia Scrubs Available In-Store                                     Monday             10:00AM - 8:00PM
                                  King of Prussia, PA                                                           Tuesday            10:00AM - 8:00PM

                                                                                                                Wednesday          10:00AM - 8:00PM

                                  160 Hi Gulph Road, Spece 11720                                                Thursday           10:00AM - 8:00PM
                                  King of Prussia, PA 19406
                                  (267) 857-4261                                                               Friday              10:00AM - 9:00PM
                                                                                                                Saturday           10:00AM - 9:00PM

                                  GetDirections                                                                 Sunday              11:00AM - 6:00PM




                                  Ross Park Mall Scrubs Available In-Store                                      Monday             10:00AM - 8:00PM
                                  Pittsburgh, PA                                                                Tuesday            10:00AM - 8:00PM

                                                                                                               Wednesday           10:00AM - 8:00PM. *
                                  1000 Ross Park Mell Dr, Space 208028                                          Thursday           10:00AM - 8:00PM    ~
                                  Pittsburgh, PA 15237




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                                  Ross Park Mall Scrubs Available In-Store                                         Monday           10:00AM - 8:00PM
                                  Pittsburgh, PA                                                                   Tuesday          10:00AM - 8:00PM

                                                                                                                   Wednesday        10:00AM - 8:00PM

                                  1000 Ross Park Mall Dr, Space #0G02B                                             Thursday         10:00AM - 8:00PM
                                  Pittsburgh, PA 15237
                                     412)   664-5104                                                               Friday           10:00AM - 9:00PM

                                                                                                                   Saturday          10:00AM - 9:00PM

                                  ne                                                                               Sunday           11:00AM - 06:00PM




                                  Saddle Creek                                                                  Monday              10:00AM - 8:00PM
                                  Germantown, TN                                                                Tuesday             10:00AM - 8:00PM

                                                                                                                Wednesday           10:00AM - 8:00PM

                                 7615 West Farmington, Suite 24                                                 Thursday            10:00AM - 8:00PM
                                  Germantown, TN 38138
                                     '901) 203-5901                                                             Friday              10:00AM - 8:00PM

                                                                                                                Saturday            10:00AM - 8:00PM
                                  Get Directions                                                                Sunday               11:00AM - 6:00PM




                                  Mall At Green Hills Scrubs Available In-Store                                     Monday          10:00AM - 8:00PM
                                  Nashville, TN                                                                     Tuesday         10:00AM - 8:00PM

                                                                                                                   Wednesday        10:00AM - 8:00PM

                                 2126Abbott Martin Road, Space 211                                                  Thursday        10:00AM - 8:00PM
                                  Nashville,
                                          TN 37215
                                 e2e-au-enet                                                                       Friday           10:00AM - 8:00PM
                                                                                                                    Saturday        10:00AM - 8:00PM
                                  Get Directions                                                                    Sunday           11:00AM - 6:00PM




                                  Domain Northside                                                              Monday              10:00AM - 8:00PM
                                  Austin, TX                                                                    Tuesday             10:00AM - 8:00PM
                                                                                                                Wednesday           10:00AM - 8:00PM
                                  11624 RockRoseAve, Suite 110                                                  Thursday            10:00AM - 8:00PM
                                 Austin, TX 78758
                                  (737) 400-5052                                                                Friday              10:00AM - 9:00PM
                                                                                                                Saturday             10:00AM - 9:00PM

                                 GetDirections                                                                  Sunday              12:00PM - 06:00PM




                                  Barton Creek Square                                                            Monday             10:00AM - 8:00PM
                                  Austin, TX                                                                     Tuesday            10:00AM - 8:00PM

                                                                                                                 Wednesday          10:00AM - 8:00PM

                                  2901S. Capital of Texas Hwy, Space HO7B                                        Thursday           10:00AM - 8:00PM
                                 Austin, TX 78746
                                  (512) 7101601                                                                 Friday              10:00AM - 9:00PM
                                                                                                                 Saturday            10:00AM - 9:00PM

                                 GetDirections                                                                   Sunday             12:00PM - 06:00PM




                                  Houston Premium Outlets Scrubs Available In-Store                                      Monday     10:00AM - 8:00PM
                                  Cypress, TX                                                                        Tuesday        10:00AM - 8:00PM

                                                                                                                     Wednesday      10:00AM - 8:00PM

                                  20300 Hempstead Ra., Suite 120                                                     Thursday       10:00AM - 8:00PM
                                  Cypress,
                                      TX 77433
                                       81) 984-1289                                                                  Friday         10:00AM - 9:00PM
                                                                                                                         Saturday    10:00AM - 9:00PM

                                 GetDirections                                                                           Sunday      12:00PM - 6:00PM




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                                                                                                             Saturday      ++‘TU:0UAM-9:0UPM
                                                                                                                                       ——S=CS&

                                  Get duret one                                                              Sunday           12:00PM - 6:00PM




                                  Northpark Center Coming Soon! June 2025                                       Monday          closed - closed
                                  Dallas, TX                                                                    Tuesday         closed - closed
                                                                                                            Wednesday           closed - closed
                                  8687 N. Central Exp. , Suite 2242                                             Thursday        closed - closed
                                  Dallas, TX 75225                                                           Friday             closed - closed
                                            ;    .                                                              Saturday        closed - closed

                                 Get Directions                                                                 Sunday          closed - closed



                                  Baybrook Lifestyle & Power Ctr Scrubs Kiosk Here                           Monday          10:00AM - 8:00PM
                                  Friendswood, TX                                                           Tuesday          10:00AM - 8:00PM

                                                                                                           Wednesday         10:00AM - 8:00PM
                                  700 Baybrook Mall, Suite 6113                                             Thursday         10:00AM - 8:00PM
                                  Friendswood,
                                         TX 77546
                                  (713) 379-3477                                                            Friday           10:00AM - 9:00PM
                                                                                                             Saturday         10:00AM - 9:00PM

                                  Directions
                                  Get                                                                        Sunday          12:00PM - 07:00PM




                                  University Park Village                                               Monday               10:00AM - 8:00PM
                                  Ft. Worth, TX                                                         Tuesday              10:00AM - 8:00PM

                                                                                                        Wednesday            10:00AM - 8:00PM

                                  1612 S. University Drive,                                             Thursday             10:00AM - 8:00PM
                                  Ft. Worth,
                                         TX 76102
                                     682)   207-6347                                                    Friday               10:00AM - 8:00PM

                                                                                                        Saturday             10:00AM - 8:00PM

                                 GetDirections                                                          Sunday                12:00PM - 6:00PM




                                  The Galleria Scrubs Available In-Store                                  Monday             10:00AM - 8:00PM
                                  Houston, TX                                                             Tuesday            10:00AM - 8:00PM

                                                                                                         Wednesday           10:00AM - 8:00PM

                                 5135 WestAlabama
                                             St,Space 5250A                                               Thursday           10:00AM - 8:00PM
                                 Houston,TX 77056
                                     346) 704-2379                                                        Friday             10:00AM - 9:00PM

                                                                                                          Saturday            10:00AM - 9:00PM
                                  Get Directions                                                          Sunday              12:00PM - 7:00PM




                                  Legacy West                                                          Monday                 10:00AM - 9:00PM
                                  Plano, TX                                                            Tuesday                10:00AM - 9:00PM

                                                                                                       Wednesday              10:00AM - 9:00PM

                                  400 Windrose Ave, Ste #8120                                          Thursday               10:00AM - 9:00PM
                                  Plano,
                                    TX 75024
                                     (469) 998-6232                                                    Friday                10:00AM - 9:00PM

                                                                                                       Saturday               10:00AM - 9:00PM

                                 GetDirections                                                         Sunday                12:00PM - 06:00PM




                                  The Shops At La Cantera Scrubs Available In-Store                             Monday        11:00AM - 8:00PM
                                  San Antonio, TX                                                            Tuesday          11:00AM - 8:00PM
                                                                                                             Wednesday        11:00AM - 8:00PM

                                  15900
                                    La Cantera Pkwy, Suite 6630                                              Thursday         11:00AM - 8:00PM
                                  San Antonio,
                                          TX78256
                                  (726) 245-2200                                                            Friday           11:00AM -9:00PM 4X
                                                                                                                Saturday      11:00AM - 9:00PM\ TP
                                  Get Directions
                                                                                                                Sunday       12:00PM - 06:00PM




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                                                                                                                Wednesday       11:00AM - 8:00PM

                                  15900
                                    La Cantera Pkwy,Suite 6630                                                  Thursday        11:00AM - 8:00PM
                                  San Antonio,
                                          TX78256
                                  (726) 245-2200                                                            Friday             11:00AM - 9:00PM
                                                                                                                Saturday        11:00AM - 9:00PM

                                 GetDirections                                                                  Sunday        12:00PM - 06:00PM




                                  San Marcos Premium Outlets Scrubs Available In-Store                       Monday           10:00AM - 08:00PM
                                  San Marcos, TX                                                            Tuesday           10:00AM - 08:00PM

                                                                                                            Wednesday         10:00AM - 08:00PM

                                 3939 IH 35South, Suite 930A                                                Thursday          10:00AM - 08:00PM
                                  San Marcos, TX 78666
                                 oa7eeeesT2                                                                 Friday            10:00AM - 09:00PM
                                                                                                             Saturday         10:00AM - 09:00PM

                                 GetDirections                                                               Sunday            11:00AM - 07:00PM




                                  Southlake Scrubs Available In-Store                                     Monday               10:00AM - 8:00PM
                                  Southlake, TX                                                           Tuesday              10:00AM - 8:00PM

                                                                                                         Wednesday             10:00AM - 8:00PM

                                  NO State Street, Suite 100                                              Thursday             10:00AM - 8:00PM
                                  Southlake,
                                          TX 76092
                                     682) 268-4808                                                       Friday                10:00AM - 8:00PM
                                                                                                          Saturday             10:00AM - 8:00PM
                                 GetDirections                                                            Sunday               12:00PM - 6:00PM




                                  Market Street Woodlands Scrubs Available In-Store                             Monday         10:00AM - 8:00PM
                                  The Woodlands, TX                                                             Tuesday        10:00AM - 8:00PM

                                                                                                                Wednesday      10:00AM - 8:00PM

                                  9595 Six Pines Drive, 690                                                     Thursday       10:00AM - 8:00PM
                                  The Woodlands, TX 77380
                                     346) 708-7882                                                              Friday         10:00AM - 8:00PM

                                                                                                                Saturday       10:00AM - 8:00PM
                                 GetDirections                                                                  Sunday        12:00PM - 06:00PM




                                  Fashion Place Scrubs Available In-Store                                  Monday              10:00AM - 8:00PM
                                  Murray, UT                                                               Tuesday             10:00AM - 8:00PM

                                                                                                           Wednesday           10:00AM - 8:00PM

                                  6191S.StateStreet, #N103                                                 Thursday            10:00AM - 8:00PM
                                  Murray, UT 84107
                                  (385) 799-6456                                                           Friday              10:00AM - 9:00PM

                                                                                                           Saturday            10:00AM - 9:00PM

                                 GetDirections                                                             Sunday             12:00PM - 06:00PM




                                  City Creek Center                                                    Monday                  10:00AM - 8:00PM
                                  Salt Lake City, UT                                                   Tuesday                 10:00AM - 8:00PM

                                                                                                       Wednesday               10:00AM - 8:00PM

                                 50 MainSt,Suite 265                                                   Thursday                10:00AM - 8:00PM
                                  Salt Lake City, UT 84101
                                  (385) 301-2987                                                       Friday                  10:00AM - 9:00PM

                                                                                                       Saturday                10:00AM - 9:00PM

                                 Get Directions                                                        Sunday                     closed - closed




                                  Short Pump                                                            Monday                  11:00AM - 8:00PM    4N
                                  Richmond, VA                                                          Tuesday                 11:00AM - 8:00PM\ TOP

                                                                                                        Wednesday               11:00AM - 8:00PM




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                                  Short Pump                                                                                  Monday              11:00AM - 8:00PM
                                   Richmond, VA                                                                               Tuesday             11:00AM - 8:00PM

                                                                                                                              Wednesday           11:00AM - 8:00PM

                                  11800 W. Broad Street, Space 1412                                                           Thursday            11:00AM - 8:00PM
                                  Richmond, VA 23233
                                  (434) 255-0103                                                                             Friday               10:00AM - 8:00PM
                                                                                                                              Saturday            10:00AM - 8:00PM

                                 GetDirections                                                                                Sunday              11:00AM - 6:00PM




                                  Tysons Corner Scrubs Available In-Store                                                        Monday           10:00AM - 9:00PM
                                  Tysons Corner, VA                                                                              Tuesday          10:00AM - 9:00PM
                                                                                                                                 Wednesday        10:00AM - 9:00PM

                                  1961 Chain Bridge Road, Space H3U                                                              Thursday         10:00AM - 9:00PM
                                  Tysons Corner, VA 22102
                                  (571) 314-0993                                                                                Friday            10:00AM
                                                                                                                                                     - 9:00PM
                                                                                                                                 Saturday         10:00AM - 9:00PM

                                 GetDirections                                                                                   Sunday            11:00AM - 7:00PM




                                   Bellevue Square                                                                           Monday               10:00AM - 9:00PM
                                   Bellevue, WA                                                                              Tuesday              10:00AM - 9:00PM

                                                                                                                             Wednesday            10:00AM - 9:00PM

                                  278 Bellevue Square, Level C                                                               Thursday             10:00AM - 9:00PM
                                  Bellevue, WA 98004
                                  (360) 515-7866                                                                             Friday               10:00AM - 9:00PM

                                                                                                                             Saturday             10:00AM - 9:00PM

                                 GetDirections                                                                               Sunday                11:00AM - 7:00PM




                                  Southcenter Mall Coming Soon! August 2025                                                           Monday         closed - closed
                                  Tukwaila, WA                                                                                        Tuesday        closed - closed
                                                                                                                                      Wednesday      closed - closed
                                  817 SouthCenter Mall, Suite 1460                                                                    Thursday       closed - closed
                                  Tukwaila, WA 98188                                                                                  Friday        closed - closed
                                        a                                                                                             Saturday       closed - closed
                                 Set Directions                                                                                       Sunday         closed - closed



                                   Mayfair Mall Scrubs Available In-Store                                                       Monday            10:00AM - 8:00PM
                                  Wauwatosa, WI                                                                                 Tuesday           10:00AM - 8:00PM

                                                                                                                                Wednesday         10:00AM - 8:00PM

                                  2500N. Mayfair Rd., Suite352                                                                  Thursday          10:00AM - 8:00PM
                                  Wauwatosa, WI 53226



                                                                                                                                Saturday          10:00AM - 8:00PM

                                 GetDirections                                                                                  Sunday            11:00AM - 8:00PM




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     We invest in independent audits to ensure                             company in accordance with The CarbonNeutral® Protocol, the leading                  and tissue packaging are made from
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